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 This is the biggest clown ever. He spend 1000s on advertising to hook you in. For me it started with
 a catchy title " weekly money multiplier". it sounds soooo good until it is not. The truth is Jeff Bishop
 alert his followers to buy options, and he sells them. If you know anything about options, the house
 always wins; meaning Jeff Bishop wins and you and dont. Also, when you are in the system, get
 ready to be bounced from one shinny object to another. For example; one trade once a week to
 take control fo your financial future. At one time, Jason decided he was not going to trade really
 money, but do paper trading and alert us. how crazy is that. Also, if you ask intimidating questions,
 Jason or one of his puppets will get on the mic to lecture everyone. Jeff Bishop claim he is
 American number 1 live option trader. who gave him that title. Let me tell you. He did. I can go now
 and say I am number one stock picker; self claim. I think the one good think in the group is Nathan
 Bear, and I really hope he leaves and does his own thing. At least he is trading really money with
 really set up. Hay Jason Bond wants your money to rent more jet and make more videos to make
 your salivate.



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Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 15 of 441




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Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 16 of 441




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Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 17 of 441




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 TRADE! IN LESS THAN 2 HOURS!

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Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 18 of 441

 MHIIULPRXW63<#100%

 UREHUWKHO8S220%RQ63<

 WRGG\RXURGH63<IURP1.31 to 2.60!FRQWUDFWV

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 FKULVWLQDVKDwow SPY!!*RRGMRE'DYLV

 VDQGUDNLQEDFNLQ63<RXW6Rover +$1000.1RZWKLVLVZK\,ORYH
 63<

 PDUNEHPRXW63<FIURP+36%

 FKULVKXF2XW63<FDOOV#+30.89%

 UDQGDOOJLO63<$1.57 to $2.20

 HGOHGMXVWFORVHGSPY 25%




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 <RXKDYHWLOPLGQLJKWWRQLJKW

 :KDWHOVHDUH\RXJRLQJWRPLVVLI\RXZDLWDQRWKHUGD\"

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Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 19 of 441




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  2Q:HG-XODW$00DUYLQ&KDFRQPDUYLQ#UDJLQJEXOOFRP!ZURWH

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   6HHPVOLNHDORWRIWKHRQHVWDUUHYLHZVZHJRWUHFHQWO\FDPHIURPIDNHDFFRXQWV7KH\FRXOGDOOEHWKHVDPHSHUVRQ
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         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 25 of 441


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VERY BAD EXPERIENCE WITH THIS COMPANY After been charged $2,999 for an automatic
renewal today of biotechbreakouts.com, the renewal that I canceled 11 months ago, I decided to
expose some of the companies that continue to defraud people and making millions on the way.
Don t get me wrong, I don t have anything against people who are making millions honest way.
Let s take a closer look below to our story, that maybe could help some people and save a lot of
money that they can potentially lose. Me and a few of my friends decided 2 years ago to try
some of the companies that are offering to teach you how to trade stocks, penny stocks, and
options. To name a few: Jason Bond and his jasonbondtraining.com, jasonbondpicks.com,
ragingbull.com, Jeff Bishop, who is running now his weeklymoneymultiplier.com/ and his
weeklymoneymaker.com, and his topstockpicks.com, biotechbreakouts.com, pennypro.com, and
petrapicks.com, We have found that these companies have impressive numbers and loyal
followers (all this, of course, is not genuine, how discovered later), we were sure from the
beginnings that there have to be something fishy but we didn t know at this point if it is that they
are trying to defraud the traders, but we decided to experience some of the programs first-hand
and pay for some of their subscriptions that range from hundred up to thousands of dollars. After
a few sessions with various of them, we were 100% sure that they don t provide what they
promised and they just use you to pump and dump stocks. But it doesn t end here the other
income what they have is to charge the customer on automatic renewal even if you cancel it. A
lot of people tried to cancel the subscription or asked for a refund and they responded that you
didn t cancel so they can charge you again and again We are talking sometimes about $3,000,
$6,000 or even more depending on services that you subscribed. In the end, is not difficult to
realize and confirm that they are only fooling members/subscribers into purchasing subscriptions
so they are actually making thousands of dollars even if the market goes alongside. If you try to
contact the moderator through the chat, they will ask you to chat in private to not bother another
subscriber in public chat, but then they answer you that they can not do anything that you have
to contact the company, etc. When you continue to contact him he will just play with you and if
you write another post on public chat he just shut down your access, so nobody else from the
chat will see what is really happening. Would be great to see to how many people they shut the
access during a year. They are just playing with you how they were playing with me when I tried
to contact him regarding the illegal credit card charge of $2,999. In the end, the only option that
you have is to call your bank to dispute the charge and change your credit card. The
trainers/mentors/gurus of each program look like a genuine guys, but in the end, they know very
well for what kind of company they work. Maybe they don t realize that their reputation is in play
as well, so I decided to file the complaint against them and the whole company. I hope that the
investigation starts soon and they will stop stealing money from the people.



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         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 26 of 441




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  kNgl]JÿDIIÿJSJ]mÿn]ÿIDjÿcDI`MÿgfNhHÿGNeCEÿHDglÿSaÿÈJDoKÿ
  BC]G]ÿNIÿDÿM]jÿMDIEoÿ̀M]ÿ^G`hÿECDEÿ̀fJÿDIIC`f]QÿpoJM]oKÿq`a]^SffoÿECDEÿgDMÿe`ÿDjDoÿÈ`ÿ

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TCU>?ÿBHÿ@;<Hÿ;IÿFÿ<=@ÿ:U8ÿ8VHÿX=G;@GÿYU>>ÿZUHL8;C@ÿA=JMÿBHV;@?ÿ=>>ÿCIÿULE
[>H=LHÿ?C@\8ÿHA=;>ÿ8VHÿ>=?9ÿ8V=8ÿLH@8ÿ8V;LE
]AAH88
^^^^^^^^^^ÿ_CJ`=J?H?ÿAHLL=GHÿ^^^^^^^^^^
_JCAaÿbcdefÿhÿi<=8V98̀HH?jGA=;>E<CAk
R=8HaÿlUHSÿm=JÿnoSÿnpqrÿ=8ÿsatqÿ[m
uUBvH<8aÿXHaÿ;@ICÿICJÿ9CU
lCaÿHAAH88ÿACCJHÿiHAAH88j8J=?;@GL<VCC>LECJGk
w;ÿ]AAH88S
lV=@MLÿICJÿLU<Vÿ=ÿZU;<MÿJHL:C@LHx
FÿV=KHÿ@Cÿ:JCCIÿC@ÿ_HJ@=@?CEÿÿYU8ÿ?=A@Sÿ8V;LÿJH=>>9ÿLHHALÿ>;MHÿ;8ÿ<CU>?ÿBHÿV;Axÿÿm=9BHÿFÿ̀;>>ÿHA=;>ÿwCJL8ÿ=@?ÿGH8ÿV;Aÿ8Cÿ
<VH<MÿV;AÿCU8EÿÿFÿ?C@\8ÿ8V;@Mÿ8VH9ÿ̀HJHÿC@ÿGCC?ÿ8HJALÿ;@ÿ8VHÿH@?ÿBH<=ULHÿwCJL8ÿ?;?@\8ÿ>;MHÿ̀V=8ÿ_HJ@=@?Cÿ?;?EÿÿlVHÿL89>HÿCIÿ
L:H=M;@Gÿ=@?ÿHD:JHLL;C@Lÿ=JHÿvUL8ÿ8CCÿ<>CLHÿ8CÿBHÿ;G@CJH?EÿÿFIÿ;8ÿ;LÿV;ASÿ8V=8ÿ;LÿZU;8Hÿ8VHÿ;@ICÿ8V=8ÿLVCU>?ÿBHÿM@C`@EÿÿRCHL@\8ÿ
AH=@ÿV;LÿL9L8HAÿ;LÿB=?SÿBU8ÿ;8ÿAH=@LÿVHÿ;Lÿ@C8ÿBH;@GÿL8J=;GV8ÿ̀;8Vÿ:HC:>HE
y@ÿQ9>HÿRH@@;LSÿ;Iÿ9CUÿ<=@ÿI;@?ÿA9ÿH=A;>ÿIJCAÿO=@U=J9SÿFÿ<=@ÿ8H>>ÿ9CUÿ8V=8ÿFÿX]6zz{ÿ̀=@8H?ÿ8Cÿ?CÿV;Lÿ:JCGJ=AEÿ
]KHJ98V;@GÿLHHA?ÿ>HG;8EÿÿFÿL:H@8ÿ=ÿ>C8ÿCIÿ8;AHÿ8J9;@Gÿ8CÿKH88Hÿ;8Eÿÿy@HÿL8H:ÿFÿ?;?ÿ>=L8ÿ̀=Lÿ8V=8ÿFÿHA=;>H?ÿ=@?ÿ=LMH?ÿV;AÿICJÿ=ÿ>;L8ÿ
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<C@L;?HJ;@GÿV;Lÿ=LLC<;=8;C@ÿ̀;8VÿO=LC@ÿYC@?Sÿ;8ÿ<CU>?ÿBHÿ=@C8VHJÿ:UA:^@^?UA:EÿÿF8ÿ̀=Lÿ=ÿ<VU@MÿCIÿAC@H9ÿ8Cÿ<CAA;8ÿ8CÿV;Lÿ
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8VHÿ:JHLH@8ÿ8;AHÿ8J=?;@GEÿÿw;Lÿ<CAAH@8ÿ̀=Lÿ8V=8ÿVHÿ̀=Lÿ8CCÿBUL9ÿ8Cÿ:U8ÿ8CGH8VHJÿ=ÿ8J=<MÿJH<CJ?EÿÿFÿLH@8ÿ9CUÿ8VCLHÿHA=;>LÿLCÿ
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CU>?ÿBHÿJH=>ÿCJÿ<CU>?ÿBHÿYuEÿÿFÿvUL8ÿ8V;@Mÿ;8ÿLAH>>LÿB=?ÿ̀VH@ÿ8V;Lÿ;Lÿ8VHÿ?UHÿ?;>>;GH@<HÿVHÿG;KHLE
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>9016.2=ÿ92<85=.ÿ-.ÿ-ÿ/05=6*605ÿ0<ÿ92.0?@65;ÿ*,2ÿ6..82.Aÿ)*ÿ6.ÿ-;-65.*ÿ333ÿ>0?6/Bÿ*0ÿ,-@2ÿ*,2ÿ>0.6*6@2ÿ/?0.65;ÿ0<ÿ
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F2ÿF08?=ÿ,0509ÿ*,269ÿ92:82.*ÿ-5=ÿF2ÿF08?=ÿ6..82ÿ*,21ÿ-ÿ92<85=Aÿ)ÿ*,65EÿF2ÿ,-=ÿ-ÿ<2Fÿ052H0<<.IÿF,292ÿ052ÿ0<ÿ
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                Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 43 of 441
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    =LQKL@ÿHLKVÿVWR]Wÿ\?KAS]FJÿG?@ÿJ@FÿFKÿT@GP@ÿ?@PR@VJÿSLA@?ÿFW@ÿYÿSjX?@TTGÿeGQX@ÿV@ÿ]GLÿARJ]SJJÿKLÿFWRJÿ=eMJÿ
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       Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 46 of 441

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          Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 47 of 441




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                   Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 48 of 441




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                  Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 49 of 441
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FNJTJÿ

YPÿZCJ[ÿ\JVÿ]][ÿ]^]^ÿGFÿ_]àbÿcdÿeGHDGÿ\fMFNÿgQGHDGRhTGUMPUICDDWKBfiÿATBFJ`
 ?ÿNGjJÿ_ÿVJTRBPÿFNGFÿKGPÿIJÿEMTJKFDHÿOBKCRJEÿBPÿkkkÿTJjMJARÿRMPKJÿfGXBTMFHÿBOÿlNGTUJIGKQRÿNGjJÿkkkÿTJjMJAR[ÿmMDHÿ
 dMDDRW
 YPÿZCJ[ÿ\JVÿ]][ÿ]^]^ÿGFÿ_]ǹ^ÿcdÿoJOOÿkMRNBVÿgXJOOhIMRNBVWfJiÿATBFJ`
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    ?{fÿVDGPPMPUÿBPÿNGjMPUÿGÿKGDDÿAMFNÿ|GjMPÿGFÿ]VfÿGPEÿ?ÿIJDMJjJÿKDGTMFHÿBPÿANGFÿ?ÿBCFDMPJEÿMPÿfHÿVTJjMBCRÿJfGMDÿAGRÿBPJÿ
    BOÿFNMPURÿBPÿBCTÿGUJPEGWÿÿÿÿÿ}JÿAJTJÿUBMPUÿFBÿEMRKCRRÿRBfJÿBFNJTÿRFCOOÿFBBÿICFÿMOÿGPHBPJÿAGPFRÿFBÿNBVÿBPÿAJÿKGPÿKBjJTÿ
    FNMRÿOMTRFÿGPEÿXCRFÿOMPMRNÿCVÿFNJÿTJRFÿGOFJTW
    ?ÿFBFGDDHÿABCDEÿDMQJÿRBfJBPJÿJDRJÿFBÿEBÿMFWÿÿ~RVJKMGDDHÿPBAÿFNGFÿmMPERGHÿkBHJFFJÿMRP{FÿTJVDHMPUÿFBÿFNJfÿFNGFÿMRÿGPBFNJTÿ
    fJFTMKÿAJÿPJJEÿFBÿDBBQÿGFWÿÿGVVHÿFBÿFTGMPWÿ
    kCFÿOBTÿfJÿGRÿoGRBP{Rÿcd[ÿ?ÿjMJAÿFNMRÿGRÿGÿPBÿITJGQRÿMPMFMGFMjJÿGPEÿFGQJÿFNMRÿjJTHÿRJTMBCRDHÿIJKGCRJÿBOÿNMRÿjMRMIMDMFHWÿÿ
    ÿ?{EÿTJGDDHÿDMQJÿGÿaWÿRKBTJÿAMFNÿ_[^^^ÿTJjMJARWÿZNGFÿMRÿfHÿUBGDWÿÿÿ\BÿANBJjJTÿEBJRÿMFÿPJJERÿFBÿTJGDDHÿGFFJPEÿFBÿMFWÿÿ?ÿ
    EBP{FÿjMJAÿPBÿKBjJTGUJÿGRÿGPÿBVFMBP[ÿRBÿMOÿMFÿUBJRÿGÿAJJQÿAMFNBCFÿIJMPUÿTJjMJAJEÿ?ÿBTÿRBfJBPJÿJDRJÿPJJERÿFBÿXCfVÿMPWÿ
    ZNGF{RÿNBAÿMFÿDGPEJEÿBPÿfHÿVDGFJWÿ
    ?ÿEJOMPMFJDHÿFNMPQÿGÿl\ÿTJVÿKGPÿfGPGUJÿMFÿGPEÿMFÿABCDEÿJVJEMFJÿTJRBDCFMBPRÿBPÿPJUGFMjJÿTJjMJARWÿÿDFMfGFJDHÿPJUGFMjJÿ
    TJjMJARÿBPÿZTCRFcMDBFÿGTJP{FÿIGEÿGRÿDBPUÿGRÿFNJTJÿMRÿGKFCGDÿKBjJTGUJÿGPEÿAJÿGTJÿBVJPDHÿRNBAMPUÿFNGFÿAJÿAGPFÿFBÿTJRBDjJÿ
    MRRCJRWÿ
    ?ÿFNMPQÿFNJTJÿMRÿGÿTBDJÿOBTÿcdRcdRÿFBÿVGTFMKMVGFJÿMPÿANMKNÿMRÿFBÿfGQJÿRCTJÿFNJHÿICMDEÿBCFÿFNJÿGCFBfGFJEÿVTBKJRRJRÿRBÿ
    TJjMJARÿKGPÿKBfJÿMPWÿZAJGQMPUÿGRÿPJKJRRGTHWÿÿDRBÿfGQMPUÿRCTJÿFNJÿVTBOMDJÿVGUJÿMRÿIJPJOMKMGDÿFBBWÿÿ?F{RÿPBFÿOCDDÿJJKCFJEÿ
    HJF[ÿICFÿM{fÿABTQMPUÿAMFNÿGjMEÿlTBRRPETJGÿGPEÿlBVHVTJRRÿFBÿVMfVÿBCFÿoGRBP{RÿVTBOMDJWÿÿÿYFNJTÿcdRÿRNBCDEÿFBBWÿ
    ?ÿKGPÿVCFÿFBUJFNJTÿRBfJÿec?RÿDGFJTWÿZNJTJÿGTJÿGÿOJAÿ?ÿFNMPQWÿ
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          Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 50 of 441
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           Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 51 of 441




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      VKRUWHUWHUPVZLWKWKHRSSRUWXQLW\WRFDQFHODWPRUHUHJXODULQWHUYDOVVROYHVIRUIRONVZKRLVVXHGLVSXWHVEHFDXVH
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SHUFHQWDJHDVORZDVSRVVLEOH7KURXJKUHVHDUFKZHKDYHFRPHDFURVVDIHZIHDWXUHVWKDW6WULSHRIIHUVWRSUHYHQWDV
PDQ\FKDUJHEDFNVDVSRVVLEOH,WLVLPSHUDWLYHWKDWZHDUHIXOO\XWLOL]LQJHYHU\SUHHPSWLYHUHVRXUFHWKDWVWULSHKDVWR
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          GLJJLQJRQ"
          $UHWKHUHVSHFLILFFKDOOHQJHVRUGLVSXWHW\SHV\RX UHKDYLQJWURXEOHZLWK"

          2QFH,UHFHLYHWKHFKDUJH,' VIURP\RXRXUULVNGHVNZLOOSXOODOOUHOHYDQWHYLGHQFHGLVSXWHILOLQJVHWFIURPRXU
          ILQDQFLDOSDUWQHUVDQGUXQDQDQDO\VLVRQWKHGLVSXWHVHYLGHQFHSURYLGHGIRUPDWDQGVHHLIWKHUHDUHDQ\LVVXHVZH
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 ID[RUPDLOLI\RXRSWHGWRUHFHLYHWKHP
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,QGHHG\RXGLG


:KHQ\RXSXUFKDVHGRXUVHUYLFHZHDGYHUWLVHGLWDVDQDXWRUHQHZLQJVXEVFULSWLRQXQOHVV\RXFDQFHOHGWKH
UHFXUULQJELOOLQJIHDWXUHSULRUWRUHQHZDO


<RXIDLOHGWRGRVRVRDQDXWKRUL]HGUHQHZDOZDVPDGH


:KLOHZHGRQ·WLVVXHUHIXQGVIRUODWHFDQFHOODWLRQVZHZLOOPDNHVXUH\RXDUHQRWFKDUJHGDJDLQDQGZLOODOORZ
\RXUFXUUHQWWHUPWRILQLVK


6LQFHUHO\


$OL




'      -

$XJ30&27

,GLGQ WDVN\RXWRUHQHZP\VXEVFULSWLRQDXWRPDWLFDOO\3OHDVHUHIXQGWKHPRQH\\RXFKDUJHGIRUP\FUHGLW
FDUG<RXJX\VPDGHWKHGHIDXOWVHWWLQJVDVDXWRPDWLFDOO\UHQHZ

6HQWIURPP\$QGURLG'HYLFH
7KDQNV 5HJDUGV
'
                                              $WWDFKPHQW3                        3;
                    Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 75 of 441




     $OL0XK -DVRQ%RQG3LFNV

     $XJ$0&27

     '        


     :HKDYHFDQFHOHG\RXU-DVRQ%RQG3LFNVDQGDUHVDGWRVHH\RXJR<RXUVXEVFULSWLRQZLOOH[SLUHDWWKHHQGRI
     \RXUFXUUHQWWHUPRQ<RXZLOOQRWEHELOOHGDJDLQXQOHVV\RXUHDFWLYDWH\RXUVXEVFULSWLRQYLDWKH
     ZHEVLWH


     0D\,DVNZK\\RXDUHOHDYLQJ"&KDQFHVDUHZHKDYHIULHQGVLQDQRWKHUVHUYLFHWKDWPD\ILW\RXUQHHGVEHWWHU


     &KHFNRXW5DJLQJ%XOOFRPDQGVHHLIDQ\RIWKRVHVHUYLFHVRQWKHLUVLWHPLJKWEHDJRRGILWIRU\RX


     5HSO\EDFNKHUHLQWKHQH[WKRXUVDQG, OOEHW\RX,FDQZRUNDVSHFLDOGLVFRXQWIRU\RX,ZLVK\RXDOOWKH
     EHVWDQGDSSUHFLDWH\RXUWLPHZLWKXV


     ,KRSHWRKHDUEDFNIURP\RXVRRQ


     $OL




     '        

     $XJ$0&27

     3OHDVHUHIXQGWKHVXEVFULSWLRQFKDUJHGIRUP\FUHGLWFDUG
     ,QHYHULQWHQGHGWRUHQHZLW
     3OHDVHFDQFHODOOP\VXEVFULSWLRQV




7KDQN<RXIRU&RQWDFWLQJ6XSSRUW
>:959:;@7LFNHW,G$FFRXQW6XEGRPDLQMDVRQERQGSLFNV




                                                $WWDFKPHQW3                            3;
                    Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 76 of 441
6HQW       :HG2FW
)URP                   %LR7HFK%UHDNRXWV6XSSRUW N\OH#ELRWHFKEUHDNRXWVFRP!
6XEMHFW    >%LR7HFK%UHDNRXWV@5H5H2SWLRQ5RFNHWERXJKW&<%5FDOOV
7R         -RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!

3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

7KLVWLFNHW  KDVEHHQUHRSHQHG




       2FW30&27

       $FWXDOO\,GRKDYHDUHDOTXHVWLRQ/LYHVWUHDPLVGRZQ*HWLWEDFNXS




       2FW30&27

       <RXVXUHWKLVLVWKHDSSURDFK\RXZDQWWRWDNH"




       -RUGDQ5H\QD %LR7HFK%UHDNRXWV

       2FW30&27

       ,DPWKHKHDGRIVXSSRUW7KHEXFNVWRSVKHUH:HZLOOQRWEHFRQWLQXLQJWKLVFRQYHUVDWLRQ,I\RXFRQWLQXHWR
       EULQJLWXSLWZLOOEHPDUNHGDVVSDPDQGILOWHUHGRXWRIRXUV\VWHP+RZHYHULI\RXKDYHTXHVWLRQVSHUWDLQLQJ
       WRRXUVXEVFULSWLRQDQGDFFHVVZH OOEHJODGWRDVVLVWIXUWKHU7KLVLVRXUILQDOUHPDUNRQWKHPDWWHU


       -RUGDQ




       2FW30&27

       -RUGDQZKRLV\RXUPDQDJHU", GOLNHWREHFRQQHFWHGZLWKKLPKHU

       7KDQN\RX


                                                   $WWDFKPHQW3                             3;
         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 77 of 441
+XK"7KDWLVVRPHDQ,DVNHG\RXJX\VPXOWLSOHWLPHVIRUDUHIXQGDQG\RXFRQWLQXDOO\VDLGQRVR,KDGQR
FKRLFHEXWWRSXUVXHDFKDUJHEDFNVRGRQ WWU\WRVD\WKDWLVWKHUHDVRQZK\,DPUHDOO\WU\LQJWREH
FRQVLGHUDWHEXW,IHHOOLNH\RXGRQ WZDQWWRPHHWPHKDOIZD\LW V\RXUZD\RUWKHKLJKZD\VRZKDWFDQ,
GRDVQH[WVWHSV"

7KDQNV




2FW30&27

+XK"7KDWLVVRPHDQ,DVNHG\RXJX\VPXOWLSOHWLPHVIRUDUHIXQGDQG\RXFRQWLQXDOO\VDLGQRVR,KDGQR
FKRLFHEXWWRSXUVXHDFKDUJHEDFNVRGRQ WWU\WRVD\WKDWLVWKHUHDVRQZK\,DPUHDOO\WU\LQJWREH
FRQVLGHUDWHEXW,IHHOOLNH\RXGRQ WZDQWWRPHHWPHKDOIZD\LW V\RXUZD\RUWKHKLJKZD\VRZKDWFDQ,
GRDVQH[WVWHSV"

7KDQNV




-RUGDQ5H\QD %LR7HFK%UHDNRXWV

2FW30&27




,I\RXZRXOGKDYHFRPHWRXVILUVWEHIRUHLVVXLQJDGLVSXWHZHFRXOGKDYHZRUNHGVRPHWKLQJRXW+RZHYHU\RX
SXUVXHGDGLVSXWHDQGWKHEDQNUXOHGLQRXUIDYRU5HSO\LQJWR\RXUGLVSXWHFRVWRXUFRPSDQ\TXLWHDELWRI
PRQH\VRZHDUHQRWZLOOLQJWRLVVXHDQ\W\SHRIUHIXQG1H[WWLPHUHDFKRXWDQGZHFDQZRUNVRPHWKLQJRXW¬


-RUGDQ




2FW30&27

)DLUHQRXJK,UHDOO\RQO\KDYHRQHTXHVWLRQ
0D\,SOHDVHKDYHDUHIXQGRQWKLVVHUYLFH",XQGHUVWDQGWKHUHLVD1R5HIXQG3ROLF\EXWLI\RXFRXOGPDNHDQ
H[FHSWLRQRXWRIWKHNLQGQHVVRI\RXUKHDUWWKDWZRXOGEHJUHDWO\DSSUHFLDWHG
                                           $WWDFKPHQW3                               3;
         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 78 of 441
7KDQN\RX




-RUGDQ5H\QD %LR7HFK%UHDNRXWV

2FW$0&27




,QGHHG7+LVLVQRWDFRPPRQLVVXH/HW VVWDUWIUHVK¬


/LVW\RXUTXHVWLRQVLQEXOOHWVDQG, OOJODGO\DQVZHUWKHP3OHDVHNHHSWKHPFOHDUDQGFRQFLVH1RRWKHUFOLHQWV
KDYHWKLVLVVXH:HZDQWWRDVVLVWEXWQHHG\RXWRPHHWXVKDOIZD\


-RUGDQ




2FW$0&27

$OVRFDQ,DVN\RXDQRWKHUTXHVWLRQ"$P,WKHRQO\RQHJLYLQJ\RXDKDUGWLPHDERXWWKLV", GLPDJLQHRWKHU
FXVWRPHUVIHHOWKHVDPHZD\,GR,GRQ WWKLQNLW VIDLURI.\OHWRPDNH\RXJX\VLQWKHVHUYLFHGHVNWRWDNHWKH
EUXQWRIDOOWKLVEHFDXVHKHLVPDNLQJEDGWUDGHVDQGGRHVQ WDGGUHVVWKLVDWDOO+HVKRXOGDWOHDVWDSRORJL]H
IRUWKHVKDSHWKHSRUWIROLRLVLQFXUUHQWO\,QVWHDGRIZLQQLQJWZRWUDGHVDQGWKHQFODLPLQJKHLVRQILUH

7KDQNV



, PVRUU\,GRQ WIROORZ+RZFRXOGLWKDYHEHHQUHVROYHG",DVNHG\RXWRVKRZPHZKHUH,YLRODWHGWKH7HUPV
DQG&RQGLWLRQVDQG\RXKDYH\HWWRGRWKDW<RXVKRZPHWKHWH[WZKHUHLWVD\VWKDWDQG,ZLOOUHYRNHWKH
FKDUJHEDFN




2FW$0&27

, PVRUU\,GRQ WIROORZ+RZFRXOGLWKDYHEHHQUHVROYHG",DVNHG\RXWRVKRZPHZKHUH,YLRODWHGWKH7HUPV
                                           $WWDFKPHQW3                               3;
          Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 79 of 441
DQG&RQGLWLRQVDQG\RXKDYH\HWWRGRWKDW<RXVKRZPHWKHWH[WZKHUHLWVD\VWKDWDQG,ZLOOUHYRNHWKH
FKDUJHEDFN




-RUGDQ5H\QD %LR7HFK%UHDNRXWV

2FW$0&27




$SKRQHFDOOLVQRWRQWKHWDEOHKHUH7KHYROXPHZHKDQGOHGDLO\GRHVQRWDOORZRXWERXQGFDOOV+RZHYHUZH
FRXOGKDYHUHVROYHGWKLVE\QRZYLDHPDLOYVWKHWZRHPDLOV\RXVHQW,DPJODGWRFRQWLQXHDSURGXFWLYH
FRQYHUVDWLRQEXWZRXOGQHHGWKHGLVSXWHUHPRYHGDV\RXDUHLQYLRODWLRQRIRXUWHUPVDQGFRQGLWLRQV


-RUGDQ




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+HOOR-RUGDQ

:DQWHGWRIROORZXSRQWKLVWRVHHLI\RXFRXOGSURYLGHWKHWH[WLQWKH7HUPVDQG&RQGLWLRQVVKRZLQJ,FDQ WXVH
FXVWRPHUVHUYLFHRQFHDFKDUJHEDFNLVUHTXHVWHG"$OVRWKHOLYHVWUHDPLVFXUUHQWO\RIIOLQH,V.\OHJRLQJWR
DGGUHVVKRZWKHSRUWIROLRLVKHPRUUKDJLQJPRQH\"

7KDQNV



:K\FDQ WZHGLVFXVVRYHUWKHSKRQH",SURPLVHWREHFLYLOEXWGR\RXXQGHUVWDQGZK\,DPVRIUXVWUDWHG"&DQ
\RXSURYLGHPHWKHWH[WLQWKHWHUPVZKHUHLWVWDWHV,ZDLYHP\ULJKWVDVDFOLHQWXSRQGLVSXWH", PORRNLQJRQ
WKH%LR7HFK%UHDNRXWVVLWHVRDP,ORRNLQJLQWKHZURQJVSRW"

7KDQNV




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                                          $WWDFKPHQW3                              3;
          Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 80 of 441

2FW$0&27

:K\FDQ WZHGLVFXVVRYHUWKHSKRQH",SURPLVHWREHFLYLOEXWGR\RXXQGHUVWDQGZK\,DPVRIUXVWUDWHG"&DQ
\RXSURYLGHPHWKHWH[WLQWKHWHUPVZKHUHLWVWDWHV,ZDLYHP\ULJKWVDVDFOLHQWXSRQGLVSXWH", PORRNLQJRQ
WKH%LR7HFK%UHDNRXWVVLWHVRDP,ORRNLQJLQWKHZURQJVSRW"

7KDQNV




-RUGDQ5H\QD %LR7HFK%UHDNRXWV

2FW$0&27

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:KHQVRPHRQHLVVXHVDGLVSXWHWKH\ZDLYHDOOWKHLUULJKWVDVDFOLHQW:HHYHQKDYHWKHULJKWWRVKXWGRZQ\RXU
DFFHVVEXWZHDUHDOORZLQJ\RXWRILQLVK,DPJODGWRFRPPXQLFDWHYLDHPDLODVDQRXWERXQGFDOOZLOOQRWEH
PDGH+RZHYHUDFLYLOWRQHLVUHTXLUHGLIZHFRQWLQXHYLDHPDLO


-RUGDQ




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2FW$0&27

-RUGDQ, GOLNHWRVSHDNZLWK\RXRYHUWKHSKRQHGLUHFWO\




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2FW$0&27

1RWKDW VQRWDFFHSWDEOH3URYHWRPHZKHUHLWVD\VWKDW,QHHGWRVSHDNZLWKVRPHRQHLPPHGLDWHO\




-RUGDQ5H\QD %LR7HFK%UHDNRXWV
                                           $WWDFKPHQW3                            3;
          Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 81 of 441

2FW$0&27




,VHH\RXKDYHDOUHDG\LVVXHGDFKDUJHEDFN'XHWR\RXSXUVXLQJDFKDUJHEDFNGLVSXWH\RXZLOOQRWUHFHLYH
IXUWKHUDFFHVVWRRXUVXSSRUWWHDPDV\RXDUHLQGLUHFWYLRODWLRQRIRXUWHUPVDQGFRQGLWLRQV\RXVLJQHG


-RUGDQ




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2FW30&27

+HOORZDQWHGWRIROORZXSLI\RXJRWP\DWWDFKHGSQJ\HVWHUGD\

7KDQN\RX




-RUGDQ5H\QD %LR7HFK%UHDNRXWV

2FW30&27


 3ULYDWHQRWH




,VHH\RXKDYHDOUHDG\LVVXHGDFKDUJHEDFN'XHWR\RXSXUVXLQJDFKDUJHEDFNGLVSXWH\RXZLOOQRWUHFHLYH
IXUWKHUDFFHVVWRRXUVXSSRUWWHDPDV\RXDUHLQGLUHFWYLRODWLRQRIRXUWHUPVDQGFRQGLWLRQV\RXVLJQHG


-RUGDQ




1DWKDQ %LR7HFK%UHDNRXWV

2FW$0&27


 3ULYDWHQRWH

FXVWRPHUZDQWVWRWDONWR\RXRU.\OHRYHUWKHSKRQHRUDUHIXQG
                                         $WWDFKPHQW3                             3;
           Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 82 of 441




1DWKDQ %LR7HFK%UHDNRXWV

2FW$0&27

5HTXHVW5H2SWLRQ5RFNHWERXJKW$&5;FZDVFORVHGDQGPHUJHGLQWRWKLVUHTXHVW/DVW
FRPPHQWLQUHTXHVW

$QG\RXGRXQGHUVWDQGWKHILUVWWH[WGLGQ WKDYHDVWULNHSULFHVR, PVXUHQRQHRI\RXUFOLHQWVJRWLQWKLV
WUDGH,JXHVVFRQJUDWVWR\RXEXWZHDUHDOOOHIWRXWLQWKHFROG,DOVRVHHWKDW=*1;LVQ WLQ\RXUSRUWIROLR
DQ\PRUHDQGZDVWKLVPRUQLQJVRZDLWLQJWRVHHZKDW\RXVD\RQWKDWWRRVLQFHZHGLGQ WJHWDQ\DOHUWVRQ
LW

,KDYHWULHGWREHSDWLHQWEXW,FDQ WDQ\PRUH,IHHODVWKRXJK\RXDUHJLYLQJPHWKHUXQDURXQG+HUHDUHWKH
RSWLRQV

 3URYLGHPHDUHIXQG
 /HWPHWDONWR-RUGDQLQWKH&XVWRPHU6HUYLFH&HQWHURYHUWKHSKRQH
 /HWPHWDONWR.\OHKLPVHOIRYHUWKHSKRQH

1H[WVWHSVLQYROYHDODZ\HUWKDW,KDYHDOUHDG\FRQWDFWHGIRUIXUWKHUDFWLRQ3OHDVHUHVSRQG

7KDQNV



2Q7XH2FWDW30.\OH'HQQLVN\OH#ELRWHFKEUHDNRXWVFRPZURWH

*RRGDIWHUQRRQ

,ERXJKW$&5;2FWREHUFDOOVDW7KHVHRSWLRQVXQIRUWXQDWHO\KDYHPRYHGTXLFNDOUHDG\VRRQO\
EHORZGRWKHVHPDNHVHQVHWRPH

7KHFRPSDQ\ZLOOKDYHDQDGYLVRU\FRPPLWWHHPHHWLQJQH[WZHHNWKDW,H[SHFWWRJRZHOO,EHOLHYHVKDUHVZLOO
WUDGHZHOODERYHDJDLQDQGWKHVHFDOOVZLOOEHDQHDV\GRXEOHDWPLQLPXP

,GRDOVRKROGDODUJHSRVLWLRQLQWKH)'$,QVLGHUVHUYLFHDVZHOOMXVWIRUIXOOGLVFORVXUH

&KHHUV

.\OH'HQQLV
%LRWHFK7UDGHU

5DJLQJ%XOO//&
&DOHI+Z\/HH1+

0DQDJH(PDLO3UHIHUHQFHV KWWSVXFWVHQGJULGQHWZIFOLFN"XSQ %E49W5XQ&/M
)ST%:Y1Q]S4P'1SV]6VI*/PKTF:,-EF%1H=6N4)=W31M4U$'<-U\L7<5[;3J'
'BG9\$IXGXFN3N%MO*\-G'PR&U+:[8IH\\KHGXS*S<%0.]&I9)Q*ZD%%9<+
%W27:5'<NN%%6.IS-]V1Y&)*K6H8848K%[-%()7JM+:=
%9Z5\:551JOD<Y-/J79)I6V)LW*5[Y)MXG/)T
                                            $WWDFKPHQW3                                3;
        Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 83 of 441
%N'75)*<T1TMWG9IQH9/=)IK*H$X]5<;V09&JI,3,-N<UVMWN<1HG.
)H31JDX8=]4<*(IHYO6[\(8'VS'DDL+PW;OX).S,4.L$KGVH$SKKHFODS,+)TDX1HUK9M9<9O\8Y0ED
%.(<'.%HZ5+%+6K5(K*%Q70+:+T)0JWPX[,:DQT;V&5&FXH-%\Y;Q29H'0
%Y+YDO+VH-+RWDTXK<]/RMS'=/E/Z:)3'H%H)\))I'9$OV.)$E(;<W;)*
%%%'3GY[MW/XM:NM\N8' _8QVXEVFULEH$OO 
KWWSVXFWVHQGJULGQHWDVPXQVXEVFULEH"XVHUBLG  GDWD VZ$
5S;:44O=),FTKK+%
V$8JEZ%BVR<JPP31MB.$IPUHKRQO'=U]*SM52DRI1,N6+:N;+S5I6T\KEQQ['I)%X
F*IE.<,P]%FP+'K/E])E.&4:.]035G1N(.1G]1R/3:M1\50F)O['[V
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W8VJ%<PG*W,\Z6L%=-G1)X9$\Z$'7RMM%XO5FR\4[N3OIO9BGB5,JHD+NEJG,M
<PN*,=BZX[O.QLLXNSR8]$IYVPB)5<&R9]BSQ2'&,.+0\BB4Z3WP]9,Z(WVXO-3$3R8/G%
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$QG<Z;PE,(EK98,\EY4VO1OV;/F2(Q'&3:+5Z8O]RL1E'<N2*4]TDE<7UW&4;W*<.V:TY2O)
5XM1I)W,;NSQHVG&]P9XIWJXO)B0PU:P6&7\/1F(0<)P%TW'KKLI10

    8QVXEVFULEH$OOZLOOEORFNRXUSUHPLXPDOHUWVHUYLFHIURPVHQGLQJ\RXDQ\HPDLOVLQWKHIXWXUH\RXZLOO
    QHHGWRFRQWDFWVXSSRUWWRJLYHXVSHUPLVVLRQWRHPDLO\RXDJDLQ


7KLVHPDLOZDVVHQWWRWKHIROORZLQJOLVWV2SWLRQ5RFNHW

1HLWKHU.\OH'HQQLVQRU5DJLQJ%XOOFRP//& SXEOLVKHURI%LRWHFK%UHDNRXWV LVUHJLVWHUHGDVDQLQYHVWPHQW
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UHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLVVROHO\
IRULQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLV
QRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUV
HPSOR\HHVDQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHGRQWKLV
ZHEVLWHEXWDOOVXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRUWKHLURZQDFFRXQW7KHVHLQGLYLGXDOV
GRQRWHQJDJHLQDQ\WUDGHVZLWKFXVWRPHUV7KHEX\LQJDQGVHOOLQJRIVHFXULWLHVE\WKHVHLQGLYLGXDOVLVQRW
SDUWRIDUHJXODUEXVLQHVVRIEX\LQJDQGVHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127LQGLFDWLYHRIIXWXUHUHVXOWV
)XUWKHUPRUHVXFKLQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKHVROLFLWDWLRQRIDQRIIHUWREX\
QRULVLWWREHFRQVWUXHGDVDUHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRURWKHUZLVH DQ\VHFXULW\$OOXVHUVRI
WKLVZHEVLWHPXVWGHWHUPLQHIRUWKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWRPDNHRUQRWPDNHDQGDUHXUJHGWR
FRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUV
UHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQWUHVHDUFKDQGGHFLVLRQVVKRXOGVHHNWKHDGYLFHRIDTXDOLILHG
VHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\XQGHUVWDQGDQ\DQGDOOULVNV
EHIRUHLQYHVWLQJ$OORSLQLRQVDQDO\VHVDQGLQIRUPDWLRQLQFOXGHGRQWKLVZHEVLWHDUHEDVHGRQVRXUFHVEHOLHYHG
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ZDUUDQW\RIDQ\NLQGH[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLPLWHGWRDQ\UHSUHVHQWDWLRQRUZDUUDQW\
FRQFHUQLQJDFFXUDF\FRPSOHWHQHVVFRUUHFWQHVVWLPHOLQHVVRUDSSURSULDWHQHVV,QDGGLWLRQZHXQGHUWDNHQR
UHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQRUWRNHHSVXFKRSLQLRQVDQDO\VHVRU
LQIRUPDWLRQFXUUHQW$OVREHDZDUHWKDWRZQHUVHPSOR\HHVDQGZULWHUVRIDQGIRU5DJLQJ%XOOFRP//&PD\
KDYHORQJRUVKRUWSRVLWLRQVLQVHFXULWLHVWKDWPD\EHGLVFXVVHGRQWKLVZHEVLWHRUQHZVOHWWHUEXWDOOVXFK
SRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWLYH·VRZQDFFRXQW3DVWUHVXOWVDUHQRWLQGLFDWLYHRIIXWXUHSURILWV7KLV
WDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHVUHSRUWHGDUHDFWXDOILJXUHVIURPWKH
SRUWIROLRV.\OH'HQQLVPDQDJHVRQEHKDOIRI5DJLQJ%XOOFRP//&

,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK%LRWHFK%UHDNRXWV\RXZLOOQHHGWRFRQWDFWXVKHUHLI\RXZDQWWR
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          Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 84 of 441
FDQFHO\RXUVXEVFULSWLRQ2SWLQJRXWRIHPDLOVGRHVQRWUHPRYH\RXIURP\RXUVHUYLFHDW%LRWHFK%UHDNRXWVFRP




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$OVRWKHOLYHVWUHDPLVGRZQ7HOO.\OHWRORJLQ

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DOOWKDWLVSURPLVHGLQRXUVHUYLFHDQGZLWKRXWVHHLQJRWKHUZLVHZHFDQQRWFKDQJHWKDWSRVLWLRQ7DNHDVFUHHQ
VKRWVDYHDQGWKHQDWWDFKWR\RXUUHSO\


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         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 85 of 441




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:HUH\RXDEOHWRYLHZP\LPDJH",IQRW,FDQVHQGRYHUDVDQDWWDFKPHQW'R\RXVHHKRZWKLVFDQEHYHU\
PLVOHDGLQJWKRXJK"'XULQJWKDWZHELQDU.\OHFODLPVOHWPHGRWKHZRUNDQG\RXFDQPLUURUP\WUDGHV<HWWKLV
LVQ WZKDW\RXKDYHEHHQWHOOLQJPH&DQ\RXMXVWSOHDVHLVVXHPHDUHIXQGDQG,ZLOOVWRSERWKHULQJ\RXDQG
\RXUWHDP

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6HQGRYHUZKHUH\RXVDLGZHHQFRXUDJH\RXWRPLUURUWUDGHV'RZHVD\\RXFDQPLUURU"3RVVLEO\'RZHVD\
WKDW VZKDWRXUVHUYLFHLVDERXWDQGGRZHHQFRXUDJHLW"1R


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2N-RUGDQVR,VDLG,ZRXOGJLYHLWWKHZHHNEXW,ZDQW\RXWRORRNDWWKLVZKHUHWKHFODLPLV\RXFDQPLUURUDQG
.\OHZDQWV\RXWR""3OXVWKHFRPPHQWVLQWKHFKDWFDPHLQHYHQEHIRUHKHHYHQSXWXSWKHJUDSKLFV&RPHRQ,
KDYHRWKHUSLFVDQGYLGHRIURPWKLVZHELQDUDQG, PUHDG\WRWDNHDFWLRQWKLVLVMXVWVRIDNHDQG,NHHS
IHHOLQJGXSHG

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7KDQNVIRUWKHGHWDLOHGUHVSRQVH,QDVKRZRIJRRGIDLWK,ZLOOJLYHLWDQRWKHUWU\WKLVZHHN+RZHYHUSDUWRI
P\SRLQWDQGRQHRIWKHPDLQUHDVRQV,ZDVORRNLQJIRUDUHIXQGZDVGXHWRZKDW,IHHOLVDODFNRIHGXFDWLRQDO
FRQWHQW/HWPHWDNHDQRWKHURQHRI.\OH VVHUYLFHVWRWU\DQGKHOSLOOXVWUDWHP\SRLQW%LR7HFK%UHDNRXWV,I\RX
FKHFN\RXUUHFRUG,ZDVDFWXDOO\DPHPEHURIWKLVVHUYLFHEDFNLQHDUO\,HQMR\HGLWEXWLWZDVWRRIDVW
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         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 86 of 441
SDFHGIRUPHVR,GURSSHGWKHVHUYLFH+RZHYHU,GLGQ WWU\WRGHPDQGDUHIXQG2QFHP\VXEVFULSWLRQZDV
GRQH,TXLHWO\OHIW,XQGHUVWRRGWKHSUHPLVHRIWKHVHUYLFHDQGDSSUHFLDWHGZKDW.\OHGLG(DFKQLJKWKH GKDYH
DGHWDLORIFRPSDQLHVKHZDVSURILOLQJDQGSOD\VKHZDVH[SHFWLQJWRPDNH6RPHWLPHVKHWUDGHGWKHP
VRPHWLPHVQRWEXWDWOHDVWWKHUHZDVDFKDQFHWRXQGHUVWDQGWKHPLQGVHWEHKLQGLWDOOZLWKPRUHIUHTXHQW
HGXFDWLRQ,GRQ WIHHOWKDWZD\ZLWK2SWLRQV5RFNHW6XUHVRPHRIWUDGHZULWHXSVDUHZHOOWKRXJKWRXWEXWLI
KH VSURILOLQJDFRPSDQ\, GOLNHWRVHHDZULWHXSEHIRUHKDQGDQGLIKHJHWVDJRRGHQWU\DQGWUDGHVLWWKHQ
JUHDWLWFRQILUPVWKHZULWHXS+HFNVRPHRIWKHZULWHXSV,IHHOOLNHLW VMXVW+H\,DPLQ7:75,OLNHGKRZLW
ERXQFHGJRRGOXFNHYHU\RQH,WLVYHU\WRXJKWROHDUQIURPVRPHWKLQJOLNHWKDW

,KRSH\RXFDQXQGHUVWDQGWKLVVLGHRIWKHDUJXPHQW0D\EH,DPPRUHIUXVWUDWHGEHFDXVH,DPKROGLQJ.\OHWR
DKLJKHUVWDQGDUGEHFDXVH,KDYHVHHQZKDWKHFDQGRLQKLVRWKHUVHUYLFHVEXWKDYHQ WVHHQWKDWGHOLYHUHGLQ
2SWLRQV5RFNHWWRGDWH

,QUHJDUGVWRWKH%276VLWXDWLRQPD\EHWKH\DUHQ WDFWXDO%276EXWWKHZHELQDU,ZDVLQVXUHO\VHHPHGVWDJHG
, GEHFDUHIXOEHFDXVH,KDYHYLGHRSURRIRILWDQGWKHFKDWDFWLYLW\LVH[WUHPHO\VXVSLFLRXV

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GRQH,TXLHWO\OHIW,XQGHUVWRRGWKHSUHPLVHRIWKHVHUYLFHDQGDSSUHFLDWHGZKDW.\OHGLG(DFKQLJKWKH GKDYH
DGHWDLORIFRPSDQLHVKHZDVSURILOLQJDQGSOD\VKHZDVH[SHFWLQJWRPDNH6RPHWLPHVKHWUDGHGWKHP
VRPHWLPHVQRWEXWDWOHDVWWKHUHZDVDFKDQFHWRXQGHUVWDQGWKHPLQGVHWEHKLQGLWDOOZLWKPRUHIUHTXHQW
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KH VSURILOLQJDFRPSDQ\, GOLNHWRVHHDZULWHXSEHIRUHKDQGDQGLIKHJHWVDJRRGHQWU\DQGWUDGHVLWWKHQ
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,KRSH\RXFDQXQGHUVWDQGWKLVVLGHRIWKHDUJXPHQW0D\EH,DPPRUHIUXVWUDWHGEHFDXVH,DPKROGLQJ.\OHWR
DKLJKHUVWDQGDUGEHFDXVH,KDYHVHHQZKDWKHFDQGRLQKLVRWKHUVHUYLFHVEXWKDYHQ WVHHQWKDWGHOLYHUHGLQ
2SWLRQV5RFNHWWRGDWH

,QUHJDUGVWRWKH%276VLWXDWLRQPD\EHWKH\DUHQ WDFWXDO%276EXWWKHZHELQDU,ZDVLQVXUHO\VHHPHGVWDJHG
, GEHFDUHIXOEHFDXVH,KDYHYLGHRSURRIRILWDQGWKHFKDWDFWLYLW\LVH[WUHPHO\VXVSLFLRXV
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         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 87 of 441
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0,UURULQJ:KLOHPDQ\FOLHQWVGRPLUURURXUWUDGHVRXUUHDOJRDOLVIRUHDFKRIRXUFOLHQWVWROHDUQRXU
VWUDWHJ\:HDUHHGXFDWLRQDOO\EDVHG0LUURULQJZLOO\LHOGPL[HGUHVXOWVDQGWKDW VZK\ZHSURPRWHWKH
HGXFDWLRQDQGQRWPLUURULQJ2XUPRVWVXFFHVVIXOFOLHQWVXVHRXUWUDGHDOHUWVDVDUHIHUHQFHZDWFKLQJRXU
VWUDWHJ\DWZRUN7KHVHVXFFHVVIXOFOLHQWVXVHWKHVWUDWHJ\WKH\ YHLQYHVWHGWLPHLQOHDUQLQJWRILQGWKHLURZQ
JROGQXJJHWV:H YHWDXJKWWKHPKRZWRILVKYVMXVWJLYLQJWKHPILVK7KDW VRXUUHDOJRDOKHUHDQGZLWKDOLWWOH
WLPHDQGHIIRUW,WKLQN\RXFDQULJKWWKHVKLSDIWHULQYHVWLQJWLPHLQOHDUQLQJYVOHDQLQJRQPLUURULQJ


:KLOHWKHUHDUHXSVDQGGRZQVLQWKHPDUNHWHYHU\WUDGHUZLOOH[SHULHQFHORVVHV+RZHYHU.\OHKDVDSURYHQ
WUDFNUHFRUGRIWXUQLQJWKLQJVDURXQG7KHNH\GXULQJWKHWRXJKWLPHVLVWRKRQH\RXUVNLOO/LPLWWKHORVVHVDQG
RSWLPL]HWKHSURILWV2XUIRFXVLVWRORFNLQWKHFRQVLVWHQWZLQVDQGZKLOHWKDWPD\EHIUXVWUDWLQJWRIRONV
ORRNLQJIRUWKHELJZLQLW VDV\VWHPDWLFDSSURDFKWKDWSD\VZHOORYHUWLPH7KDW VFRYHUHGH[WHQVLYHO\LQRXU
HGXFDWLRQDOYLGHRV+DVLWEHHQDOLWWOHVORZJRLQJ"<HV+DVLWEHHQSURILWDEOHWKRXJK"<HV:KLOHLW VQRWWKH
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8QIRUWXQDWHO\ZLWKWKHVL]HRIRXUWHDPSKRQHVDUHQRWDOZD\VFRQGXFLYHWRFRPPXQLFDWLQJZLWKFOLHQWV:H
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,IDYRLFHPDLOLVOHIWZHVHQGRXWDIDVWHPDLODQGFRQWLQXHWKHUHWRJHW\RXWKHIDVWHVWUHSOLHVDQVZHUVSRVVLEOH
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ZHELQDUVLVIOHVKDQGEORRGMXVWOLNH\RX7KHURRPLVILOOHGZLWKLQWHUHVWHGSDUWLHVORRNLQJDWSRVVLEO\OHDUQLQJ
KRZWRLQYHVWRURXUHPSOR\HHVZKRDUHWKHUHWRKHOS:HZRXOGQ WXVHERWV:HZRUNKDUGWRSURYLGHDTXDOLW\
VHUYLFHVR,ZDQWHGVTXDVKWKDWWKRXJKWRIXVXVLQJERWV¬


6LQFHZHKDYHDGGUHVVHGHDFKRI\RXUFRQFHUQVLQGHSWK,KRSH\RXVHHWKHQHHGWRWU\WKLVDJDLQ7DNHWLPH
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 ,DWWHQGHGDZHELQDUZLWK.\OHODVWQLJKWDQGLWLVIUXVWUDWLQJEHFDXVH\RXFDQFOHDUO\WHOOLWZDVILOOHGZLWK
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DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLVVROHO\IRU
LQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLVQRW
DWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUVHPSOR\HHV
DQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHGRQWKLVZHEVLWHEXWDOO
VXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRUWKHLURZQDFFRXQW7KHVHLQGLYLGXDOVGRQRWHQJDJHLQ
DQ\WUDGHVZLWKFXVWRPHUV7KHEX\LQJDQGVHOOLQJRIVHFXULWLHVE\WKHVHLQGLYLGXDOVLVQRWSDUWRIDUHJXODU
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LQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKHVROLFLWDWLRQRIDQRIIHUWREX\QRULVLWWREHFRQVWUXHG
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IRUWKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWRPDNHRUQRWPDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQ
LQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUVUHVSRQVLELOLW\IRUKLVKHU
RZQLQYHVWPHQWUHVHDUFKDQGGHFLVLRQVVKRXOGVHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJ
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       DOVRKDYHPDQ\OLNHPLQGHGIULHQGVWKDWFRXOGEHQHILWIURPDVHUYLFHOLNHWKLV

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       +RSHIXOO\\RXFDQDJUHHWRWKLVDQGJHWSDVVHGWKLVURXJKVWDUWLI\RXDUHQRWLQWHUHVWHGWKHQXQIRUWXQDWHO\
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7KDQNVIRUUHDFKLQJRXWEXWZHGRQRWLVVXHUHIXQGVIRUSDVWSXUFKDVHV,VSRNHZLWK0LFDKRQWKLVDQGKHVDLG
KHUHLWHUDWHGWKDWZHGRQRWLVVXHUHIXQGV7KHEHVWZHFDQGRLVHLWKHUWUDQVIHU\RXWRDQRWKHUVHUYLFHRIHTXDO
RUOHVVHUYDOXHRUVLPSO\DOORZ\RXWRILQLVK\RXUFXUUHQWWHUPDQGQRWEHFKDUJHGDJDLQ7KRVHDUHWKHRQO\WZR
RSWLRQVDYDLODEOH


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+HOOR-XVWWRSURYLGHDEULHIXSGDWH,VSRNHWR0LFDKRQWKHSKRQHMXVWDIHZPRPHQWVDJR+HZDVYHU\
JHQHURXVDQGXQGHUVWDQGLQJ+HVKRXOGEHUHDFKLQJRXWWR\RXVRRQWRWRXFKEDVHDQGJRIRUZDUGZLWKWKH
UHIXQG

7KDQN\RXDOOIRUXQGHUVWDQGLQJ,ORRNIRUZDUGWREHFRPLQJDPHPEHUDJDLQZKHQP\DYDLODELOLW\FOHDUVXS

9HU\EHVWUHJDUGV




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6HQWIURPP\L3KRQH




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              Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 94 of 441
&U\VWDO -DVRQ%RQG3LFNV

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5HTXHVW8QH[SHFWHGFKDQJHVMDVRQERQGSLFNVZDVFORVHGDQGPHUJHGLQWRWKLVUHTXHVW/DVW
FRPPHQWLQUHTXHVW

+HOOR,KRSHDOOLVZHOO0LFDKIURP-DVRQVERQGVRIILFHVXJJHVWHGWKDW,UHDFKRXWWR\RX7RSURYLGHDEULHID
EDFNJURXQG,VLJQHGXSIRUDGD\WUDLODW-DVRQ%RQG3LFNVIRU86'$OWKRXJKLH[SHFWHGP\PHPEHUVKLSWR
H[SLUHDWWKHHQGRIWKHGD\VZLWKRXWZDUQLQJLZDVDXWRPDWLFDOO\UHQHZHGIRUDIXOOPHPEHUVKLSRI86'
IRUMXVWWKUHHPRQWKV,YRLFHGP\FRQFHUQDQGWKLVPLVXQGHUVWDQGLQJWRWKHVXSSRUWFHQWUHDW-DVRQERQG
SLFNV-DURG WKHIHOORZZKRUHVSRQGHGWRP\LQTXLU\ DVRIQRZLVXQZLOOLQJWRDFFRPPRGDWHDQGVWDWHG´:H
GRQ·WLVVXHUHIXQGVµ$OWKRXJKWKLVSROLF\LVXQGHUVWDQGDEOHSOHDVHQRWHWKDWLOLWHUDOO\WULHGWRJHWDUHIXQG
PLQXWHVDIWHUWKHFKDUJHZHQWWKURXJK$OVRSOHDVHXQGHUVWDQGP\FLUFXPVWDQFHV,WZDVFOHDUO\RQO\P\
LQWHQWLRQWRVLJQXSIRUGD\VDQGGD\VRQO\,GRQ·WEHOLHYHWKDW,ZDVLVVXHGDIDLUZDVZDUQLQJWKDWP\
PHPEHUVKLSZLOOEHUHQHZHGDWWKHUHJXODUUDWH7KHUHZHUHQRUHPLQGHUHPDLOV,QIDFWLGRQ·WHYHQUHFDOO
VHHLQJDQ\ZKHUHZKLFKPHQWLRQVWKDWLZLOOEHDXWRPDWLFDOO\UHQHZHG

*LYHQWKDW,DPIURP&DQDGDZLWKWKHFRQYHUVDWLRQUDWHDQGIHHVWKHWRWDOFDPHWREH&$'$W-DVRQ%RQG·V
3LFNVWKH\SULGHWKHPVHOYHVDWKDYLQJH[FHOOHQWFRVWXPHUVHUYLFH,WZRXOGGRDELJLQMXVWLFHWRWKDWUHSXWDWLRQ
LI,FDQQRWEHDFFRPPRGDWHG,DPVXUH\RXFDQDSSUHFLDWHWKDWLVDYHU\VWHHSSULFHWRSD\IRUDVLPSOH
DQGKRQHVWPLVXQGHUVWDQGLQJ

3OHDVHQRWHWKDW,GLGHQMR\WKHSURGXFWDQGZRXOGGHILQLWHO\UHFRPPHQGFRQVLGHUUHMRLQLQJLQWKHIXWXUH
+RZHYHUDWWKHPRPHQW,MXVWGRQ·WKDYHWKHFDSDFLW\WRUHDOO\WDNHDGYDQWDJHRIIWKHIHDWXUHVRIIHUHGZKLFKLV
ZK\,ZRXOGOLNHWRFDQFHO0HPEHUVKLSDWWKHPRPHQW

,ORRNIRUZDUGWRKHDULQJIURP\RX

7KDQN\RXYHU\PXFK

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,MXVWQRWLFHGDSURPRWLRQRIIHUHG\HVWHUGD\WRUHQHZIRUGD\VIRU86'$V,VDLG,ZDVDZD\RQYDFDWLRQ
DQGGLGQ·WVHHWKLVPHVVDJHDUH\RXDEOHWRVZLWFKP\DFFRXQWWRWKLVUDWH",EHOLHYHWKDWLVDIDLUFRPSURPLVH
JLYHQWKHFLUFXPVWDQFHV

7KDQNV



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     ,FRPSOHWHO\XQGHUVWDQGWKDWWKLVLV\RXUSROLF\+RZHYHU,ZDVDXVHUIRURQO\GD\VDQGGLGQ·WUHDOL]HWKLV
     UXOH,GRQ·WWKLQNLWLVIDLUWREHFKDUJHG86'MXVWRQDVLPSOHPLVXQGHUVWDQGLQJRQP\SDUW,ZDVDZD\RQ
     YDFDWLRQWKHSDVVHGIHZGD\VDQGGLGQ·WUHDOL]HWKDW,ZLOOEHDXWRPDWLFDOO\UHQHZHG,IHHO\RXVKRXOGKDYH
     FRPPXQLFDWHGWKLVPRUHFOHDUO\,VWKHUHDQ\WKLQJZHFDQGRWRFDQFHORUOHVVHQWKLVFRVW"




     -RUGDQ5H\QD -DVRQ%RQG3LFNV

     6HS30&27




     $VDGYHUWLVHGWKHWULDODXWRUHQHZVXQOHVV\RXFDQFHOSULRUWRWKHUHQHZDOGDWH:KLOHZHGRQ WLVVXHUHIXQGV
     , OOPDNHVXUH\RXDUHQRWFKDUJHGDJDLQDQG\RXFDQILQLVK\RXUFXUUHQWWHUP:H YHJRWVRPHJUHDWWKLQJVLQ
     VWRUHRYHUWKHQH[WIHZZHHNV


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     +HOOR0\QDPHLV                ,UHFHQWO\GHFLGHGWRGRDGD\PHPEHUVKLSIRU,ZDVXQGHUWKH
     LPSUHVVLRQWKDWP\PHPEHUVKLSZLOODXWRPDWLFDOO\H[SLUHLQGD\V,UHDOL]HGWRGD\WKDW,ZDVVHWXSIRUDXWR
     UHQHZDO)UDQNO\,GRQ WIHHOOLNH,ZDVSURSHUO\LQIRUPHGWKDW,ZDVVLJQHGXSWRDXWRPDWLFDOO\UHQHZP\
     VXEVFULSWLRQ$OWKRXJK,GLGWKRURXJKO\HQMR\WKHSURGXFW,GRQ WZLVKWRFRQWLQXHP\PHPEHUVKLSDWWKLV
     SRLQW+RZHYHU,DPVWURQJO\FRQVLGHULQJUHQHZLQJDWDODWHUGDWH&DQ\RXSOHDVHUHYHUVHWKHFKDUJHDQG
     FDQFHOP\PHPEHUVKLS"

     6RUU\IRUWKHLQFRQYHQLHQFH

     %HVW




7KDQN<RXIRU&RQWDFWLQJ6XSSRUW
>29((292@7LFNHW,G$FFRXQW6XEGRPDLQMDVRQERQGSLFNV
                                               $WWDFKPHQW3                               3;
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6HQW       )UL$XJ
)URP                 %LR7HFK%UHDNRXWV VXSSRUW#ELRWHFKEUHDNRXWV]HQGHVNFRP!
7R         -RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!
6XEMHFW    >%LR7HFK%UHDNRXWV@5H<RXJX\VVKRXOGEHDVKDPHGRI\RXUVHOYHV

3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

7KLVWLFNHW  KDVEHHQUHRSHQHG



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       ,KDYHH[SHULHQFHZLWKDOORI\RXUVHUYLFHVPRVWO\QHJDWLYH¬,DVNHGIRUDUHIXQGIRUZKDW,SDLGIRU%LR7HFK
       %UHDNRXWVEHFDXVHWKHVHUYLFHLVQRWRQHLRWDDVSURPLVHG¬,ZDVWROGQRUHSHDWHGO\¬1RRQHRIIHUHGWRZRUN
       ZLWKPHRUWUDQVIHUPHRUFUHGLWWKHDPRXQW,SDLGWRDQ\VHUYLFH,PLJKWKDYHOLNHG7KDWZDVEDGHQRXJKEXW
       WRWU\WRVWLIOHP\UHYLHZVRI%LRWHFK%UHDNRXWV"¬:KLFKDUHDFFXUDWH"¬

       ,ZRXOGQ WKDYHSRVWHGDERXW-DVRQ%RQG3LFNV ZKLFK,DOVRFRQVLGHUWREHIXOORIIDOVHUHSUHVHQWDWLRQV EXWIRU
       \RXUFRPSDQ\ VFRQFHUWHGHIIRUWVWRVWLIOHP\UHYLHZVRI%LR7HFK%UHDNRXWV
       ,VWDQGE\HYHU\ZRUG,SRVWHG
       ,ZLOOEHGRQHZLWK1XFOHXVLQ0DUFKDQGLW VQRWVRRQHQRXJK
       ,W VWRREDGWRRVLQFHWKHUH VRQHVHUYLFH,ZRXOGKDYHUHQHZHG




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       :HDUHVRUU\\RXGLGQ WHQMR\WKHVHUYLFH\RXUHFHLYHG:HZRXOGEHJODGWRZRUNZLWK\RXWRKHOSLWEHWWHUILW
       \RXUQHHGVRUWUDQVIHU\RXRYHU+RZHYHULWDSSHDUV\RXDUHPRUHLQWHUHVWHGLQVSUHDGLQJQHJDWLYHSUHVVWKHQ
       ILQGLQJDPXWXDOO\EHQHILFLDOVROXWLRQ,WLI\RXUULJKWWRSRVWUHYLHZV:KLOHZHZLVKZHFRXOGKDYHIRXQGD
       JRRGVROXWLRQIRUERWKSDUWLHVZHZLOOQRORQJHUSXUVXH\RXUPHPEHUVKLS:HZLVK\RXDOOWKHEHVW


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       ,UHTXHVWHGDUHIXQGEHFDXVHWKHSLWFK.\OH'HQQLVJDYHZDVQRWKLQJOLNHZKDWKLVVHUYLFHDFWXDOO\LV<RXU
       FRPSDQ\UHIXVHGWRJLYHPHDUHIXQG,SRVWHGDQHJDWLYHUHYLHZRQ7UXVWSLORW\RXUFRPSDQ\UHSRUWHGLW,
                                                   $WWDFKPHQW3                              3;
                    Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 97 of 441




     SRVWHGDQRWKHUQHJDWLYHUHYLHZRQ7UXVWSLORWDQG\RXUFRPSDQ\UHSRUWHGWKDWDVZHOO

     ,ZLOONHHSSRVWLQJP\QHJDWLYH DQGKRQHVW UHYLHZVRQ7UXVWSLORW)LUVW$PHQGPHQWGXGHV$QGWKHVHUYLFHLV
     KRUULEOHDQGSHRSOHVKRXOGEHDOORZHGWRPDNHLQIRUPHGGHFLVLRQV

     $V,WROG\RXUFRPSDQ\ZKHQ\RXUHIXVHGWRJLYHPHDUHIXQGQRPRUH5DJLQJ%XOOSURGXFWVIRUPH,W VWRR
     EDGWRRVLQFH,ZRXOGKDYHUHQHZHG7UDGHU V&RXQFLO

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7KDQN<RXIRU&RQWDFWLQJ6XSSRUW
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)URP                       %LR7HFK%UHDNRXWV VXSSRUW#ELRWHFKEUHDNRXWV]HQGHVNFRP!
&F            -RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!
6XEMHFW       <RX UHDFRQDUWLVW

3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

<RXDUHUHJLVWHUHGDVD&&RQWKLVVXSSRUWUHTXHVW  5HSO\WRWKLVHPDLOWRDGGDFRPPHQWWRWKHUHTXHVW



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         3ULYDWHQRWH

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       +RZGR\RXVOHHSZLWK\RXUVHOINQRZLQJ\RX UHDW\SLFDOUXQRIWKHPLOOFRQDUWLVW",KDSSHQWREHDQHFRQRPLVW
       IRUWKHODVW\HDUVZLWKDPDVWHUVLQ)LQDQFH, YHEHHQDQLQYHVWPHQWFRQVXOWDQWIRUPRUHWKDQ\HDUVIRU
       IRUWXQHFRPSDQLHV,ZDVHYHQDGD\WUDGHUIRUPDQ\\HDUV, YHEHHQRIIHUHGWRQVRIPRQH\E\SHRSOHZKR
       ZDQWPHWRWHDFKWKHPKRZWRPDNHPRQH\<RXNQRZZK\,GRQ WWDNHWKHLUPRQH\"%HFDXVHXQOLNH\RX,
       KDYHHWKLFV<RX UHDGLVJUDFHWRFLYLOL]DWLRQDQGFKDUODWDQVOLNH\RXVHOOLQJVQDNHRLOVKRXOGEHLQGLFWHGIRU
       IDOVHDGYHUWLVLQJ, GSXWP\FKRSVRILQYHVWPHQWWKHRU\XSDJDLQVW\RXUVDQ\GD\RIWKHZHHN%XW\RXZRXOG
       QRWGHEDWHPHEHFDXVHHWKLFDODFDGHPLFVOLNHXVDUHDWKUHDWWR\RXUIUDXGXOHQWEXVLQHVV6KDPHRQ\RX<RXU
       <RXWXEHYLGHRDGVDUHDMRNHDQGDQDQQR\DQFH*HWDOHJLWLPDWHMREDQGWU\WREHGRJRRGLQVWHDGRIEHLQJD
       OLDU




 7KDQN<RXIRU&RQWDFWLQJ6XSSRUW
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6HQW       7XH$XJ
)URP                %LR7HFK%UHDNRXWV6XSSRUW N\OH#ELRWHFKEUHDNRXWVFRP!
7R         -RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!
6XEMHFW    >%LR7HFK%UHDNRXWV@5H5H6ROG6+23

3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

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       ,ZRXOGKDYHSUHIHUUHGDQDSRORJ\IURP.\OH'HQQLVEXWDV,VWURQJO\ZDQWWRPRYHDZD\IURPKLP,ZLOOVLJQ
       WKHGRFXPHQW([FHSWLWVD\VWHUPLQDWHZLWKDOO5DJLQJ%XOOVHUYLFHVDQGWKLVVKRXOGEHRQO\IRUWKH2SWLRQ
       5RFNHWVHUYLFHV,VWLOOKDYHWLPHUHPDLQLQJRQWKH050VHUYLFH




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       <RXURQJRLQJDYRLGDQFHRIDQDSRORJ\IXUWKHUSURYHVWKDW\RXDUHQRWVRPHRQHZKRILWVWKHNLQGRIFOLHQWVZH
       GHVLUH,ZLOOUHIXQG\RXDIWHU\RXVLJQWKLV1'$,WZLOOEHHPDLOHGWR\RXVKRUWO\6LJQWKHOHJDOO\ELQGLQJ
       GRFXPHQWDQGZH OOLVVXHWKHUHIXQG


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       ,DPMXVWDVNLQJIRUKRQHVW\LQWHJULW\DQGDIDLUVHUYLFHIURP\RX(DV\HQRXJKWRDGPLW\RXSURYLGHGDEDG
       VHUYLFHDQGUHIXQGWKHPRQH\2WKHUHWKLFDOVHUYLFHVGRWKLV,I\RXDUHQRWZLOOLQJWRGRWKDWWKHQP\
       DVVHVVPHQWLVFRUUHFW<RXVDLG)ULGD\\RXZRXOGSURYLGHWKHUHIXQGQRPHQWLRQRIDSRORJ\,JXHVV\RXOLHG
       :K\VKRXOG,WUXVW\RXWKDWDQ\WKLQJ,SURYLGHZRXOGUHVXOWLQDUHIXQG"<RXUHPDLOLVWKHXQFLYLORQH
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<RXWUDGHDW\RXURZQULVN5HSO\EDFNDQGZLWKDQDSRORJ\DQGZH OOJHWWKLVJRLQJ:HDUHQRWJRLQJEDFNRQ
DQ\WKLQJMXVWDVNLQJIRUVRPHFLYLOLW\,I\RXFDQQRWGRWKDWWKHQZHKDYHQRUHDVRQWREHOLHYH\RXZRXOGKRQRU
DQ1'$\RXVLJQ


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,I,JHWDZULWWHQDSRORJ\IURPKLPIRUKLVVHUYLFHEORZLQJXSP\DFFRXQWDQGQRWEHLQJZLOOLQJWRDFNQRZOHGJH
WKHEDGVHUYLFHSURYLGHG,PLJKWFRQVLGHULW,VWKLVDQRWKHUH[DPSOHRIJRLQJEDFNRQZKDW\RXVDLG"




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:H OOWDNHFDUHIRWKLVEXWUHTXLUHDZULWWHQDSRORJ\IRUWKHVOLPHEDOOFRZDUGFRPPHQWV


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,DSSUHFLDWH\RXUUHVSRQVH,SUHIHUWRJRZLWKWKHUHIXQGRSWLRQ,DPILQHWRVLJQDQ1'$




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%HIRUH,VWDUW, GOLNHWRDVN\RXWRDGRSWDPRUHFLYLOWRQHJRLQJIRUZDUG:HZRXOGQ WGDUHLQVXOW\RXVRZHDVN
WKHVDPHJRLQJ7KLVZLOOKHOSXVUHDFKDPXWXDOO\EHQHILFLDORXWFRPH


:KLOHZHGRQ WQRUPDOO\LVVXHUHIXQGV, GOLNHWRSURYLGHWZRRSWLRQV


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\RXDUHD0LOOLRQDLUH5RDGPDSFOLHQWDQG,ZRXOGEHJODGWRXVHWKRVHIXQGVWRH[WHQGWKDWVXEVFULSWLRQDQ
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7KDW·VDSUHWW\VWDQGDUGODPHH[FXVHIRUDEDGVHUYLFH$QGLQIDFWWKLVVHUYLFHLVGLIIHUHQWLQWKDWLWZDV
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,WZLOOEHFKHDSHUIRUPHDQG.\OHIRU.\OHWRPDQXSDGPLWKHKDVSURYLGHGDORXV\VHUYLFHWKDWKDVFRVW
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,·PJRLQJEURDGSXEOLFRQWKHLQWHUQHW

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7KDWLVOHIWWROLFHQVHGEURNHUV


2XUWUDGHUVDOHUWRXUPHPEHUVWRWKHDFWXDOWUDGHVWKH\DUHPDNLQJLQDVQHDUUHDOWLPHDVSRVVLEOHFRQVLGHULQJ
LWWDNHVDIHZPLQXWHVWRVHQGRXWHPDLOVWRWKRXVDQGVRISHRSOH


7KHSXUSRVHRIRXUVHUYLFHLVWRZDWFKRXUSURIHVVLRQDOWUDGHUVH[HFXWHUHDOPRQH\WUDGHVGXULQJWKHZHHNDQG
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.\OHLVDQDEVROXWHVFXPORZOLIHLIQRWUHIXQGLQJPRQH\IRUWKLV´VHUYLFHµ
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UHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLVVROHO\
IRULQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLV
QRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUV
HPSOR\HHVDQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHGRQWKLV
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SDUWRIDUHJXODUEXVLQHVVRIEX\LQJDQGVHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127LQGLFDWLYHRIIXWXUHUHVXOWV
)XUWKHUPRUHVXFKLQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKHVROLFLWDWLRQRIDQRIIHUWREX\
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WKLVZHEVLWHPXVWGHWHUPLQHIRUWKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWRPDNHRUQRWPDNHDQGDUHXUJHGWR
FRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUV
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                   Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 104 of 441




     UHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQWUHVHDUFKDQGGHFLVLRQVVKRXOGVHHNWKHDGYLFHRIDTXDOLILHG
     VHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\XQGHUVWDQGDQ\DQGDOOULVNV
     EHIRUHLQYHVWLQJ$OORSLQLRQVDQDO\VHVDQGLQIRUPDWLRQLQFOXGHGRQWKLVZHEVLWHDUHEDVHGRQVRXUFHVEHOLHYHG
     WREHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOGEHLQGHSHQGHQWO\YHULILHGDQGQRUHSUHVHQWDWLRQRU
     ZDUUDQW\RIDQ\NLQGH[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLPLWHGWRDQ\UHSUHVHQWDWLRQRUZDUUDQW\
     FRQFHUQLQJDFFXUDF\FRPSOHWHQHVVFRUUHFWQHVVWLPHOLQHVVRUDSSURSULDWHQHVV,QDGGLWLRQZHXQGHUWDNHQR
     UHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQRUWRNHHSVXFKRSLQLRQVDQDO\VHVRU
     LQIRUPDWLRQFXUUHQW$OVREHDZDUHWKDWRZQHUVHPSOR\HHVDQGZULWHUVRIDQGIRU5DJLQJ%XOOFRP//&PD\
     KDYHORQJRUVKRUWSRVLWLRQVLQVHFXULWLHVWKDWPD\EHGLVFXVVHGRQWKLVZHEVLWHRUQHZVOHWWHUEXWDOOVXFK
     SRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWLYH·VRZQDFFRXQW3DVWUHVXOWVDUHQRWLQGLFDWLYHRIIXWXUHSURILWV7KLV
     WDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHVUHSRUWHGDUHDFWXDOILJXUHVIURPWKH
     SRUWIROLRV.\OH'HQQLVPDQDJHVRQEHKDOIRI5DJLQJ%XOOFRP//&
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                   Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 105 of 441
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3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

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       HPDLO"XWPBPHGLXP HPDLO XWPBVRXUFH OLQN XWPBFDPSDLJQ VLJ
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       -RUGDQ5H\QD /LJKWQLQJ$OHUWV

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       FDQQRWGLVFXVVDUHIXQGIXUWKHU:HZLOOFRQWLQXHWRSURYLGH\RXZLWKWKHVHUYLFH\RXSDLGIRUXQWLOWKHHQGRI
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       -RUGDQ5H\QD /LJKWQLQJ$OHUWV

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       LQUHTXHVW

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           Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 106 of 441
7KLVUHTXHVWZDVFORVHGDQGPHUJHGLQWRUHTXHVW$GGUHVVWKLV
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QRQUHIXQGDEOH+RZHYHUZHZLOOPDNHVXUH\RXDUHQRWFKDUJHGDJDLQDQG
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    HQGRIWKHGD\%XW,ZDVVRVLFNZLWKWKHIOXRUIRRGSRLVRQLQJWKHRQO\
    WKLQJ,FRXOGGRZDVJRWREHG,ZDVWKURZLQJXSFRQWLQXRXVO\ZLWK
    XQFRQWUROODEOHGLDUUKHD,ZDVH[WUHPHO\ZHDN ,KDGDGHJUHH
    WHPSHUDWXUHWKDWFRQWLQXHGWKUHZ6DWXUGD\QLJKW,ZDVOHWKDUJLFXQDEOHWR
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    PLQXWHVWRILQGWKHVLWHWKDWKDGP\DFFRXQWWKDWDOORZHGPHWRFDQFHOWKH
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    RXW.D\OHIRUPRQWKVEHFDXVHRIWKHSRVVLELOLW\RIMRLQLQJ%LRWHFN
    0LOOLRQDLUHURDGPDS%XWDIHZZHHNVDIWHU,VWDUWHGKHDQQRXQFHGKHQR
    ORQJHUZRXOGEHZLWK.HLWK.HUQVDQGMXVWGLVDSSHDUHG,ZDVH[WUHPHO\
    GLVDSSRLQWHGEXW,WFKRVHWRVWD\DQGVHHKRZ.HLWKZRUNHG

    7KHWKUHHPRQWKVXVLQJWKHVLWHZDVDQDEVROXWHIUXVWUDWLQJIDLOXUH7KH
    PLFURSKRQHZRXOGIDLOPDQ\WLPHVDGD\  7KHVWUHDPZRXOGVWDOO,
    ZRXOGEHIRUFHGWRORJHEDFNRQQXPHURXVWLPHVDGD\ZKHQ,ZDVDFWLYHRQ
    WKHVLWH0RVWRIWHQ,ZRXOGMXVWJLYHXSDQGOHWLWVWUHDP,LPSOHPHQWHG
    WKHUHVHWLQVWUXFWLRQWKDWZDVSRVWHGWRIL[WKHSUREOHPEXWLWGLGQRW
    IL[WKHSUREOHP7KHSUREOHPGRVHQRWVWHPIURPP\EUDQGQHZFRPSXWHU
    VRIWZDUH7KHSUREOHPLV\RXUVHUYHU7KLVKDVEHHQDFRQWLQXDOFRPSODLQW
    IURPPDQ\RIWKHPHPEHUVVLQFH,MRLQHG

    'XHWRWKHPLFURSKRQHIDLOLQJFRQWLQXDOO\,PLVVHG.HLWKVWDWHPHQWV
    YHU\LPSRUWDQWVWDWHPHQWV/LNH,GRQ WOLNHKRZ $%6 VWRFNLVDFWLQJDQG
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            Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 107 of 441
    ,DPVHOOLQJQRZZKLFKUHVXOWHGLQPHORVLQJPRQH\LQWUDGHV.HLWK
    WDONLQJDERXWWKHPDUNHWFRQGLWLRQVFKDQJLQJ,ZRXOGPLVVLPSRUWDQWIDFWV
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    .HLWKZDVLQWURGXFHGDVDVZLQJWUDGHUDQGGD\WUDGHURQWKHVLWH<RXU
    SURILOHRI.HLWKDQG%HUQLHLVQRWFOHDUDQGLQP\RSLQLRQGHFHSWLYH7KH
    WKUHHPRQWKV,ZDVWKHUH,RQO\H[SHULHQFHDIHZVZLQJWUDGHVWKDWODVWHGD
    GD\RUWKUHH.HLWKDQG%HUQLHZHUHVFDOSLQJIRUSHQQLHVPRVWRIWHQ,GR
    QRWVFDOSIRUFHQWVDQG,ZRXOGDVNHGIRUVZLQJWUDGHLGHDVDQGGLG
    QRWHYHQJHWDUHVSRQVH,I,NQHZWKHUHWUXHWUDGLQJVW\OH,ZRXOGKDYH
    QRWMRLQHG7KHQLJKWO\QHZVOHWWHUZLWKVWRFNUHFRPPHQGDWLRQ,IRXQG
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    ,JRWDYLUXVIURP\RXUVLWH%OXH6FUHHQ5DQVRP:DUH.HLWKKDGWKH
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8QGHUWKHFLUFXPVWDQFHVLWZRXOGEHYHU\ZLVHWRUHFRQVLGHUDQGFUHGLWP\
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,I\RXGRQRWFRPSO\WRP\UHTXHVW,ZLOOILOHZLWKP\EDQNDGLVSXWH
LQYHVWLJDWLRQDQGILOHDFRPSODLQWZLWKWKH%HWWHU%XVLQHVV%XUHDXDQGOHW
WKHPWDNHFDUHRILW
3OHDVHUHVSRQGZLWKLQKRXUV

        

\RXUSROLF\

-RUGDQ /LJKWQLQJ$OHUWV

)HE30(67



<RXPXVWFDQFHO35,25WRUHQHZDO,I\RXDUHUHTXHVWLQJFDQFHOODWLRQDQG
WKHFKDUJHLVSURFHVVLQJWKHQWKDW VFRQVLGHUHGDODWHFDQFHOODWLRQDQG
QRQUHIXQGDEOH+RZHYHUZHZLOOPDNHVXUH\RXDUHQRWFKDUJHGDJDLQDQG
WKDW\RXKDYHDFFHVVWKURXJKRXWWKHUHPDLQGHURI\RXUFXUUHQWVXEVFULSWLRQ
WHUP

-RUGDQ

KWWSVZZZDYDVWFRPVLJHPDLO"XWPBPHGLXP HPDLO XWPBVRXUFH OLQN XWPBFDPSDLJQ VLJ
HPDLO XWPBFRQWHQW ZHEPDLO XWPBWHUP LFRQ
9LUXVIUHH
ZZZDYDVWFRP
KWWSVZZZDYDVWFRPVLJHPDLO"XWPBPHGLXP HPDLO XWPBVRXUFH OLQN XWPBFDPSDLJQ VLJ
HPDLO XWPBFRQWHQW ZHEPDLO XWPBWHUP OLQN
'$%)$'''%%$%($$))')!
                                          $WWDFKPHQW3                            3;
            Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 108 of 441




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)HE30

.HLWKEHORZLVWKHUHDVRQ,LQFOXGHG\RX
 -RUGDQ  5DJLQJ%XOOFRP

)HE30(67

7KLVUHTXHVWZDVFORVHGDQGPHUJHGLQWRUHTXHVW$GGUHVVWKLV
LPPHGLDWHO\.HLWK

 -RUGDQ  /LJKWQLQJ$OHUWV

)HE30(67


<RXPXVWFDQFHO35,25WRUHQHZDO,I\RXDUHUHTXHVWLQJFDQFHOODWLRQDQG
WKHFKDUJHLVSURFHVVLQJWKHQWKDW VFRQVLGHUHGDODWHFDQFHOODWLRQDQG
QRQUHIXQGDEOH+RZHYHUZHZLOOPDNHVXUH\RXDUHQRWFKDUJHGDJDLQDQG
WKDW\RXKDYHDFFHVVWKURXJKRXWWKHUHPDLQGHURI\RXUFXUUHQWVXEVFULSWLRQ
WHUP
-RUGDQ
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
BBBBBBBBBBBBBBBBBBBBBBBBB

-RUGDQ .HLWK

5HJDUGLQJ<RXUUHVSRQVHFDQFHOODWLRQRIP\PHPEHUVKLSFUHGLWWR
P\YLVD

/DVW7KXUVGD\,VWDUWHGWRJHWVLFN)ULGD\,ORGJHGRQWR
/LJKWLQJ$OHUWVFKDWZLWKWKHLQWHQWLRQRIFDQFHOLQJP\PHPEHUVKLSDWWKH
HQGRIWKHGD\%XW,ZDVVRVLFNZLWKWKHIOXRUIRRGSRLVRQLQJWKHRQO\
WKLQJ,FRXOGGRZDVJRWREHG,ZDVWKURZLQJXSFRQWLQXRXVO\ZLWK
XQFRQWUROODEOHGLDUUKHD,ZDVH[WUHPHO\ZHDN ,KDGDGHJUHH
WHPSHUDWXUHWKDWFRQWLQXHGWKUHZ6DWXUGD\QLJKW,ZDVOHWKDUJLFXQDEOHWR
JHWRXWRIEHGXQWLO6XQGD\DWQRRQ,ZDVWRWDOO\XQDEOHWRGRDQ\WKLQJ,
DP<2,OLYHDORQHDQG,WKRXJKW,ZDVG\LQJ
7KHILUVWWKLQJ,GLG6XQGD\ZDVWXUQRQP\FRPSXWHUVWUXJJOHGIRU
PLQXWHVWRILQGWKHVLWHWKDWKDGP\DFFRXQWWKDWDOORZHGPHWRFDQFHOWKH
VHUYLFH,EHOLHYHXQGHUWKHFLUFXPVWDQFHVDIXOOUHIXQGLVYHU\UHDVRQDEOH

7KHUHDVRQ,MRLQHG/LJKWLQJ$OHUWVGD\WULDOZDVEHFDXVH.D\OH
'HQQLVZDVQRZFRQWULEXWLQJDQGJXLGLQJWKHPHPEHUV,KDGEHHQFKHFNLQJ
RXW.D\OHIRUPRQWKVEHFDXVHRIWKHSRVVLELOLW\RIMRLQLQJ%LRWHFN
0LOOLRQDLUHURDGPDS%XWDIHZZHHNVDIWHU,VWDUWHGKHDQQRXQFHGKHQR
ORQJHUZRXOGEHZLWK.HLWK.HUQVDQGMXVWGLVDSSHDUHG,ZDVH[WUHPHO\
                                             $WWDFKPHQW3                         3;
           Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 109 of 441
GLVDSSRLQWHGEXW,WFKRVHWRVWD\DQGVHHKRZ.HLWKZRUNHG

7KHWKUHHPRQWKVXVLQJWKHVLWHZDVDQDEVROXWHIUXVWUDWLQJIDLOXUH7KH
PLFURSKRQHZRXOGIDLOPDQ\WLPHVDGD\  7KHVWUHDPZRXOGVWDOO,
ZRXOGEHIRUFHGWRORJHEDFNRQQXPHURXVWLPHVDGD\ZKHQ,ZDVDFWLYHRQ
WKHVLWH0RVWRIWHQ,ZRXOGMXVWJLYHXSDQGOHWLWVWUHDP,LPSOHPHQWHG
WKHUHVHWLQVWUXFWLRQWKDWZDVSRVWHGWRIL[WKHSUREOHPEXWLWGLGQRW
IL[WKHSUREOHP7KHSUREOHPGRVHQRWVWHPIURPP\EUDQGQHZFRPSXWHU
VRIWZDUH7KHSUREOHPLV\RXUVHUYHU7KLVKDVEHHQDFRQWLQXDOFRPSODLQW
IURPPDQ\RIWKHPHPEHUVVLQFH,MRLQHG

'XHWRWKHPLFURSKRQHIDLOLQJFRQWLQXDOO\,PLVVHG.HLWKVWDWHPHQWV
YHU\LPSRUWDQWVWDWHPHQWV/LNH,GRQ WOLNHKRZ $%6 VWRFNLVDFWLQJDQG
,DPVHOOLQJQRZZKLFKUHVXOWHGLQPHORVLQJPRQH\LQWUDGHV.HLWK
WDONLQJDERXWWKHPDUNHWFRQGLWLRQVFKDQJLQJ,ZRXOGPLVVLPSRUWDQWIDFWV
HWF

.HLWKZDVLQWURGXFHGDVDVZLQJWUDGHUDQGGD\WUDGHURQWKHVLWH<RXU
SURILOHRI.HLWKDQG%HUQLHLVQRWFOHDUDQGLQP\RSLQLRQGHFHSWLYH7KH
WKUHHPRQWKV,ZDVWKHUH,RQO\H[SHULHQFHDIHZVZLQJWUDGHVWKDWODVWHGD
GD\RUWKUHH.HLWKDQG%HUQLHZHUHVFDOSLQJIRUSHQQLHVPRVWRIWHQ,GR
QRWVFDOSIRUFHQWVDQG,ZRXOGDVNHGIRUVZLQJWUDGHLGHDVDQGGLG
QRWHYHQJHWDUHVSRQVH,I,NQHZWKHUHWUXHWUDGLQJVW\OH,ZRXOGKDYH
QRWMRLQHG7KHQLJKWO\QHZVOHWWHUZLWKVWRFNUHFRPPHQGDWLRQ,IRXQG
YHU\IHZVWRFNVWKDWHYHUWRRNRII

,JRWDYLUXVIURP\RXUVLWH%OXH6FUHHQ5DQVRP:DUH.HLWKKDGWKH
VDPH%OXH6FUHHQ5DQVRP:DUHSRSXSZHDOOKHDUGLWDQG.HLWKVDLGKRZGR
LJHWULGRIWKLV

8QGHUWKHFLUFXPVWDQFHVLWZRXOGEHYHU\ZLVHWRUHFRQVLGHUDQGFUHGLWP\
YLVDLPPHGLDWHO\

,I\RXGRQRWFRPSO\WRP\UHTXHVW,ZLOOILOHZLWKP\EDQNDGLVSXWH
LQYHVWLJDWLRQDQGILOHDFRPSODLQWZLWKWKH%HWWHU%XVLQHVV%XUHDXDQGOHW
WKHPWDNHFDUHRILW
3OHDVHUHVSRQGZLWKLQKRXUV

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\RXUSROLF\

 -RUGDQ  /LJKWQLQJ$OHUWV

)HE30(67



<RXPXVWFDQFHO35,25WRUHQHZDO,I\RXDUHUHTXHVWLQJFDQFHOODWLRQDQG
WKHFKDUJHLVSURFHVVLQJWKHQWKDW VFRQVLGHUHGDODWHFDQFHOODWLRQDQG
QRQUHIXQGDEOH+RZHYHUZHZLOOPDNHVXUH\RXDUHQRWFKDUJHGDJDLQDQG
                                            $WWDFKPHQW3                      3;
           Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 110 of 441
WKDW\RXKDYHDFFHVVWKURXJKRXWWKHUHPDLQGHURI\RXUFXUUHQWVXEVFULSWLRQ
WHUP

-RUGDQ

KWWSVZZZDYDVWFRPVLJHPDLO"XWPBPHGLXP HPDLO XWPBVRXUFH OLQN XWPBFDPSDLJQ VLJ
HPDLO XWPBFRQWHQW ZHEPDLO XWPBWHUP LFRQ!
9LUXVIUHH
ZZZDYDVWFRP
KWWSVZZZDYDVWFRPVLJHPDLO"XWPBPHGLXP HPDLO XWPBVRXUFH OLQN XWPBFDPSDLJQ VLJ
HPDLO XWPBFRQWHQW ZHEPDLO XWPBWHUP OLQN!
'$%)$'''%%$%($$))')!

2Q0RQ)HEDW$0-RUGDQ 5DJLQJ%XOOFRP 
VXSSRUW#UDJLQJEXOOFRP!ZURWH




1DWKDQ /LJKWQLQJ$OHUWV

)HE30


  3ULYDWHQRWH

5HTXHVW9RLFHPDLOIURP&DOOHU  ZDVFORVHGDQGPHUJHGLQWRWKLVUHTXHVW/DVWFRPPHQW
LQUHTXHVW




-RUGDQ5H\QD /LJKWQLQJ$OHUWV

)HE30

5HTXHVWVZHUHFORVHGDQGPHUJHGLQWRWKLVUHTXHVW




-RUGDQ5H\QD /LJKWQLQJ$OHUWV

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<RXPXVWFDQFHO35,25WRUHQHZDO,I\RXDUHUHTXHVWLQJFDQFHOODWLRQDQGWKHFKDUJHLVSURFHVVLQJWKHQWKDW V
FRQVLGHUHGDODWHFDQFHOODWLRQDQGQRQUHIXQGDEOH+RZHYHUZHZLOOPDNHVXUH\RXDUHQRWFKDUJHGDJDLQDQG
WKDW\RXKDYHDFFHVVWKURXJKRXWWKHUHPDLQGHURI\RXUFXUUHQWVXEVFULSWLRQWHUP
                                          $WWDFKPHQW3                             3;
                   Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 111 of 441




     -RUGDQ




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     )HE$0

     ,FDQFHOHGP\DFFRXQW
     WKHUHLVDFKDUJHRQP\YLVD
     LQHHGDFUHGLWLPPHGLDWHO\

     FXVWRPHUVHUYLFHKDVQRWUHVSRQGHGWRP\HPDLOV

            




     9LUXVIUHHZZZDYDVWFRP KWWSVZZZDYDVWFRPVLJ
     HPDLO"XWPBPHGLXP HPDLO XWPBVRXUFH OLQN XWPBFDPSDLJQ VLJ
     HPDLO XWPBFRQWHQW ZHEPDLO XWPBWHUP OLQN




7KDQN<RXIRU&RQWDFWLQJ6XSSRUW
>.=0'04@7LFNHW,G$FFRXQW6XEGRPDLQMDVRQERQGSLFNV




                                             $WWDFKPHQW3                   3;
                 Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 112 of 441
6HQW        7KX'HF
6XEMHFW     5H360HQGRI\HDU V
)URP        -RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!
7R          -HII:LOOLDPVMZ#UDJLQJEXOOFRP!

$KK\HV7KDWEDVLFDOO\PHDQVWKH\LVVXHGDGLVSXWHDJDLQVWKHLUSUHYLRXV360SXUFKDVHUHQHZDO7KH\DUHGLVSXWLQJLW
ZLWKWKHEDQNDQGZHKDYHWRFRPEDWLW(VVHQWLDOO\WKH\DUHDJDUEDJHFOLHQWWKDWZHGRQ WZDQWDQ\PRUHVLQFHWKH\DUH
EUHDNLQJW VDQGF VDQGGLVSXWLQJWKHFKDUJH

2Q7KX'HFDW$0-HII:LOOLDPVMZ#UDJLQJEXOOFRP!ZURWH

  &DQ\RXWHOOPHZKDWWKH&KDUJHEDFNPHDQVDUHWKH\VWLOORQGLGWKH\JHWRQIRUIUHHLIWKH\JRWDFKDUJHEDFNRU
  ZKDW"

  2Q7KX'HFDW$0-RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!ZURWH

   +HUH\RXJRJX\V,ILOWHUHGWKHH[SLUDWLRQGDWHVRWKDWWKHVRRQHVWH[SLUDWLRQVVKRZXSILUVWVR\RXFDQFRQWDFWWKHP
   TXLFNHU

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   2Q7KX'HFDW$0'DYLV0DUWLQGDYLV#UDJLQJEXOOFRP!ZURWH

    7KDQNVJX\V7KLVZLOOKHOSXV

    2Q7KX'HFDW$0-RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!ZURWH

     <HVVLU, OOJHWWKLVXSORDGHGDQGJHWWKDWSULFHH[SGDWHDGGHGDVZHOO

     2Q7KX'HFDW$0-HII:LOOLDPVMZ#UDJLQJEXOOFRP!ZURWH

      &DQZHSXWWKLVLQJRRJOHGRFVDQGWKHQDGGXVWRLWVRZHFDQNHHSWUDFNRIWKHGRFXPHQWDVLWFKDQJHV


                  9LUXVIUHHZZZDYDVWFRP


2Q7KX'HFDW$0-RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!ZURWH

       +HUH\RXJR'DYLV,W VDQH[FHOVKHHWZLWKWKHQDPHRIWKHFOLHQWDQGWKHLUHPDLODGGUHVV$OODUH360VXEVWKDW
       KDYHHOHFWHGWRFDQFHOVRWKH\DUHVHWWRH[SLUHLQWKHIXWXUH, OOGRP\EHVWWRXSGDWHWKHOLVWZLWKWKHLUH[SLUDWLRQ
       GDWHDQGSULFHEXW,ZDQWHGWRJHW\RXWKLVILUVW
       ,I\RXQHHGLQDQRWKHUIRUPDWOHWPHNQRZ

       2Q7KX'HFDW$0'DYLV0DUWLQGDYLV#UDJLQJEXOOFRP!ZURWH

           *UHDWTXHVWLRQ

           3HRSOHZKRKDYHDOUHDG\FKRVHWRQRWUHQHZSUREDEO\KDYHQ WEHHQSD\LQJDWWHQWLRQWRZKDWZH YHEHHQGRLQJ
           ODWHO\

           ,ZRXOGSODQRQRIIHULQJXSGDWHVDVFUHHQVKRWRI-: VJDSSOD\V KH VNLOOLQJLW UHVXOWVIURPP\PRUQLQJOLYH
           WUDGLQJDQGDORZHUSULFH

           $GGLWLRQV"

           2Q7KX'HFDW$0-HII%LVKRSMHII#ELVKRSPH!ZURWH
                                                      $WWDFKPHQW3                                  3;
             Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 113 of 441




,WKLQN-RUGDQFDQJHW\RXDOLVWRI360PHPEHUVZKRKDYHDOUHDG\FDQFHOHGWKHDXWRUHQHZIHDWXUH

:KDWZRXOG\RXRIIHUWKHPGLIIHUHQWWKHQ\RXUQRUPDOVDOHVHPDLOV"



2Q7KX'HFDW$0'DYLV0DUWLQGDYLV#UDJLQJEXOOFRP!ZURWH

,NQRZ\RX UHEXV\DQG,VKRXOGKDYHWKRXJKWRIWKLVDZKLOHDJR

,VWKHUHDQ\ZD\WRWHOO

      +RZPDQ\SHRSOHMRLQHG360ODVW\HDUGXULQJDQHQGRI\HDUVDOH
      :KDWSULFHWKH\SDLG
      :KLFKRQHVdo not plan on renewing
      :KDWWKRVHSHRSOHVQDPHVDQGHPDLODGGUHVVHVDUH
      :KDWWKHLUUHQHZDOGDWHVZRXOGEH

,I,FDQJDWKHUWKLVLQIR,FDQFUHDWHDJHQHULFHPDLOWRVLQJOHWKHPRXWZLWKWKHORZHVWSULFHHYHUIRU360WRWU\
WRVQDJUHQHZDOV -HII%WKLVLVSUHWW\PXFKZKDW,UDQE\\RXODVWQLJKW 

1RUXVKEXW,WKLQNLW VZRUWKDVKRW


'DYLV




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6HQWIURP0RELOH




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               Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 114 of 441
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=7 >!!ÿ?!@9ÿ7!9"!66#$94:
ABCDBEFÿFHIJKLÿMNOLPÿQHBJÿRÿHISBÿTBBJÿFCIUVJMÿUIOLÿICBÿNLNIWWOÿMBFÿXÿFYÿZÿCBIWWOÿJVEBÿFBLFV[YJVIWLÿVJÿFHBÿEHIFÿCYY[\ÿFHBLBÿICBÿ
FHBÿFV[BLÿFHIFÿRÿ]IJFÿFYÿ^NLHÿFHB[ÿYSBCÿFHBCBÿ]HBJÿFHBVCÿ[YLFÿHI^^Oÿ]VFHÿ[BP
_Jÿ̀ICÿab\ÿXcab\ÿIFÿdedbÿA`\ÿfIFHIJÿgFISLBFHÿhJIFBiCIMVJMTNWWPEY[jÿ]CYFBe
       kJUÿlNLFÿWVKBÿFHIF\ÿIJYFHBCÿdÿLFICÿCBSVB]ÿDCY[ÿmVJEBJFÿnILLN[VJMÿFHVLÿ]ILÿFHBÿMNOoPÿ
       _JÿqCV\ÿ̀ICÿab\ÿXcabÿIFÿdedrÿA`\ÿfIFHIJÿgFISLBFHÿhJIFBiCIMVJMTNWWPEY[jÿ]CYFBe
        sHIJKLÿtPÿuYCUIJÿLBJFÿFHBÿEWVBJFÿFHBÿWVJKÿIJUÿ]Bÿ]VWWÿNLBÿFHYLBÿFIMLÿDYCÿBIEHÿEWVBJF\ÿUB^BJUVJMÿYJÿ]HIFÿ
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7R         -RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!
6XEMHFW    >3HQQ\3UR@$VVLJQPHQW&DQFHOODWLRQ

3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

<RXKDYHEHHQDVVLJQHGWRWKLVWLFNHW  




       -DQ&27

       ,GLGFDQFHOWKHDXWRUHQHZEXW,DOVRFDQFHOHGWKLVWKHGD\WKDW,VLJQHGXSIRUWKHPRQWKWULDO, PQRWVXUH
       ZK\\RXZRXOGQ WJUDQWP\UHTXHVWWRFDQFHOVHUYLFHUHIXQGP\PRQH\, PQRWVXUHLI\RXUV\VWHPFKDQJHGP\
       DXWRUHQHZSROLF\ZKLFK,WKLQNZRXOGEHEDGEXVLQHVV,KDYHDOUHDG\ILOHGDGLVSXWHRQWKHFKDUJHVR,ZRXOG
       DSSUHFLDWH\RX92,'('WKHWUDQVDFWLRQDV,NQRZKRZFKDUJHEDFNVFDQDIIHFW\RXUPHUFKDQWDFFRXQW,DPQRW
       LQWHUHVWHGLQNHHSLQJDQDFFRXQWZLWK3HQQ\3UR,I\RXZRQWUHIXQGP\PRQH\,ZLOOSURFHHGZLWKWKH
       FKDUJHEDFNDQGWDNHLWWRDUELWUDWLRQLIQHFHVVDU\,WKLQNWKLVLVDKRUULEOHZD\WRRSHUDWHRQ\RXUEHKDOI,GRQ W
       ZDQWWKHVHUYLFH,ZRQ WEHORJJLQJLQWRWKHVHUYLFHDQG,GRQ WDSSUHFLDWH\RXWKURZLQJVRPH¬1R5HIXQGV
       &ODXVHLQP\IDFH
       3OHDVHUHVSRQG$6$3DV,ZLOOQHHGWRILQDOL]HP\GLVSXWHRUOHWP\EDQNNQRZWKDW\RXKDYHJUDQWHGWKHUHIXQG
       DQGYRLGHGWKHWUDQVDFWLRQ
       7KDQNV
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       2Q0RQGD\-DQXDU\$01DWKDQ 3HQQ\3UR VXSSRUW#SHQQ\SUR]HQGHVNFRP!ZURWH



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       1DWKDQ.UXHJHU 3HQQ\3UR

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       :HGRVHHWKDW\RXFDQFHOHG\RXUDXWRUHQHZ+RZHYHULWZDVDIWHU\RXUDFFRXQWKDGDOUHDG\EHHQFKDUJHGIRU
       WKHQH[WTXDUWHU:KLOHZHGRQRWJLYHUHIXQGV<RXZLOOVWLOOKDYHDFFHVVWR\RXUDFFRXQWXQWLOWKHQH[WELOOGDWH
       RI$WWKDWWLPH\RXUDFFRXQWZLOOEHFORVHGXQOHVV\RXUHDFWLYDWH\RXUVXEVFULSWLRQ


       1DWKDQ




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                   Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 122 of 441




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     -DQ&27

     -HII

     ,ZDVFKDUJHGWRGD\DQG,KDGVHOHFWHGWKHRSWLRQWRFDQFHODXWRUHQHZDODV,GLGZLWK-DVRQ%RQGDQG
     .\OH'HQQLVSURJUDPV

     3OHDVHUHIXQGP\PRQH\DV,KDYHGHFLGHGWRKROGRIIRQDORQJHUWHUPPHPEHUVKLSWR\RXUSURJUDP

     7KDQNV




7KDQN<RXIRU&RQWDFWLQJ6XSSRUW
>-/<2.4:@7LFNHW,G$FFRXQW6XEGRPDLQMDVRQERQGSLFNV




                                              $WWDFKPHQW3                          3;
                    Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 123 of 441
6HQW          7KX'HF
)URP                      -DVRQ%RQG3LFNV VXSSRUW#MDVRQERQGSLFNV]HQGHVNFRP!
7R            -RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!
6XEMHFW       >-DVRQ%RQG3LFNV@5H1HHGWR&DQFHO

3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

7KLVWLFNHW  KDVEHHQUHRSHQHG



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       +L-RUGDQ

       ,KDGVSHFLILHGLQDSUHYLRXVHPDLOWKDWLWZDVP\LQWHQWWRVWRSWKHVHUYLFHDQGQRORQJHUFRQWLQXH:KHQ,
       FDQFHOOHG ZLWKLQWKHJXLGHOLQHV ,ZDVWROGE\1DWKDQWKDWP\VHUYLFHVWRSSHGLPPHGLDWHO\+RZHYHU,VWLOOKDG
       GD\VOHIWRQP\WULDOWKDW,KDYHWKHULJKWWRVWLOOUHFHLYH,GLGQRWDVNIRUP\DFFRXQWWREHUHDFWLYDWHGIRU
       DXWRPDWLFUHQHZDODJDLQ,RQO\ZDQWHGZKDWZDVIDLU$QHPDLOZDVVHQWEDFNWRPHVWD\LQJWKDWP\VHUYLFHZDV
       DFWLYDWHGDJDLQDQGWKDW,ZRXOGQHHGWRFDQFHO DJDLQ 7KDWLVFRQIXVLQJWRPHEHFDXVHZKHQZRXOG,FDQFHO
       VLQFH,ZDVDOUHDG\GD\VDZD\IURPP\VXEVFULSWLRQHQGLQJ

       1RZ\RXDUHVD\LQJWKDW,ZRQWEHFKDUJHGDQ\PRUHJRLQJIRUZDUG,IWKDW VWKHFDVHWKHQWKLVVKRXOGKDYHDOVR
       DSSOLHGWRZKHQ,FDQFHOOHGWKHILUVWWLPH,DPQRWH[DFWO\VXUHZK\\RXDUHEHLQJGLIILFXOWZKHQ,GLG
       HYHU\WKLQJDSSURSULDWHO\WKHILUVWWLPH,ZRXOGVXJJHVWWKDW\RXGRQRWPRYHIRUZDUGZLWKWKLVFKDUJHDJDLQVW
       PHDV,KDYHDOHUWHGP\EDFRQDQGPDGHDFODLPDJDLQVW\RXIRUWKHVHFKDUJHVWKDW,FOHDUO\WULHGWRFDQFHO7KH
       WUDQVDFWLRQFXUUHQWO\LVSHQGLQJ,ILWSRVWVWKHQZHZLOOFRQWLQXHDQGDGG&KDVH%DQNLQWRWKHPL[

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       -RUGDQ5H\QD -DVRQ%RQG3LFNV

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       7KDQNVIRUUHDFKLQJRXW,DPWKHKHDGRIVXSSRUWDQG,UHYLHZHG\RXUFRQYHUVDWLRQZLWK1DWKDQ,VHHWKDW\RX
       UHTXHVWHGWRKDYH\RXUWULDOUHDFWLYDWHGYRLGLQJ\RXUFDQFHOODWLRQ:HWKHQQRWLILHG\RXWKDW\RXZLOOQHHGWR
       FDQFHO%()25(WKHUHQHZDOGDWH<RXIDLOHGWRGRVR:LWKWKDWEHLQJVDLGZHZLOOQRWEHLVVXLQJDUHIXQGKHUH
       +RZHYHUZHZLOOPDNHVXUH\RXZLOOQRWEHFKDUJHGDJDLQ¬


       ,IWKHUHLVVRPHWKLQJHOVHZHFDQDVVLVWZLWKWKHQSOHDVHOHWXVNQRZ+RZHYHUWKHUHFHQWFKDUJHLVYDOLGDQGD
       UHIXQGZLOOQRWEHLVVXHGRUGLVFXVVHGIXUWKHU


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         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 124 of 441




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7KDWLVLQFRUUHFW,KDGDVNHGIRUP\IXOOGD\WULDOQRWIRU\RXWRGHDFWLYDWHP\DFFRXQWIRUUHQHZDO,QHHG
\RXWRUHIXQGP\PRQH\SOHDVH

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1DWKDQ.UXHJHU -DVRQ%RQG3LFNV

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UHQHZGDWHDQGWKDWZHGRQRWJLYHUHIXQGV


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,MXVWVDZWKDWP\DFFRXQWKDVEHHQFKDUJHGIURP\RXUFRPSDQ\,KDGFDQFHOOHGWKHVHUYLFHDV\RXNQRZ
VRFDQ\RXSOHDVHUHYHUVHWKHFKDUJHV"7KDQN\RX

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1DWKDQ.UXHJHU -DVRQ%RQG3LFNV

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                                          $WWDFKPHQW3                                3;
         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 125 of 441



:HDUHJRLQJWRUHDFWLYDWH\RXUDFFRXQWIRUWKHUHPDLQLQJWLPH,WZLOOEHXSWR\RXWRFDQFHO\RXUVXEVFULSWLRQ
EHIRUHWKHUHQHZGDWH¬


:HGRQRWGRUHIXQGV


1DWKDQ




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7KHSUREOHPWKDW,KDYHZLWKWKDWLVWKDW,SDLGIRUDGD\WULDOZKLFKPHDQV,VKRXOGKDYHGD\VOHIW7KLV
HPDLOVKRXOGEHFRQVLGHUHGP\LQWHQWWRFDQFHODIWHUP\IXOOWULDOSHULRG

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1DWKDQ.UXHJHU -DVRQ%RQG3LFNV

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*UHDWTXHVWLRQ%HFDXVH\RXUDFFRXQWZDVDWULDODFFRXQWDFFHVVVWRSSHGDVVRRQDV\RXFDQFHOHG


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,DSSUHFLDWH\RXUKHOS'R,VWLOOKDYHWKHVHUYLFHIRUWKHUHPDLQGHURIP\ILUVWPRQWK",VWDUWHGRQ1RYQGVR
                                          $WWDFKPHQW3                               3;
                   Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 126 of 441




     ,ZDVQ WVXUHLI,VWLOOJHWWKHILQDOIHZGD\V"7KDQNVDJDLQIRU\RXUKHOS

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     1DWKDQ.UXHJHU -DVRQ%RQG3LFNV

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     VHH\RXDJDLQ


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     ,VLJQHGXSRQ1RYHPEHUQGIRUDRQHPRQWKGLVFRXQWHGWULDODQG,DPZULWLQJWKLVWR\RXWRFDQFHOP\
     PHPEHUVKLS,UHDOO\HQMR\\RXUVHUYLFHVKRZHYHUWKHUHJXODUFRVWRI\RXVHUYLFHLVDOLWWOHKLJKIRUPHDWWKLV
     SRLQWVLQFH,DPRQO\WUDGLQJRQDOLPLWHGEDVLVFXUUHQWO\,ZRXOGOLNHWRUHMRLQLQWKHIXWXUHKRZHYHUDWWKLV
     SRLQW,QHHGWRFDQFHO7KDQN\RXIRU\RXUDVVLVWDQFH




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                  Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 127 of 441
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)URP                 3HQQ\3UR 
7R         -RUGDQ5H\QDMRUGDQ#UDJLQJEXOOFRP!
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       RIZKDWZDVDGYHUWLVHG¬


       ,I\RXKDYHDQ\RWKHUVXSSRUWLWHPVZHFDQDVVLVWZLWKSOHDVHOHWXVNQRZEXWZHFDQQRWHQWHUDGHEDWHRQWKH
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           Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 128 of 441
6HQW:HGQHVGD\'HFHPEHU30
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7KDW VZKDWZHDGYHUWLVHDQGZKDWRXUVHUYLFHLVEDVHGDURXQG:HKDYHPDGHVXUH\RXDUHQRWFKDUJHGDJDLQ


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7KDWQRWZKDW,VLJQHGXSIRUDQGZK\,ZDQWHGWRFDQFHOWKHGD\DIWHU,VXEVFULEHG

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           Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 129 of 441
-RUGDQ5H\QD 3HQQ\3UR

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:HVHQGRXWZDWFKOLVWVIRUSRWHQWLDOVZLQJWUDGHDOHUWVRQFHSHUZHHN'D\WUDGHVPRYHWRRTXLFNO\WKDWZHGR
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:HQHHGWRNQRZZKDW\RXDUHSODQQLQJWR\RXEHIRUH\RXGRLWVRWKDWZHFDQJHWLQDWWKHVDPHWLPHDQG
SULFHWKDW\RXGR

2WKHUZLVH\RXDUHQREHWWHUWKDQWKHSXPSDQGGXPSIUHHDGYLVRULHV

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$OHUWVWDNHSODFHDVWKHPDUNHWRSHQVDQGVWRFNVPRYH,IZHFRXOGVHQGRXWDOHUWVDQGZKDWWKH\ZHUHJRLQJWR
GRSULRURUPDUNHWRSHQWKHQZH GQHHGDFU\VWDOEDOO


-RUGDQ




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            Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 130 of 441
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:K\FDQZHQRWJHWWKHVHDOHUWVEHIRUHWKHPDUNHWRSHQV"

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6HQW:HGQHVGD\'HFHPEHU$0
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-HII:LOOLDPV
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3OHDVHQRWHWKDWDOOPHPEHUVKLSFKDUJHVZLOODSSHDUDV/LJKWKRXVH0HGLDRQ\RXUELOOLQJVWDWHPHQW

+HOSIXO/LQNV

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/HVVRQVKWWSVPULQIXVLRQVRIWFRPDSSOLQN&OLFNGHHFIHFIH
II!/HDUQWKH3HQQ\3526WUDWHJ\WKURXJKWKLVHYHUHYROYLQJVHULHVRIOHVVRQV

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&KDW
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1HLWKHU3HQQ\3URQRU/LJKWKRXVH0HGLD//& SXEOLVKHURI3HQQ\6WRFN3UR LVUHJLVWHUHGDVDQLQYHVWPHQWDGYLVHU
QRUDEURNHUGHDOHUZLWKHLWKHUWKH866HFXULWLHV ([FKDQJH&RPPLVVLRQRUDQ\VWDWHVHFXULWLHVUHJXODWRU\
DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLVVROHO\IRU
LQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLVQRW
DWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV3DVWSHUIRUPDQFHLV
127LQGLFDWLYHRIIXWXUHUHVXOWV)XUWKHUPRUHVXFKLQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKH
VROLFLWDWLRQRIDQRIIHUWREX\QRULVLWWREHFRQVWUXHGDVDUHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRU
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PDNHRUQRWPDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\
LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUVUHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQWUHVHDUFKDQGGHFLVLRQVVKRXOG
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     VHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\
     XQGHUVWDQGDQ\DQGDOOULVNVEHIRUHLQYHVWLQJ$OORSLQLRQVDQDO\VHVDQGLQIRUPDWLRQLQFOXGHGRQWKLVZHEVLWHDUH
     EDVHGRQVRXUFHVEHOLHYHGWREHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOGEHLQGHSHQGHQWO\YHULILHGDQGQR
     UHSUHVHQWDWLRQRUZDUUDQW\RIDQ\NLQGH[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLPLWHGWRDQ\
     UHSUHVHQWDWLRQRUZDUUDQW\FRQFHUQLQJDFFXUDF\FRPSOHWHQHVVFRUUHFWQHVVWLPHOLQHVVRUDSSURSULDWHQHVV,Q
     DGGLWLRQZHXQGHUWDNHQRUHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQRUWRNHHSVXFK
     RSLQLRQVDQDO\VHVRULQIRUPDWLRQFXUUHQW$OVREHDZDUHWKDWRZQHUVHPSOR\HHVDQGZULWHUVRIDQGIRU
     /LJKWKRXVH0HGLD//&PD\KDYHORQJRUVKRUWSRVLWLRQVLQVHFXULWLHVWKDWPD\EHGLVFXVVHGRQWKLVZHEVLWHRU
     QHZVOHWWHU3DVWUHVXOWVDUHQRWLQGLFDWLYHRIIXWXUHSURILWV7KLVWDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLV
     UHSUHVHQWHG3URILWVDQGORVVHVUHSRUWHGDUHDFWXDOILJXUHVIURPWKHSRUWIROLRV3HQQ\3URPDQDJHVRQEHKDOIRI
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     ,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK3HQQ\3UR\RXZLOOQHHGWRFRQWDFWXV
     KWWSZZZSHQQ\SURFRPFRQWDFWLI\RXZDQWWRFDQFHO\RXUVXEVFULSWLRQ2SWLQJRXWRIHPDLOVGRHVQRW
     UHPRYH\RXIURP\RXUVHUYLFHDW3HQQ\3UR

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  DQGZHSURYLGHGDPSOHLQIRUPDWLRQIRUWKHPWRUXOHLQRXUIDYRU7KH\YLHZHGWKHVLJQHGFRQWUDFWDQGUHYLHZHGRXUSURRIRI
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  0U        ZLOOVLJQDGGLWLRQDOGRFVIRUDQG1'$DQGUHOLQTXLVKKLVULJKWVWRSXUVXHWKLVPDWWHUIXUWKHU,IKHSXUVXHVWKH
  UHIXQGRIIHUKLVDFFHVVHVZLOOEHWHUPLQDWHGDQGZHZRXOGOLNHWRSHUPDQHQWO\VHYHURXUUHODWLRQVKLSZLWKKLPIURPWKLVSRLQW
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  7KHFUHGLWFDUGFRPSDQ\LVQRWDOHJDOO\ELQGLQJDXWKRULW\7KHFUHGLWFDUGFRPSDQ\RQO\GHWHUPLQHVLQLWVGLVFUHWLRQLIWKH
  FKDUJHZDVDOORZDEOH7KH\GRQRWGHWHUPLQHWKHYDOLGLW\RUHQIRUFHDELOLW\RIDFRQWUDFW7KHFUHGLWFDUGFRPSDQ\KDVPDGHD
  WHPSRUDU\GHFLVLRQDQGKDYHUHTXHVWHGDGGLWLRQDOLQIRUPDWLRQIURP0U           ZKLFKKHKDVQRZSURYLGHGWRWKHP LH
  VFUHHQVKRWVVKRZLQJWKDWKHGLGQRWKDYHDFFHVVWRWKHPLOOLRQDLUHURDGPDSRQFHORJJHGLQ 

  ,ZRXOGUHFRPPHQGWKDWP\FOLHQWVLJQDQ1'$DQGDUHOHDVHRIDOOFODLPVLI\RXUHIXQGWKHHQWLUH

  ,I\RXDUHXQZLOOLQJWRUHIXQGWKHHQWLUHDPRXQW,ZRXOGUHFRPPHQGWRP\FOLHQWWKDWKHSURFHHGDV,KDYHRXWOLQHGHDUOLHU
  XQGHUEUHDFKDQG)873$,ZRXOGDOVRUHFRPPHQGWKDWP\FOLHQWILOHZLWKWKH%%%WKH6(&DQGDQ\RWKHUJRYHUQPHQWDO
  HQWLWLHVWKDWKDYHMXULVGLFWLRQRYHUWKLVPDWWHU

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          WHUPVDUHFOHDUO\ODLGRXW,IKHZRXOGOLNHDUHIXQGDQGWKHQFDQFHOKLV05VXE
          LPPHGLDWHO\WKHQZHZLOOGRWKDW ,IKHLVRNZLWKWKLVWKHQOHWPHNQRZEHFDXVH,ZLOODOVRQHHG
          KLPWRVLJQDGGLWLRQDOGRFVIRUDQG1'$DQGUHOLQTXLVKKLVULJKWVWRSXUVXHWKLVPDWWHUIXUWKHU




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             5HPLQGKLPWKHFUHGLWFDUGFRPSDQ\DOUHDG\UHYLHZHGWKLVDQGGHFOLQHGKLV
             FKDUJHEDFN7KLVLVDRQHWLPHRIIHUIRUKLP

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              MHIIVDLGRIIHUKLPKDOIRIKLVPHPEHUVKLSEDFNDWILUVWSOHDVHVHHKRZWKDW
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                 MXVWWRUHPRYHDQ\ULVNRIFRXUWUHIXQGKLVPRQH\DQGWHOOKLPWRSLVVRIIOHW VMXVWVHQGKLP
                 RXUZLQDOHUWVIURPQRZRQWRUXELWLQKLVIDFH

                 LGRQRWZDQWKLPLQDQ\RIP\VHUYLFHVSOHDVHPDNHWKDWFOHDU

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         RYHU\RXUVKRXOGHUDQGDVNTXHVWLRQV,VKDUHGWKDW\RXDUHRQO\LQ
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           KLVHQGRULVLWVRPHWKLQJWKDWLVRXUIDXOW"




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            VKDUHGZLWKKLPKRZWKHOLYHWUDGLQJZRUNVDQGKHZDVQRW
            KDSS\, YHSXOOHGSDVWFRPPXQLFDWLRQVZLWKKLPDQGZH YHEHHQ
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       VWRFNERQGWUDGHVDQGWKHUHIRUHPLPLFWKHPLQKLVRZQSRUWIROLR+H
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       )XUWKHUPRUH\RXFRXOGEHOLDEOHXQGHU)873$ )HGHUDO8QIDLU
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       XQGHUDOOUHPHGLHVRIODZDYDLODEOHWRKLPLI\RXUHWXUQKLVPRQH\

       ,I\RXIDLOWRUHVSRQGWRWKLVHPDLORUGRQRWFRQWDFWPHRU0U
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YHTOÿOHIJÿTQIÿNLPUZ[ÿNPNÿJLXÿKIIÿHPKÿSTMMKÿLUÿB@\ÿLUIÿL]ÿOHIÿYLQKOÿOQTNIKÿ^_RIÿKIIUÿYPOHÿTMMÿOHIÿNPRIQZIUSIKÿLUÿOHIÿSHTQOÿTUNÿ
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YTOSHPUZÿOHIKIÿZXJKÿOQTNIKÿYLXMNÿbTWIÿULÿNP]]IQIUSI[ÿOHIJÿTQIÿYQLUZF[ÿOHPKÿKIM]ÿVQLSMTPbINÿcLUIÿL]ÿOHIÿ̀IKOÿLVOPLUÿ
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KIUNÿbIÿOHIÿbTQWIOPUZÿbTOIQPTMÿOLÿKIIÿPO[ÿ^ÿYPMMÿKOTQOÿYTQUPUZÿVILVMIÿLUÿJLXOX`IÿOLÿULOÿ]TMMÿ]LQÿOHPKÿKSTb[ÿHPKÿVLLQÿ
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      NP@ÿKJOÿJKÿeÿG@W=EÿBÿHJQÿC@JCD@ÿFIEGÿO=NPÿ@L@MHNP=K]ÿCJF=N=L@ÿNP@KÿNP@M@ÿ=FÿKJÿM@EDÿP@DCÿOPENFJ@L@MSÿfJÿ
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            Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 151 of 441
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      Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 153 of 441


From:           Jason Bond
To:
Cc:             Jeff Bishop; Petra Hess; Petra Picks Support; Jordan Reyna
Subject:        Re: Refund of Petra Picks
Date:           Friday, July 14, 2017 7:00:48 AM


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     Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 154 of 441


From:             Jason Bond
To:               Petra Hess
Cc:               Jeff Bishop; Petra Picks Support; jordan@raginingbull.com
Subject:          Re: Refund of Petra Picks
Date:             Friday, July 14, 2017 12:40:22 AM


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                Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 156 of 441
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                     ,DOVRKDYHDQXUJHQWDQQRXQFHPHQW ,DPKRVWLQJDIUHHWUDLQLQJVHVVLRQ,I
                     \RX IROORZWKLVOLQN\RXFDQVFKHGXOHWRDWWHQGDWZKLFKHYHUWLPHZRUNVEHVW
                     IRU\RX5HJLVWHUVRRQEHFDXVHWKHVHNLQGRIHYHQWVGUDZDODUJHFURZG«
                     HYHU\RQHZDQWVWROHDUQIURPWKH0HQVD2SWLRQV7UDGHU

                                                                
                     ,DPDPHPEHURI0HQVD,QWHUQDWLRQDO7KDWPHDQVP\,4LVLQWKHWRSRI
                     DOOSHRSOHLQWKHHQWLUHZRUOG
                     7KLVLVQ¶WWREUDJEXW,ZDQWWRSURYHWKDW\RX¶UHLQJRRGKDQGVZKHQLWFRPHV
                     WR/HDUQLQJ+RZWR7UDGH2SWLRQV
                     7UDGLQJ2SWLRQV FDQEHFRPSOLFDWHGDQGVRPHWUDGHUVVK\DZD\IURPWKH
                     H[SRQHQWLDOUHWXUQVWKDW2SWLRQWUDGLQJFDQJHQHUDWH
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 7ULSOHGLJLWZLQQHUVGRQ¶WMXVWKDSSHQ7KH\¶UHFUDIWHGDQGFDOFXODWHGWUDGHV
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 ,DQWLFLSDWHWKHVHPRYHVDQG FDSLWDOL]HRQWKHP
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 &KHFNRXWP\HERRNZKHUH,H[SODLQV³2SWLRQ%DVLFV´RQ SDJH

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DQGWKHQ, OONQRZZKDWWRGRDQGDGGUHVVDQGFLW\DQGVWDWH\RXGRWKDW, PDVLJQXSKRZPDQ\)ORULGDZKHUHDUH\RX

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     KDGFOLFNHGRQWKLV

     ,¶PKHUHWRWHOO\RXWKRXJKWKDW\RX¶UHQRWWRRODWH

     6XUH\RXU3Q/LVSUREDEO\EXUQLQJDKROHLQ\RXUIDFHZLWKWKDW%,*5('180%(5«

     %XWIRUPHWRGD\¶VMXVWDQRWKHUGD\

     $QGWRPRUURZZLOOEHWKHVDPHZD\DIWHUWKDW

     ,W¶VEHFDXVH,¶YHILQDOO\OHDUQHGRQHRIWKHKDUGHVWOHVVRQV\RXFDQOHDUQDVDWUDGHU

     Yes, you can prepare and position and do absolutely everything within your power to set yourself
     up for success, but sometimes s*** just happens.

     $QGLW¶VZKDW\RXGR7+(1WKDWUHDOO\GHILQHV\RXDVDWUDGHU

     $Q\RQHFDQWKURZWKHLUPRQH\LQ$$3/RU63<ZKHQWKHPDUNHWLVFKDUJLQJDKHDGOLNHDEXOODQGZDWFK
     WKHLUDFFRXQWJURZ

     %XWYHU\IHZFDQWDNHDKLWWUDGHWKHLUZD\RXWRILWDQGVWLOOFRPHRXWHYHQRUDKHDG

     7KDW¶VZKDWP\7RWDO$OSKDVWUDWHJ\LVDERXW

     Implementing tactful trading strategies to safely maneuver your way out of difficult times like
     today...

     And even MAKE money while you do it!

     /DVWZHHNLVDSHUIHFWH[DPSOH

     +HUHZDVP\DFFRXQWRQ7XHVGD\




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     :HKDGVRPHWRXJKEUHDNV
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7KH6 3ZDVGRZQWKH'2:ZDVGRZQDQGVRZDV,

%XW,GLGQ¶WUXQRUVXONRUJHWGRZQRQP\VHOI,GXJLQ

,NQRZWKDWP\PHPEHUVDUHQ¶WMXVWKHUHIRUWKHJODPRURXVZLQQHUV DOWKRXJKWKHUHDUHPDQ\ 
WKH\¶UHKHUHIRUWKHWRXJKVWXIIWKHJULWDQGJULQG

$QGJULQGLWRXWZHGLG

By Friday, I d brought the account back to even, and tacked on an additional $6,893.66 to
boot.




,ZDQWWRPDNHVRPHWKLQJH[WUHPHO\FOHDU

7KLVLV127HDV\,WWDNHVWLPHDQGGHGLFDWLRQDQGIRUVRPHRQHOLNHP\VHOIRYHU\HDUVRISDLQIXO
PLVWDNHVDQGOHDUQLQJDQGLPSURYLQJ

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7RWDO$OSKDFDQH[SHGLWH\RXUOHDUQLQJSURFHVVPRUHWKDQ\RX¶GHYHULPDJLQHGDQGLWFDQKHOSSURWHFW
\RXLQHYHQWKHGDUNHVWPDUNHWFRQGLWLRQV

Check it out here for a limited-time

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UHVHDUFKDQGGHFLVLRQVVKRXOGVHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\XQGHUVWDQGDQ\DQGDOOULVNVEHIRUHLQYHVWLQJ
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SRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWLYH¶VRZQDFFRXQW3DVWUHVXOWVDUHQRWLQGLFDWLYHRIIXWXUHSURILWV7KLVWDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHV
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  While markets were climbing .                        While markets were tanking...

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  Whether you are looking to protect your portfolio against further downside... or want
  to be the person who banks on the next market crash...the only way you ll be able to
  make it happen is by knowing the right strategies and when to apply them. I can teach
  you in a matter of minutes.

                                                           Watch Now
   

                                                 Recession on Deck?
  Aug. 13, 2019


  Hello trader,


  The market s fear index, the VIX, exploded on Monday, rising nearly 17% and closing at 21.07.
  Now, the more investors experience panic and fear-- the higher the VIX goes. And according to
  this sentiment indicator, yesterday was the sixth scariest close of the year.

  But do you know what else was alarming?

  Global bond yields are at the lowest levels in over 100 years. And yesterday, U.S. Treasury
  yields took another bath-- as the yield curve flattened to its lowest levels since 2007. The 30-
  year treasury bond yield is also nearing all-time lows.

  It s this type of action that has some economists believing we are on the brink of a recession.



                                      Do they have a reason to be concerned?
                                  Should you add protection to your portfolio?
                                    Is a buy-the-dip moment on the horizon?

  I ll answer those questions and more in a little bit.

  But before I do, I should say this: Don t worry about what you can t control and focus on
  what you can.

  If you learn the skills to make money when stocks are trading sideways, bearish, or bullish-- you
  don t panic-- you just adjust your strategy to fit that market condition.


  Click here to continue reading.

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To Your Profits!
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P.S. Whether the economy falls into a deep recession or this becomes the buying opportunity of
the year - you ll need to be armed with the right set of skills to put on positions that can profit in
this environment. Total Alpha is the set of skills you need. It s the only service I offer where you
can gain access to all my multi-million-dollar options strategies in one place.
                                                                                  Join Now




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  What if you had an options strategy for every market condition                      yes, even this one!

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                                                     Find Out More
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  Hello trader,


  Stocks are pointing to a lower open this morning, as ongoing concerns about the trade war
  between U.S. and China worry the market.

  We saw China weaken its currency for the third straight session to levels it hasn t seen since
  2008 - continuing its retaliation move from last week in an attempt to have a trade advantage
  over the U.S.

  With so many factors that could lead to another selloff, we need to look at the big picture view of
  the overall market. That means developing ideas in stocks, gold, bonds, silver, and the VIX.

  Knowing where the key levels are can help you uncover opportunities the last thing you want
  to happen is to find yourself in a long position when the charts are signaling a selloff and
  vice versa.

  Here s a look at the long-term view of USD/CNY (U.S. Dollar / Chinese Yuan) - the key level here
  is the blue horizontal line, just above 7.




  We ve already seen how much this affected the market last week, so I ll be monitoring the
  USD/CNY and looking for clues as to whether China will continue to set the midpoint price
  above 7. Not only that, I ll be monitoring the U.S. Dollar Index (DXY).

  The U.S. dollar has been relatively strong in comparison to other countries... and DXY is
  approaching a key psychological level at 100. If it gets there, we could see some more volatility
  in the overall markets.


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Moving on to stocks.

We re seeing the SPDR S&P 500 ETF (SPY) weaker this morning and set to gap down around the
$290 level - the blue horizontal line.




If SPY breaks and closes below $290      well, we could see it test the recent low right around
$282.

Last week, we saw what could happen if SPY broke below the blue line panic ensues and it
sparks a sell-off. With that being said, the next level of support after $282 is the 200-day simple
moving average (SMA) at $277 - the green line in the daily chart below.



However, another scenario would be the market pulling a fake-out at these levels just breaking
below $290 slightly causing the shorts to pile in... and just bouncing off that level and
continuing higher.
Moving on.
I ll also be watching the CBOE Volatility Index ($VIX) with the key levels in SPY.
There s been a lot of back and forth action in the $VIX last week one day it was up over 30%...
the next it was collapsing.


Right now, the 20 level is key and I ll be watching its recent high just under 25. When I m
watching the $VIX, I m also watching the volatility of volatility ($VVIX). Don t worry if it sounds
a little complicated, there are just some key levels you need to keep in mind.

When I m watching $VVIX, I keep an eye on the run-ups and the 120 level. Typically, when it
gets close to that level, it s considered an extreme point, and that s when we see quick pullbacks
in the $VIX, uncovering some trading opportunities for us.


For now, I m going to be watching $VIX, $VVIX and looking to options on VXX and UVXY if I see
a clear reason to play a volatility bet.


With all the potential volatility, concerns about economic growth and the U.S. - China trade
war the U.S. 10-Year Treasury Yield has been collapsing and it looks like it s quickly
approaching a key level at 1.5%.




With yields sliding, it s actually been benefiting asset classes like bonds, gold, and silver.




We ve seen the iShares 20+ Year Treasury Bond ETF (TLT) make all-time highs last week and
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break above the $140 level. This week, I m going to watch for clues as to where TLT could head.
My money pattern looks like it s forming, but I m going to remain patient with this one.

So what s next for TLT?

Well, we could see the money pattern flash a sell and a quick pullback in TLT after its massive
run-up. Another scenario could be traders panicking and looking for ways to protect their
portfolios so they bid up the prices of TLT causing it to run even further.

Right now, I m going to be watching the 13 and 30-hourly simple moving averages (SMAs)
before I place a bet in TLT.

Not only have we seen massive moves in yields and bond ETFs      we ve also seen precious metals
start to heat up.

We ve seen investors and traders pour into gold   causing it to break above $1,500 - a level it
hasn t seen in over 6 years.




So what can happen with gold?

Well, it could pull the whole fake out break out , where it stays above $1,500 for a short period
and just breaks back below and pulls back or it could just continue its surge.

Sure, it can go either way but there are some key levels to watch in the SPDR Gold Shares
(GLD) - the gold tracking exchange-traded fund (ETF).




In GLD, the $140 and $142.50 levels are going to be on many traders watchlists. If GLD breaks
below $140 we could see a quick pullback and potential gap fill. On the other hand, if GLD
breaks above $142.50, look for continued momentum in gold.

Right now, I m going to be relying on my money pattern for any clues as to which direction
gold can go.

We ve also seen silver prices run higher   and $15.75 and $16.15 are key levels to keep an eye
on in the iShares Silver Trust (SLV).




Those aren t the only commodity ETFs on the radar this week we re seeing some weakness in
oil this morning due to the U.S. - China trade war and concerns of an economic slowdown
leading to a cut in the outlook for oil demand.



The key levels to watch in U.S. West Texas Intermediate (WTI) crude oil will be $50 and $57.50
(the 200-day SMA). If OPEC decides to continue its production cuts into 2020 then we can see
a breach of the $50 level and see prices collapse.
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There s a lot going on this week                                but I m ready to make moves if I see clear signals.


To Your Profits!
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P.S. It looks like it will be another bumpy day for stocks. However, it doesn t have to be a
bumpy day for you. That is, when you know how to profit off crashing stocks. If you re unsure
how it all works, then watch this video I put together. It could potentially save you when market
volatility explodes.
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                                                        Weekly Windfalls?
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       Hello trader,

       The month of June saw stocks skyrocket

       Heck, it was the best-performing June the S&P 500 had seen since the 1950s!

       And you know what?

       If it wasn t for the Fed, and traders believing that it s going to cut rates, we probably
       wouldn t be sitting near all-time highs right now.

       However, Friday s nonfarm payroll numbers were better than any economist on the street
       predicted.

       They were expecting to see the U.S. job market add somewhere between 135K to 205K new
       jobs in June.

       But when the number was released, and it flashed 224K new jobs stocks started to sell-off
       hard.

       Why?

       Well, part of the reason why the Fed is considering a rate cut is that they see the global
       economy slowing down.

       However, if the job market is strong, maybe the economy isn t as bad as they thought.

       And that explains why we sold off yesterday.

       As for me, I ve been stock specific with my options trading

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                                 (Did you not get this alert? Then join Total Alpha now.)

And staying away from ETFs for now

But not staying away from paying myself:

                                                                                        




                                                                                        




    (Nothing wrong with taking off half of your position and then letting the rest ride, if you re a
                           Total Alpha client then you got this alert.)

With a little bit more than 3 weeks until the Fed decides what it s going to do with interest
rates, I ve already started devising a game plan that I think will make a lot of moolah.

But before that, it s time to go over this week s Jump, it s where I do a rundown of the most
important economic events, earnings, trades I m in, and stocks I m watching.

Click here to continue reading.


To YOUR Success!
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P.S. - Not that it needed any help, but my Bullseye Trade of the Week got a positive
mention in today s Barron's. My latest alert is coming this Monday, and it s coming in hot.

You ll be able to purchase the Bullseye Trade of the Week service soon, but if you want it for
free, along with the Options War Room then you ll have to act now to get my Total Alpha
Options bundle.



                                                                            Join Now




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)URP                                             !
6HQW      6DW-XQ
6XEMHFW   5H>0RUH+RXUV@:DQWWREHULFK"
7R        -HII%LVKRSMHII#ZHHNO\PRQH\PXOWLSOLHUFRP!

/PDRIXFN\RXVFDP,DLQ¶WSD\LQJ\RXVKLW


2Q)UL-XQDW30-HII%LVKRSMHII#ZHHNO\PRQH\PXOWLSOLHUFRP!ZURWH




     7KHVHDUHWKHODVWIHZPRPHQWVWRFKHFNRXWWKH7RWDO$OSKD5HSOD\

     <RXZDQWWRNQRZKRZ,¶PJRLQJWRKHOS\RXDQGZK\,¶PFRQILGHQW\RX¶OOMRLQ"

     +HUHLWLV

                                            +2:<28¶//%(68&&(66)8/




     ,¶PJRLQJWRPDNHWKLVVRXQEHOLHYDEO\HDV\IRU\RX

     ,ZDQW\RXWREHULFK

     ,IWKDWGRHVQ¶WKDSSHQ,¶YHIDLOHG«

     $QGOHWPHWHOO\RXVRPHWKLQJ,+$7()$,/85(

     <RX¶OOVHHKRZTXLFNO\,SURYHP\VHOIZKHQ\RXMRLQ



                                                            -HII%LVKRS
                                       $WWDFKPHQW3                            3;
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5DJLQJ%XOO//&
&DOHI+Z\/HH1+

&OLFN+HUHWRVWRSUHFHLYLQJHPDLOVIURPMHII#ZHHNO\PRQH\PXOWLSOLHUFRP
8QVXEVFULEHIURPDOO5DJLQJ%XOOHPDLOV




1HLWKHU-HII%LVKRSQRU5DJLQJ%XOOFRP//& SXEOLVKHURI:HHNO\0RQH\0XOWLSOLHU LVUHJLVWHUHGDVDQLQYHVWPHQWDGYLVHUQRUDEURNHUGHDOHUZLWKHLWKHUWKH866HFXULWLHV 
([FKDQJH&RPPLVVLRQRUDQ\VWDWHVHFXULWLHVUHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLVVROHO\IRULQIRUPDWLRQDOSXUSRVHVLV
QRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLVQRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUV
HPSOR\HHVDQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHGRQWKLVZHEVLWHEXWDOOVXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRU
WKHLURZQDFFRXQW7KHVHLQGLYLGXDOVGRQRWHQJDJHLQDQ\WUDGHVZLWKFXVWRPHUV7KHEX\LQJDQGVHOOLQJRIVHFXULWLHVE\WKHVHLQGLYLGXDOVLVQRWSDUWRIDUHJXODUEXVLQHVVRIEX\LQJDQG
VHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127LQGLFDWLYHRIIXWXUHUHVXOWV)XUWKHUPRUHVXFKLQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKHVROLFLWDWLRQRIDQRIIHUWREX\QRULV
LWWREHFRQVWUXHGDVDUHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRURWKHUZLVH DQ\VHFXULW\$OOXVHUVRIWKLVZHEVLWHPXVWGHWHUPLQHIRUWKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWRPDNHRU
QRWPDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUVUHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQW
UHVHDUFKDQGGHFLVLRQVVKRXOGVHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\XQGHUVWDQGDQ\DQGDOOULVNVEHIRUHLQYHVWLQJ
$OORSLQLRQVDQDO\VHVDQGLQIRUPDWLRQLQFOXGHGRQWKLVZHEVLWHDUHEDVHGRQVRXUFHVEHOLHYHGWREHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOGEHLQGHSHQGHQWO\YHULILHGDQGQR
UHSUHVHQWDWLRQRUZDUUDQW\RIDQ\NLQGH[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLPLWHGWRDQ\UHSUHVHQWDWLRQRUZDUUDQW\FRQFHUQLQJDFFXUDF\FRPSOHWHQHVVFRUUHFWQHVVWLPHOLQHVV
RUDSSURSULDWHQHVV,QDGGLWLRQZHXQGHUWDNHQRUHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQRUWRNHHSVXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQFXUUHQW$OVREHDZDUH
WKDWRZQHUVHPSOR\HHVDQGZULWHUVRIDQGIRU5DJLQJ%XOOFRP//&PD\KDYHORQJRUVKRUWSRVLWLRQVLQVHFXULWLHVWKDWPD\EHGLVFXVVHGRQWKLVZHEVLWHRUQHZVOHWWHUEXWDOOVXFK
SRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWLYH¶VRZQDFFRXQW3DVWUHVXOWVDUHQRWLQGLFDWLYHRIIXWXUHSURILWV7KLVWDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHV
UHSRUWHGDUHDFWXDOILJXUHVIURPWKHSRUWIROLRV-HII%LVKRSPDQDJHVRQEHKDOIRI5DJLQJ%XOOFRP//&

,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK:HHNO\0RQH\0XOWLSOLHU\RXZLOOQHHGWRJRWR\RXUVXEVFULSWLRQVOLVWLQVLGHWKH5DJLQJ%XOO'DVKERDUGLI\RXZDQWWRFDQFHO\RXU
VXEVFULSWLRQ2SWLQJRXWRIHPDLOVGRHVQRWUHPRYH\RXIURP\RXUVHUYLFHDW:HHNO\0RQH\0XOWLSOHUFRP




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)URP                                               !
6HQW      7KX-XQ
6XEMHFW   5H%LJ$QQRXQFHPHQW$IIHFWV$OO0HPEHUV
7R        -HII%LVKRS-HII#ZHHNO\PRQH\PXOWLSOLHUFRP!

,KHDUGIURPDQRQOLQHYLGHRWKDWDOOWKLVLQIRFDQEHIRXQGRQOLQHIRUIUHHDQG\RXMXVWORRNLQJWRVFDPSHRSOH,VWKLVWUXH"


6HQWIURPP\L3KRQH

2Q-XQDW$0-HII%LVKRS-HII#ZHHNO\PRQH\PXOWLSOLHUFRP!ZURWH




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                        )ULHQG

                        ,KDYHDQH[FLWLQJDQQRXQFHPHQW

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                        )LUVWP\HERRNQRZ7+,6%HFDXVH\RXUHJLVWHUHGWRUHFHLYHP\HERRN,DP
                        EXPSLQJ\RXWRWKHIURQWRIWKHOLQHIRUP\XSFRPLQJKLJKGHPDQGFREE
                        WUDLQLQJVHVVLRQ,OLNHWRUHZDUGOR\DOFXVWRPHUV

                        &OLFNKHUHWRVHFXUH\RXU9,3VSRWIRUP\WUDLQLQJVHVVLRQ 7DNH$GYDQWDJHRI
                        &UDVKLQJ6WRFNV:D\VWR0DNH%LJ0RQH\IURP%LJ/RVHUV

                        7KLVLVWKHILUVWWLPH,KDYHRIIHUHGWKHRSSRUWXQLW\WROHDUQIURPDQH[WHQVLYH
                        YLGHRSUHVHQWDWLRQcompletely free of charge.

                        0DQ\WUDGHUVRYHUORRNRSSRUWXQLWLHVWRVKRUWVWRFNV,W¶VGLIILFXOWIRUVRPHWR
                        XQGHUVWDQGKRZWKH\FRXOGSURILWZKHQDVWRFNPRYHVORZHU

                        %XWTXLWHKRQHVWO\WKLVLV P\absoluteIDYRULWHZD\WRSXOOSURILWVTXLFNO\IURP
                        WKHPDUNHW

                        ,I\RXWLPH\RXUWUDGHVULJKWDQGFRPPLWWKHULJKWDPRXQWRIFDSLWDO\RXFDQKLW
                        UHWXUQVOLNHWKHVHRQDUHJXODUEDVLV




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  ,SURILWHGIURPERWKRIWKHVHVWRFNVDVWKHLUSULFHIHOO

  ,QP\ZHELQDU,¶OOEUHDNGRZQWKHVHWUDGHVDQGVKRZ\RX(;$&7/<KRZ,
  SURILWHGZK\,FKRVHWKHVHVWRFNVDQGZKHUH,HQWHUHGDQGH[LWHG

  7KH\GRQ¶WFDOOP\VHUYLFHWKH:HHNO\0RQH\0XOWLSOLHU IRUQRWKLQJ

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  6LJQXSQRZDQGFRPHVHHIRU\RXUVHOI
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 ZĞĂůůǇ͘

 ,ĞƌĞ͛ƐŚŽǁǁĞĨŝǆŝƚ͗^ƚŽƉƚƌĞĂƚŝŶŐŵĞůŝŬĞĂƉĞƌƐŽŶƚŽĞǆƉůŽŝƚŝŶƚŚĞŝŶƚĞƌĞƐƚŽĨĞǆƚƌĂĐƚŝŶŐƚŚŽƵƐĂŶĚƐŽĨĚŽůůĂƌƐŽĨŵǇŚĂƌĚĞĂƌŶĞĚ
 ŵŽŶĞǇ͘dŚĂƚ͛ƐĂŶŝŶƐƵůƚƚŽŵĞĂŶĚŽďǀŝŽƵƐůǇǇŽƵŽĨĨĞŶĚ͘/ĐĂŵĞƚŽZƚŽůĞĂƌŶĂŶĚƚŚĂƚ͛ƐǁŚĂƚZŚĂƐůĞĚƉĞŽƉůĞƚŽďĞůŝĞǀĞƚŚĞǇĂƌĞ
 ŐĞƚƚŝŶŐ͘ZĂƐƐƵŵĞƐƚŚĞƉĞƌƐŽŶĂŽĨĂƉƌĞĚĂƚŽƌĂŶĚǇŽƵƐĞĞƉĞŽƉůĞůŝŬĞŵĞĂƐǇŽƵƌƉƌĞǇ͘dŚŝŶŬĂŐĂŝŶ͘DǇƉĞƌĐĞƉƚŝŽŶŝƐZŚĂƐ
 ĐŽŶŶĞĚŵĞŽƵƚŽĨΨΨĂŶĚĐŽŶƚŝŶƵĞƐƚŽǁĂŶƚŵŽƌĞ͘

 zŽƵĚŽƚŚŝŶŐƐůŝŬĞƐĞŶĚŝŶŐŵĞĂŶĞŵĂŝůƐƚĂƚŝŶŐ͚ǇŽƵŚĂǀĞĂĐƌĞĚŝƚŽŶǇŽƵƌĂĐĐŽƵŶƚ͕ďƵƚŝƚĞǆƉŝƌĞƐĂƚŵŝĚŶŝŐŚƚ͛͘ƌĞĚŝƚƐĚŽŶ͛ƚĞǆƉŝƌĞ͘
 ŶĚǁŚĂƚǁĂƐŝƚ͍ƉůŽǇƚŽƐĞůůŵĞDZD͘,ŽǁĚŽǇŽƵƚŚŝŶŬ/ĨĞĞůĂďŽƵƚƚŚĂƚ͍ŽǇŽƵƚŚŝŶŬDŽƌŶŝŶŐ^ƚĂƌŽƌDŽƚůĞǇ&ŽŽůŽƌŽƚŚĞƌƐ
 ǁŽƵůĚƌĞƐŽƌƚƚŽƐƵƌƌĞƉƚŝƚŝŽƵƐĂŶĚƐŶĞĂŬǇƚĂĐƚŝĐƐůŝŬĞƚŚŝƐ͍KƌǇŽƵŐĞƚŵĞŽŶĂǁĞďŝŶĂƌǁŚĞƌĞ/ƚŚŝŶŬ/ĂŵŐŽŝŶŐƚŽůĞĂƌŶƐŽŵĞƚŚŝŶŐ
 ƚŚĂƚƚƵƌŶƐŝŶƚŽĂƐĂůĞƐĞĨĨŽƌƚƚŽƐĞůůǇĞƚĂŶŽƚŚĞƌŵŝƌĂĐůĞƐƵďƐĐƌŝƉƚŝŽŶƚŚĞƌĞďǇǁĂƐƚŝŶŐŵǇƚŝŵĞ͘ZŚĂƐǁĂƐƚĞĚĂůŽƚŽĨŵǇƚŝŵĞďƵƚ
 ǇŽƵ͛ůůǁĂƐƚĞŶŽŵŽƌĞ͘zŽƵŬŶŽǁǁŚĂƚƚŚŝƐƐĂǇƐ͍/ƚƐĂǇƐZŚĂƐŶŽƌĞƐƉĞĐƚĨŽƌŵĞŽƌŵǇƚŝŵĞĂŶĚǇŽƵĂƌĞŚŽƉŝŶŐƚŽůƵƌĞŵĞǁŝƚŚƚŚĞ
 ƉƌŽŵŝƐĞŽĨĨŝŶĂŶĐŝĂůĨƌĞĞĚŽŵŝŶƚŽƚŽŐŝǀŝŶŐZŵŽƌĞŵŽŶĞǇ͘Z͛ƐďĞŚĂǀŝŽƌƚŚƵƐĨĂƌŚĂƐƉƌŽǀĞĚƚŽďĞĂĚŝƐĂƉƉŽŝŶƚŵĞŶƚĂŶĚŝĨǇŽƵ
 ĐƌƵŝƐĞƚŚĞǁĞďǇŽƵ͛ůůĨŝŶĚŵĂŶǇ͕ŵĂŶǇƉĞŽƉůĞǀŝĞǁZĂƐĂƐĐĂŵ͘ŶĚ/ĂŐƌĞĞ͘

 ^ŽƐŚŽƵůĚZĞǀĞƌĚĞĐŝĚĞƚŽďĞŚĂǀĞŚŽŶĞƐƚůǇ͕ǁŝƚŚĚŝŐŶŝƚǇĂŶĚĐƌĞĚŝďŝůŝƚǇ͕ĂŶĚƚĂŬĞĂƚƌƵĞŝŶƚĞƌĞƐƚŝŶƚŚĞŝƌĐůŝĞŶƚƐ͕ŐŝǀŝŶŐƚŚĞŵǁŚĂƚ
 ƚŚĞǇƉĂŝĚĨŽƌ͕ǇŽƵ͛ůůĨŝŶĚŵǇƌĞƐƉŽŶƐĞƐǁŝůůĐŚĂŶŐĞ͘

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 /ŚĂǀĞďĞĞŶĚĞĂůŝŶŐǁŝƚŚƉĞŽƉůĞĂŶĚďƵƐŝŶĞƐƐĞƐͬĐŽƌƉŽƌĂƚŝŽŶƐĨŽƌĂǀĞƌǇůŽŶŐƚŝŵĞ͘dŚĞƐŝŵƉůĞĨĂĐƚƚŚĂƚǇŽƵĐŽŵƉůĂŝŶĂďŽƵƚŵǇ
 ƌĞƐƉŽŶƐĞŝŶƐƚĞĂĚŽĨŝŶƋƵŝƌŝŶŐĂƐƚŽǁŚǇ/ĨĞĞůĂƐ/ĚŽŝƐƉƌŽŽĨƚŚĂƚƚŽZ/ĂŵŝŶƐŝŐŶŝĨŝĐĂŶƚ͘EŽƚŚŝŶŐŵŽƌĞƚŚĂŶĂƉŽƚĞŶƚŝĂůƐŽƵƌĐĞŽĨ
 ŝŶĐŽŵĞ͘tĂŬĞƵƉ͙

 DǇŽďƐĞƌǀĂƚŝŽŶƐĂƌĞŶŽƚŝŶĞƌƌ͙

 From: Austin (WeeklyMoneyMultiplier) [mailto:jeff@weeklymoneymultiplier.com]
 Sent: Wednesday, June 05, 2019 7:49 AM
 To:
         [WeeklyMoneyMultiplier] Re: Re: ᓀREMINDER ᓀFREE training starts in 1 hour
 
 ##- Please type your reply above this line -##
 Your request (539302) has been solved. To reopen this request, reply to this email. See the latest comments below:



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             -HIIWDXJKW-DVRQ




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             Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 210 of 441
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3DJH#VHFWLRQ+HDGLQJ#WLS6HWWKHVW\OLQJIRUDOOWKLUGOHYHOKHDGLQJVLQ\RXUHPDLOV#VW\OHKHDGLQJ K^
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WRSS[SDGGLQJERWWRP` #WDE+HDGHU#VHFWLRQ+HDGHU7H[W#WLS6HWWKHVW\OLQJIRU\RXUHPDLO VKHDGHUWH[W
&KRRVHDVL]HDQGFRORUWKDWLVHDV\WRUHDG WHPSODWH+HDGHUPFQ7H[W&RQWHQWWHPSODWH+HDGHU
PFQ7H[W&RQWHQWS^FRORUIRQWIDPLO\+HOYHWLFDIRQWVL]HS[OLQHKHLJKWWH[WDOLJQOHIW` #WDE
+HDGHU#VHFWLRQ+HDGHU/LQN#WLS6HWWKHVW\OLQJIRU\RXUHPDLO VKHDGHUOLQNV&KRRVHDFRORUWKDWKHOSVWKHP
VWDQGRXWIURP\RXUWH[W WHPSODWH+HDGHUPFQ7H[W&RQWHQWDWHPSODWH+HDGHUPFQ7H[W&RQWHQWSD^
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            Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 211 of 441
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GHFRUDWLRQXQGHUOLQH` #WDE)RRWHU#VHFWLRQ)RRWHU6W\OH#WLS6HWWKHEDFNJURXQGFRORUDQGERUGHUVIRU\RXU
HPDLO VIRRWHUDUHD WHPSODWH)RRWHU^EDFNJURXQGFRORUIIIEDFNJURXQGLPDJHQRQHEDFNJURXQGUHSHDWQR
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&KRRVHDVL]HDQGFRORUWKDWLVHDV\WRUHDG WHPSODWH)RRWHUPFQ7H[W&RQWHQWWHPSODWH)RRWHU
PFQ7H[W&RQWHQWS^FRORUIRQWIDPLO\+HOYHWLFDIRQWVL]HS[OLQHKHLJKWWH[WDOLJQFHQWHU`
 #WDE)RRWHU#VHFWLRQ)RRWHU/LQN#WLS6HWWKHVW\OLQJIRU\RXUHPDLO VIRRWHUOLQNV&KRRVHDFRORUWKDWKHOSVWKHP
VWDQGRXWIURP\RXUWH[W WHPSODWH)RRWHUPFQ7H[W&RQWHQWDWHPSODWH)RRWHUPFQ7H[W&RQWHQWSD^
FRORUIRQWZHLJKWQRUPDOWH[WGHFRUDWLRQXQGHUOLQH`#PHGLDRQO\VFUHHQDQG PLQZLGWKS[ ^
WHPSODWH&RQWDLQHU^ZLGWKS[LPSRUWDQW``#PHGLDRQO\VFUHHQDQG PD[ZLGWKS[ ^
ERG\WDEOHWGSDOLEORFNTXRWH^ZHENLWWH[WVL]HDGMXVWQRQHLPSRUWDQW``#PHGLDRQO\VFUHHQDQG PD[
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PFQ&DUW&RQWDLQHUPFQ&DSWLRQ7RS&RQWHQWPFQ5HF&RQWHQW&RQWDLQHUPFQ&DSWLRQ%RWWRP&RQWHQWPFQ7H[W&RQWH
QW&RQWDLQHUPFQ%R[HG7H[W&RQWHQW&RQWDLQHUPFQ,PDJH*URXS&RQWHQW&RQWDLQHUPFQ&DSWLRQ/HIW7H[W&RQWHQW&RQW
DLQHUPFQ&DSWLRQ5LJKW7H[W&RQWHQW&RQWDLQHUPFQ&DSWLRQ/HIW,PDJH&RQWHQW&RQWDLQHUPFQ&DSWLRQ5LJKW,PDJH&RQ
WHQW&RQWDLQHUPFQ,PDJH&DUG/HIW7H[W&RQWHQW&RQWDLQHUPFQ,PDJH&DUG5LJKW7H[W&RQWHQW&RQWDLQHUPFQ,PDJH&DU
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PFQ&DSWLRQ/HIW&RQWHQW2XWHUPFQ7H[W&RQWHQWPFQ&DSWLRQ5LJKW&RQWHQW2XWHUPFQ7H[W&RQWHQW^SDGGLQJ
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PFQ,PDJH&DUG7RS,PDJH&RQWHQWPFQ&DSWLRQ%RWWRP&RQWHQWODVWFKLOG
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SDGGLQJULJKWS[LPSRUWDQWSDGGLQJOHIWS[LPSRUWDQW``#PHGLDRQO\VFUHHQDQG PD[ZLGWKS[ ^
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                         Hi Jeff,

                     Just made my first 100% winner....EVER! I'm very new to options so learning
                     as fast as I can. Earned a little over $5,000 on QQQ today (100%). I think it
                     could have been a 200% Winner if I would have held longer, I was just so
                     excited to be up so much and in case there was a big quick retrace on today s
                     gap down, didn't want to risk it. Should have taken half off at 100% like you
                     recommend. Need to work on patience. - David Cook

                         Dear Jeff,

                     Thanks for your IQ call. Closed one trade already up over 100% !! Opened
                     another one today and climbing. Taking your option courses day-by-day and
                     learning fast but taking the trades slow. - Warren Lobb

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     Kigen - I m not sure if you caught this video yesterday, but I had to get it to you first
     thing this morning, so you can check out my top 4 trade ideas.
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                               Jeff and Team,

                               You guys are fantastic! Just sold 1/2 of my GS Oct 230 calls with a
                               nice $2600 profit and let the other half ride. Keep up the good work! I
                               love the Weekly Money Multiplier!

                               -Thomas B.

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           Want some free market insight? Here are the 4 trades I am currently in, or looking to
                                         get into tomorrow.
      ,I\RXPLVVHGWKHWUDLQLQJZHGLGHDUOLHUWRGD\LQWKH:HHNO\0RQH\0XOWLSOLHUURRP,KDGWRPDNHVXUH\RXJRW
      WKHVHIUHHWUDGHLGHDV

      &OLFNKHUHWRZDWFKWKLVPLQXWHYLGHRZKHUH,H[SODLQWKHVWRFNV,¶PORRNLQJDWULJKWQRZ




      ,GHWDLOVRPHRIP\HQWU\DQGH[LWSRLQWVDVZHOODVP\JRDOVIRUHDFKRIWKHVHIRXUWUDGHV

      ,I\RXWDNHDQ\RIWKHVHWUDGHV+,7³5(3/<´WRWKLVHPDLODQGOHWPHNQRZ

      ,ZDQWWRKHDUKRZWKH\SDQRXWIRU\RX

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      ORRNLQJIRUVRPHIUHVKLGHDV

      ,I\RXMRLQ:HHNO\0RQH\0XOWLSOLHU\RX¶OOUHFHLYHLGHDVOLNHWKLVHYHU\GD\IURPPLOOLRQDLUHWUDGHUVGHOLYHUHG
      GLUHFWO\WR\RXULQER[

      7DNH$GYDQWDJHRI7KH/RZHVW5DWH,2IIHU7RGD\
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1HLWKHU-HII%LVKRSQRU5DJLQJ%XOOFRP//& SXEOLVKHURI:HHNO\0RQH\0XOWLSOLHU LVUHJLVWHUHGDVDQLQYHVWPHQWDGYLVHUQRUDEURNHUGHDOHUZLWKHLWKHUWKH866HFXULWLHV 
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QRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLVQRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUV
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<HVWKLVVRXQGVOLNHDJUHDWRSSRUWXQLW\WRVFDPSHRSOHIRUPRQH\SUDLVHWKHORUGZHQHHGPRUHGHYLOVOLNH\RXLQWKHZRUOG
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                      \RX

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                      /HDYHEHKLQGWKHFRPSOLFDWHGFKDUWSDWWHUQVLQWHQVHWHFKQLFDODQDO\VLV«,
                      GRQ¶WFDUHZKDWQHZIDQF\WHFKQLTXHWUDGHUVDUHSUHDFKLQJDERXW

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                  How a 3% Move In Stock Price Resulted in a 103% REAL MONEY Profit

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                          Nathan Bear: Tues 4/2 @ 1pm EST
                       Jeff Bishop: Wednesday 4/10 @ 1pm EST
                      Nathan Bear: Wednesday 4/24 @ 8pm EST.
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                                          First trade with your service. QQQ calls +119%!!

                               I am up $8,000 since joining your service a little over a week ago!

                       Just made my first 100% winner....EVER! I'm very new to options so learning
                                                  as fast as I can.

                              Thanks for your IQ call. Closed one trade already up over %100 !!

                                   Just hit those VXX calls for $7700, took about 45 minutes.

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                    ZLWKRXWOLPLWV
                    ,¶YHWULHGWRPDNHWKLVFOHDUEXW,QRZ,¶PFDOOLQJRQ\RX
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                    6RWKLVSDVWZHHN,VODVKHGLWDQGJDYH\RXWKHRSSRUWXQLW\IRUWZRIXOO\HDUV
                    DWWKHSULFHRI-XVWDIUHHERQXV\HDUIRU\RX
                    7KHQ,DGGHG1DWKDQ%HDUWRWKHVHUYLFH+H¶VSKHQRPHQDODQGUDWKHUWKDQ
                    FKDUJLQJH[WUDIRUKLP,WKUHZKLPLQIRUIUHH>8UJHQW7KLV:LOO1RW%H
                    2IIHUHG)UHH0RYLQJ)RUZDUG@
                                                   $WWDFKPHQW3                              3;
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 ,SURFHHGHGWRDGGPXOWLSOH/,9(WUDLQLQJVHVVLRQVWRWKHVFKHGXOHIRU
 PHPEHUV7KH\ZLOOEHUHFRUGHGDQGFDQDOZD\VEHUHYLHZHG
                          Nathan Bear: Tues 4/2 @ 1pm EST
                       Jeff Bishop: Wednesday 4/10 @ 1pm EST
                      Nathan Bear: Wednesday 4/24 @ 8pm EST.
       ,WKHQZDQWHGWRDVVXUH\RXWKLVVHUYLFHZLOOGHOLYHUVR,PDGHD
   JXDUDQWHHRIZLQQLQJWUDGHVEHWZHHQERWKRIXVRYHUWKHQH[W
 \HDU,IZHGRQ¶WKLWWKDW\RXJHWXSJUDGHGWRDOLIHWLPHPHPEHUVKLSDWQR
                                       H[WUDFRVW
 ,¶YHVZHHWHQHGWKLVGHDOEHFDXVH,NQRZKRZEHQHILFLDOLWFDQEHIRU\RX
 ,I\RX¶UHVWLOORQWKHIHQFH,¶PUHDOO\QRWVXUHZK\EXW,ZDQWWRILQGRXW
      5HSO\WRWKLVHPDLO:KDW¶VSUHYHQWLQJ\RXIURPMRLQLQJ"
 /HW¶VVHHZKDWPRUH,FDQGRIRU\RX

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                   How a 3% Move In Stock Price Resulted in a 103% REAL MONEY Profit

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                   EXV\OLYHV,ZDQW\RXWRZDWFKDOORILWEXW\RXNQRZZKDW"
                   6FUHZLW6NLSRILW7KLVLVZKDW\RXQHHGWRVHH 6XPPHGXSLQPLQXWHV
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though not every trade is represented. Profits and losses reported are actual figures from the portfolios
Weekly Money Multiplier manages on behalf of RagingBull.com, LLC.


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62 Calef Hwy #233 Lee, New Hampshire 03861 United States




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       )URP               
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       ELJJHVWVFDPRQXWXEH

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       YHUWLFDODOLJQWRSERUGHUFROODSVHFROODSVH`
       \LY ^
       OLQHKHLJKWLQKHULW`
       \LYDILOWHUHG^
       FRORULQKHULWLPSRUWDQWWH[WGHFRUDWLRQQRQHLPSRUWDQW`
       \LY\LYLHEURZVHUWDEOH^
       WDEOHOD\RXWIL[HG`
       \LYILOWHUHG\LYLPJFRQWDLQHU
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       EXWWRQ^
       GLVSOD\EORFNLPSRUWDQW`
       \LYILOWHUHG\LYIXOOZLGWK
       EXWWRQ^
       ZLGWKLPSRUWDQW`
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       \LYFRO^
       GLVSOD\WDEOHFHOOIORDWQRQH
       LPSRUWDQWYHUWLFDODOLJQWRS`
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       \LYPL[HGWZRXS\LYQXP
       \LYILOWHUHG\LYPL[HGWZRXS
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        \LYILOWHUHG\LYPL[HGWZRXS
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        \LYEORFNJULG\LYWZRXS
        \LYFRO
        \LYILOWHUHG
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        \LYFRO
        \LYILOWHUHG
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        \LYFRO^
        ZLGWKS[LPSRUWDQW`
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        \LYFROILOWHUHG
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        \LYFROILOWHUHG
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        \LYFRO
        \LYILOWHUHG
        \LYEORFNJULG\LYHLJKWXS
        \LYFRO^
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        \LY\LYLHEURZVHU
        \LYEORFNJULG\LYQLQHXS
        \LYFRO
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        \LYEORFNJULG\LYQLQHXS
        \LYFRO^
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         \LY\LYLHEURZVHU
         \LYEORFNJULG\LYWHQXS
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         \LYFRO
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         \LYFRO
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         #PHGLDVFUHHQDQG PLQZLGWKS[ ^
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         ZLGWKS[LPSRUWDQW`
         \LY\LYEORFNJULG\LYWZRXS
         \LYFRO^
         ZLGWKS[LPSRUWDQW`
         \LY
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         \LYFRO^
         ZLGWKS[LPSRUWDQW`
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   \LY\LYEORFNJULG\LYILYHXS
   \LYFRO^
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   ZLGWKS[LPSRUWDQW`
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   \LYFRO^
   ZLGWKS[LPSRUWDQW`
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   \LYFRO^
   ZLGWKS[LPSRUWDQW`
   \LY\LYEORFNJULG\LYQLQHXS
   \LYFRO^
   ZLGWKS[LPSRUWDQW`
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   \LYFRO^
   ZLGWKS[LPSRUWDQW`
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   \LYFRO^
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   #PHGLD PD[ZLGWKS[ ^
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   PLQZLGWKS[LPSRUWDQWPD[ZLGWKLPSRUWDQWGLVSOD\EORFNLPSRUWDQW`
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   ZLGWKLPSRUWDQW`
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   PDUJLQDXWR`
   \LYLPJ\LYIXOOZLGWK
   \LYLPJ\LYIXOOZLGWK2Q0RELOH^
   PD[ZLGWKLPSRUWDQW`
   \LY\LYQRVWDFN\LYFRO^
   PLQZLGWKLPSRUWDQWGLVSOD\WDEOHFHOOLPSRUWDQW`
   \LY\LYQRVWDFN\LYWZRXS
   \LYFRO^
   ZLGWKLPSRUWDQW`
   \LY\LYQRVWDFN
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   ZLGWKLPSRUWDQW`
   \LY\LYQRVWDFN
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   ZLGWKLPSRUWDQW`
   \LY\LYQRVWDFN
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\LYFRO\LYQXP^
ZLGWKLPSRUWDQW`
\LY\LYQRVWDFN
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ZLGWKLPSRUWDQW`
\LY\LYPRELOHBKLGH^
PLQKHLJKWS[PD[KHLJKWS[PD[ZLGWKS[GLVSOD\QRQHRYHUIORZKLGGHQIRQWVL]HS[`
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#PHGLD PD[ZLGWKS[ ^
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\LY\LYGLY^
PDUJLQDXWR`
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PD[ZLGWKLPSRUWDQWPLQKHLJKWDXWRLPSRUWDQW`
\LY\LYQRVWDFN\LYFRO^
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\LY\LYQRVWDFN\LYWZRXS
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           DOOWLPHKLJKV$PD]LQJZKHQ\RXFRQVLGHUZDVWKH
           ZRUVW\HDUIRUVWRFNVLQRYHUDGHFDGH
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           1RZ,
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           EHFDXVHLWKHOSVPHJDXJHPDUNHWVHQWLPHQW
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           VWD\LQJGDWDGHSHQGHQW\RX¶UHDEOHWRUHGXFHWKHHPRWLRQV
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           JRWIXUWKHUFRQILUPDWLRQRIWKDWWKLVZHHNZKHQLWUHOHDVHG
           LWV)20&0LQXWHV DWUDQVFULSWRILWVFORVHGGRRUPHHWLQJRQ
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           DEURNHUGHDOHUZLWKHLWKHUWKH866HFXULWLHV
           ([FKDQJH&RPPLVVLRQRUDQ\VWDWHVHFXULWLHVUHJXODWRU\
           DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOO
           LQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLVVROHO\IRU
           LQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVD
           SHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLVQRWDWWXQHG
           WRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODU
           LQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUVHPSOR\HHVDQG
           ZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJ
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           WKHVHLQGLYLGXDOVLVQRWSDUWRIDUHJXODUEXVLQHVVRI
           EX\LQJDQGVHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127
           LQGLFDWLYHRIIXWXUHUHVXOWV)XUWKHUPRUHVXFKLQIRUPDWLRQ
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           LQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\
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           FRQFHUQLQJDFFXUDF\FRPSOHWHQHVVFRUUHFWQHVVWLPHOLQHVV
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           UHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRU
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ǁŚĂƚƚŚĞǇĂƌĞĚŽŝŶŐ͕ĚŝĚǇŽƵƐĞĞŚŝƐĐĂůůƐŽŶ͍ŽŶĞŽĨƚŚĞǁŽƌƐƚƚƌĂĚĞƐ/ΖǀĞƐĞĞŶǁŝƚŚĂůůƚŚĞĚŝǀĞƌŐĞŶĐĞƐŽŶƚŚĞĐŚĂƌƚĂŶĚ
ĂĨƚĞƌĂŚƵŐĞŐĂƉƵƉ͕ƚŚĞƚƌĂĚĞƐŚŽƵůĚΖǀĞďĞĞŶƚŽďƵǇƉƵƚƐ͕ƚŚŝƐŝƐũƵƐƚŽŶĞŽĨƚŚĞŵĂŶǇƚƌĂĚĞƐŚĞŚĂƐďĞĞŶĚĞĂĚůǇǁƌŽŶŐ͕
ǁĂƚĐŚŝŶŐƚŚĞƐĞŐƵǇƐƚƌĂĚĞƐǁŽƵůĚŵĂŬĞŶŽĚŝĨĨĞƌĞŶĐĞ͕ƚŚĞǇĂƌĞǁƌŽŶŐ͕͊ƚŚŝƐƐĞůĨƉƌŽĐůĂŝŵĞĚΗŽŶĞŽĨƚŚĞďĞƐƚŽƉƚŝŽŶ
ƚƌĂĚĞƌƐŝŶƚŚĞǁŽƌůĚΗŝƐĂ^D͕ƚŚĞǇŶĞǀĞƌĂĚǀĞƌƚŝƐĞƚŚŝƐƉƌŽŐƌĂŵĂƐĂũŽŝŶŽƵƌƚƌĂĚŝŶŐŐƌŽƵƉƚŽǁĂƚĐŚƵƐƚƌĂĚĞ͕ŽƚŚĞƌǁŝƐĞ
ƐĞŶĚŵĞƚŚĞŵĂƌŬĞƚŝŶŐŵĂƚĞƌŝĂůƚŽƐĞĞŝƚ͕/ǁŝůůƐƚĂƌƚǁĂƌŶŝŶŐƉĞŽƉůĞŽŶǇŽƵƚƵďĞƚŽŶŽƚĨĂůůĨŽƌƚŚŝƐƐĐĂŵ͕ŚŝƐƉŽŽƌ
ƉĞƌĨŽƌŵĂŶĐĞƐƉĞĂŬƐĨŽƌŝƚƐĞůĨ͘



&ƌŽŵ͗DŝĐŚĂĞů;tĞĞŬůǇDŽŶĞǇDƵůƚŝƉůŝĞƌͿфũĞĨĨΛǁĞĞŬůǇŵŽŶĞǇŵƵůƚŝƉůŝĞƌ͘ĐŽŵх
^ĞŶƚ͗&ƌŝĚĂǇ͕&ĞďƌƵĂƌǇϮϮ͕ϮϬϭϵϮ͗ϬϰWD
dŽ͗
^ƵďũĞĐƚ͗΀tĞĞŬůǇDŽŶĞǇDƵůƚŝƉůŝĞƌ΁ZĞ͗ZĞ͗^ƚŽĐŬƐĂƌĞƵƉĂŐĂŝŶΘhƉĚĂƚĞŽŶĐŽǀĞƌĞĚĐĂůůƚƌĂĚĞ

    3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

    <RXUUHTXHVW  KDVEHHQVROYHG7RUHRSHQWKLVUHTXHVWUHSO\WRWKLVHPDLO6HHWKHODWHVWFRPPHQWVEHORZ




         0LFKDHO :HHNO\0RQH\0XOWLSOLHU

         )HE30(67




         :KLOHLWPD\EHHDV\WRPLUURUXVRXUVHUYLFHZLOOQHYHUWHOO\RXWREX\RUVHOODSDUWLFXODUVWRFN¬2XUWUDGHUV
         DOHUWRXUPHPEHUVWRWKHDFWXDOWUDGHVWKH\DUHPDNLQJLQDVQHDUUHDOWLPHDVSRVVLEOHFRQVLGHULQJLWWDNHVD
         IHZPLQXWHVWRVHQGRXWHPDLOVWRWKRXVDQGVRISHRSOH¬7KHSXUSRVHRIRXUVHUYLFHLVWRZDWFKRXU
         SURIHVVLRQDOWUDGHUVH[HFXWHUHDOPRQH\WUDGHVGXULQJWKHZHHNDQGOHDUQIURPWKHPLQGRLQJVR¬


         3OHDVXUH


         0LFKDHO




         )HE30(67

         7KHUHDVRQLVEHFDXVHKLVDOHUWVDUHWHUULEOHP\RWKHUDOHUWVHUYLFHLVFRUUHFWVRIDUWKLV\HDUWKLVLVDEX\HU
         EHZDUHWUDGHU, PJODG,VWRSIROORZLQJKLVWUDGLQJDOHUWVRWKHUZLVHP\DFFRXQWZRXOG YHEHHQZLSHRXW,MXVW
                                                              $WWDFKPHQW3                                        3;
             Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 285 of 441
   ZDQWDUHIXQGQRVHUYLFHVIURPWKLVFRPSDQ\DUHDFFHSWDEOHSHUIRUPDQFHVSHDNVIRULWVHOI,GRQ WZDQWWR
   VWDUWOHDYLQJEDGUHYLHZVRQ\RXWXEHRURWKHUSDJHV

   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   0LFKDHO :HHNO\0RQH\0XOWLSOLHU

   )HE$0(67

   +HOOR        


   , PVRUU\WRKHDU\RXDUHQ WHQMR\LQJRXUVHUYLFHV,VWKHUHDUHDVRQZK\":HGRKDYHDQRUHIXQGSROLF\EXW, G
   EHPRUHWKDQKDSS\WRWUDQVIHU\RXLQWRDQRWKHURQHRIRXUVHUYLFHVDWQRDGGLWLRQDOFRVW


   3OHDVXUH


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)HE$0(67

,VLJQHGXSIRU\RXUDODUPVHUYLFHVODVW'HFHPEHUDQG, PVRUU\WRWHOO\RXEXW\RXUSHUIRUPDQFHLVWHUULEOH6KRXOG
UHLPEXUVHGPHKDOIRIP\PRQH\LIQRWDOORILW

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
)URP-HII%LVKRSMHII#ZHHNO\PRQH\PXOWLSOLHUFRP!
6HQW)ULGD\)HEUXDU\$0
7R
6XEMHFW6WRFNVDUHXSDJDLQ 8SGDWHRQFRYHUHGFDOOWUDGH

>KWWSVFGQUDJLQJEXOOFRPPHGLDKR==6'S/Y9;T%UY-=K[WI-&)=&LG;MSHJ@KWWSVHXUV
DIHOLQNVSURWHFWLRQRXWORRNFRP"XUO KWWSV$))XFWVHQGJULGQHW)ZI)FOLFN)XSQ'.DY7D
%%6&QN';2*,2V<*,F0X9E2&J3+
%<H;/<Y/;XK)K5W\;D'SHB:3&%/*9Y7SY=:;15VSOFI4%*INJKD'L<(RRH*9(SD/*01TI[30D946V=LE
$.VW%ZPR3HZ(,1GWE,<R[][KNH*.TI/:<ZUU+7L;)P,P'D]9F
%/9%[\K;GU<57W]Z00ZTRH0&+[0QT[K9,1[TQ'29R4JD<5']'V.]RFF\T7%)-L;);]KOIFXSJ1:6W'$U
ZI!

:KHQPDUNHWVDUHLQGHFLVLYHOLNHWKHUHDUHULJKWQRZWKHWUHQGZLOODOZD\VEHWKHSDWKRIOHDVWUHVLVWDQFHDQG
ULJKWQRZWKDWLV83
                                              $WWDFKPHQW3                               3;
                Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 286 of 441
$VORQJDV9,;VWD\VXQGHU LW VQRZ ,VHHQRUHDVRQZK\WKHPDUNHWVZRQ WNHHSFOLPELQJVORZO\KLJKHU,
WKLQNLWFRXOGEHDSDLQIXOULGHIRUVWXEERUQVKRUWVXQWLOWKHWUHQGFOHDUO\FKDQJHV

3HUVRQDOO\,ZLOOEHJRLQJDIWHUWKHEHWWHUVWRFNV,OLNHDQGZDLWLQJIRUWKHFKDUWVHWXSVWRFRQILUPP\ORQJHQWU\LQWR
FDOOV0\IDYRULWHVULJKWQRZDUH:<117:757:/2',6*58%64DPRQJRWKHUV

5HPHPEHUWKHFRYHUHGFDOOWUDGH,PDGHRQ77'RQ:HGQHVGD\",ZDQWHGWRXSGDWH\RXRQWKDWWRUHLQIRUFHWKH
OHVVRQWKHUH

77'WUDGHGKLJKHURQHDUQLQJVODVWQLJKWZKLFK,H[SHFWHG$QGWKHPDUNHWZDVULJKWLWWUDGHGDERXWKLJKHU
ZKLFKLVDPD]LQJWRVHH,SHUVRQDOO\GLGQ WWKLQNLWZRXOGJRWKDWKLJKEXW,DPVWLOOJRLQJWRPDNHDSURILWRQWKH
WUDGHDV\RXFDQVHHEHORZ

7KHWRSWUDGH WKLVLVDOOIURPP\L3KRQHWKLVPRUQLQJ LVWKH672&.,ERXJKWRQ77'7KDWLVXS

7KHERWWRPWUDGHDUHWKH&$//237,216,VROGVKRUWDJDLQVWWKHVWRFN7KHRSWLRQVDUHQRWRSHQ\HWEXWUHPHPEHU
,VROGFRQWUDFWVVKRUWDWVWULNHSULFHIRUVRP\EUHDNHYHQRQWKDWWUDGHLV

:LWKWKHVWRFNDWWKLVPRUQLQJP\ORVVLV ,DPVKRUWFRQWUDFWVVRWKDWLVDQXJO\
ORVV

7KDW VRNZLWKPHWKRXJK7KDWLVZK\,ERXJKWWKHVWRFNLQWKHILUVWSODFH7KHSURILWZLOOHDVLO\FRYHUWKDW
ORVVDQG,VKRXOGZDONDZD\ZLWKDERXW1RWEDGIRUPLQXWHVRIZRUNGD\VDJR

<RXFDQVHHWKHWUDGHLQWKHDFFRXQWLQSUHPDUNHWKHUH1RWHWKDWWKHVWRFNLVRSHQIRUWUDGLQJEXWWKHRSWLRQV
GRQ WRSHQXQWLODPZKHQWKHPDUNHWRSHQVVR\RXFDQ WVHHWKHORVVULJKWQRZ

>KWWSVFGQUDJLQJEXOOFRPPHGLD**L)*H]1VP-Q.;;N-1US'7E*22[J(JEQJ/;1W.MSHJ@

2QWRRWKHUWUDGHV

,VROGWKH7/7FDOOV\HVWHUGD\IRUDVPDOOORVV5HPHPEHU,1(9(5/(7$237,21*2)520$352),772$
/266,ILWJHWVFORVHWREUHDNHYHQ,DPVHOOLQJLW

,ORFNHGLQKDOIRIWKLVWUDGHDIHZGD\VDJRIRUDSURILWDOVRUHPHPEHUWKDW%\GRLQJWKDWLWHQDEOHGPHWR
ORFNLQDZLQRQWKLVWUDGHRYHUDOO

,VWDUWHGDQHZWUDGHRQWKH7/70DU&DOO#\HVWHUGD\7KLVLVWKHVDPHH[SLUDWLRQEXWORZHURQ
VWULNHSULFH,DPYHU\VPDOORQWKLVRQHDQGSODQWRDGGWRLW

$V,H[SHFWHGWKH76/$EDGQHZVNHHSVSLOLQJXSDQGILQDOO\WKHVWRFNVWDUWHGWREUHDN\HVWHUGD\0\76/$SXWVDUH
XSDERXWRYHUDOOHYHQWKRXJK,DGGHGWRWKHSRVLWLRQDWDKLJKHUSULFHWKDQP\LQLWLDOHQWU\7KLVLVZRUNLQJ
QLFHO\VRIDUDQG,SODQWRKROGWKHPDZKLOHORQJHU,ZLOOWDNHKDOIRIWKDWWUDGHRIIWKHWDEOHWRGD\WRORFNLQDZLQ
RQLW,GRQ WWUXVWVWRFNVWRJRGRZQLQDVWUDLJKWOLQHIRUWRRORQJLQWKLVPDUNHWVREHWWHUWRWDNHWKHIDVWPRQH\

,DPVWLOOKROGLQJWKH81*FDOOVWRR3UHWW\ERULQJWUDGHKHUHEXWLWLVLQWKHJUHHQDQG,FRQWLQXHWRJRZLWKWKH
WUHQGKHUH,WKLQNSUHVVXUHPLJKWEHEXLOGLQJDQGZHFRXOGVHHDEUHDNRXWFRPLQJLQWKHQH[WZHHN)LQJHUV
FURVVHG

0\$$3/VWUDQJOHWUDGHZLOOH[SLUHZRUWKOHVVDJDLQWKLVZHHNDQG,ZLOOFROOHFWRIWKHSUHPLXP,VROGLWIRU
7KDWLVDERXWPRUHLQP\SRFNHWJRLQJLQWRWKHZHHNHQG
                                                  $WWDFKPHQW3                              3;
              Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 287 of 441
,JHWDORWRITXHVWLRQVRQWKHVHVKRUWVHOOLQJWUDGHVVR,ZDQWWRSRLQWRXWKRZLWZRUNVKHUHLQWKHVFUHHQVKRW
EHORZ

<RXFDQVHH,62/'6+257WKHFDOOVDQGWKHSXWVERWKRXWRIWKHPRQH\7KDWLVFDOOHGDVKRUWVWUDQJOHWUDGH,DP
EHWWLQJWKDW$$3/ZLOOVWD\EHWZHHQWKHVWULNHSULFHRIWKHSXWDQGWKHFDOOVXQWLOH[SLUDWLRQ ZKLFKLVWRGD\ 

6LQFH$$3/LVDERXWLWLVHDVLO\LQWKHPLGGOHRIWKHSXWVDQGWKHFDOOV,VROGVKRUW

$VWKHVHOOHU,JHWWRNHHSERWKSUHPLXPV DERXWLI\RXDGGWKHPERWKXS DQGWDNHWKDWPRQH\WRJLYHWR
DQRYHUSULFHGDPXVHPHQWSDUNLQ2UODQGRQH[WZHHNZKHQ,WDNHP\IDPLO\WKHUHRQYDFDWLRQDQGPHHWXSZLWK
RYHUPHPEHUVIRUDGD\RIOLYHWHDFKLQJDWWKHQH[W0LOOLRQDLUH
5RDGPDSKWWSVHXUVDIHOLQNVSURWHFWLRQRXWORRNFRP"XUO KWWSV$))XFWVHQGJULGQHW)ZI
)FOLFN)XSQ'%E49W5XQ&/M
)ST%:U-K3-]$H&M2)N4L9$Z6FIK/O9TWT;*F=8SUEB:3&%/*9Y7SY=:;15VSOFI4%*INJKD'L<(RRH*9(
SD/*01TI[30D946V=LE$.VW%ZPR3HZ(,1GWE,<R[][KNH*.TI/:<ZUU+7L;)P,P'D]9F
%/9%[\K;GU<57W]Z00ZTRH0&+[0QT[K9,1[TQ'29R4JD<5']'V.]RFF\T7%)-L;);]KOIFXSJ1:6W'$U
ZI$VN%OH4$)PL6D$Q<$X5;8%5U(+RYNO2
)087(4:KR;I=60%JW8W<S=;[8([S7=]%7NH2Q7*L*DZ9+!HYHQWZHKDYHSODQQHGRQ7KXUVGD\

>KWWSVFGQUDJLQJEXOOFRPPHGLDTW7U=[H26)-&*'Q5P'L,,6*].,M&%YQ0RU2MMSHJ@

$QRWKHUJRRGOHVVRQKHUH,PDNHWKHVHWUDGHVDOOWKHWLPHVRLWLVDJRRGWKLQJWRVWXG\DQGOHDUQIURP

,SODQRQGRLQJWKLVDJDLQRQ$$3/IRUZHHNVRXWDQGDOVRIRU7.HHSDQH\HRQWKHSRUWIROLRIRUWKRVHLI\RX UH
LQWHUHVWHG,GRQRWDOHUWWKHVHWUDGHVEHFDXVHWKH\FRPHZLWKGLIIHUHQWULVNVWKDQPRVWSHRSOHDUHFRPIRUWDEOH
ZLWKVRXVHWKHVHDVDJXLGHWROHDUQIURPMXVWOLNHHYHU\WKLQJHOVH

,GRQ WNQRZKRZPXFKWUDGLQJ,ZLOOEHGRLQJWRGD\EXW,KRSH\RXKDYHDJUHDWZHHNHQG

7R<285VXFFHVV

>KWWSVFGQUDJLQJEXOOFRPPHGLDEHIIDHDHHHSQJ@
-HII%LVKRS

>6SHFLDO@KWWSVHXUVDIHOLQNVSURWHFWLRQRXWORRNFRP"XUO KWWSV$))XFWVHQGJULGQHW)ZI)
FOLFN)XSQ'%E49W5XQ&/M)ST%:Y1Q]S4P'1SV]6VI*/PKDVZ7;5
%W7<LZ0'Y:DB:3&%/*9Y7SY=:;15VSOFI4%*INJKD'L<(RRH*9(SD/*01TI[30D946V=LE$.VW
%ZPR3HZ(,1GWE,<R[][KNH*.TI/:<ZUU+7L;)P,P'D]9F
%/9%[\K;GU<57W]Z00ZTRH0&+[0QT[K9,1[TQ'29R4JD<5']'V.]RFF\T7%)-L;);]KOIFXSJ1:6W'$U
ZI$VN%OH4$)PL6D$Q<$X5;8%5U(+RYNO2
)087(4:KR;I=60%JW8W<S=;[8([S7=]%7NH2Q7*L*DZ!

5DJLQJ%XOO//&
&DOHI+Z\/HH1+

0DQDJH(PDLO
3UHIHUHQFHVKWWSVHXUVDIHOLQNVSURWHFWLRQRXWORRNFRP"XUO KWWSV$))XFWVHQGJULGQHW)ZI
)FOLFN)XSQ'%E49W5XQ&/M)ST%:Y1Q]S4P'1SV]6VI*/PKTF:,-EF%1H=6N4
)=W31M4U$'<-U\L7<5[;3J'
'B:3&%/*9Y7SY=:;15VSOFI4%*INJKD'L<(RRH*9(SD/*01TI[30D946V=LE$.VW
%ZPR3HZ(,1GWE,<R[][KNH*.TI/:<ZUU+7L;)P,P'D]9F
                                                $WWDFKPHQW3                               3;
                      Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 288 of 441
     %/9%[\K;GU<57W]Z00ZTRH0&+[0QT[K9,1[TQ'29R4JD<5']'V.]RFF\T7%)-L;);]KOIFXSJ1:6W'$U
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                     &KHFNRXW7RGG%URZQ«
                        I am up $8,000 since joining your service a little over a week ago! Just
                                       wanted to tell you thanks! STZ, YNDX, PBR
                     ,GRQ¶WNQRZZKDWHOVHWRWHOO\RXRWKHUWKDQWKLV
                     <RXWKLQN7RGGLVSLVVHGWKDWKHVSHQW"
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  0HQVDJHQLXVGLVFRYHUVDUDGLFDODSSURDFKWRSURILWLQJRIIVPDOOPRYHVLQVWRFNV


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  :KLOHLWVWUXHWKDWEHWWLQJDJDLQVW$PHULFDLVDORVLQJVWUDWHJ\LQWKHORQJWHUPLWGRHVQ¶WPHDQ\RXKDYHWRJHW
  VWHDPUROOHGLQWKHVKRUWUXQZKHQVWRFNVDUHVHOOLQJRII

  7KHUHDUHDQXPEHURIUHDVRQVZK\VHOORIIVPD\EHEHQHILFLDOVRPHEHQHILWVLQFOXGHKHOSLQJFRPSDQLHVEH
  PRUHFRPSHWLWLYHDQGSRWHQWLDOO\SUHYHQWEXEEOHVLQDVVHWFODVVHV

  7KDWVDLGQRWRQO\LVLWKHDOWK\IRUVWRFNVWRVHOORII«,WFDQDOVREHSURILWDEOH

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                                                 5DJLQJ%XOO5HFRPPHQGV
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  7KHDGGHGYRODWLOLW\WKH\KDYHFUHDWHVRSSRUWXQLWLHVWRPDNHLUUHJXODUSURILWVIURPWKHPDUNHW7KDWLVLI\RX
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  <RXGRQ¶WQHHGDODUJHDFFRXQWWRPDNHDPLOOLRQLQWKHPDUNHW

  ,QIDFWDIWHUFRPSOHWLQJWKH.+HLVW ZKHUHKHWXUQHG.LQWR.LQOHVVWKDQD\HDU 



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.\OH'HQQLVLVEDFNDQGKHLVVKRZLQJ\RXKRZWRGRLWZLWKRSWLRQV

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6KHILUHGKHUEURNHUDIWHUVKHORVWKDOIRIKHUSRUWIROLRLQWKHILQDQFLDOFULVLV

$IWHUWKDW3HWUDGHFLGHGWRUROOXSKHUVOHHYHVDQGJRWRZRUN,QVWHDGRIIHHOLQJKRSHOHVV

6KHQRZLVLQIXOOFRQWUROFRQVLVWHQWO\SXOOLQJSURILWVIURPWKHPDUNHWVDQGWHDFKHVRWKHUVRQKRZWRGR
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7KHPRUHWKLQJVFKDQJH«WKHPRUHWKH\VWD\WKHVDPH

,WGRHVQ¶WPDWWHULIWKHPDUNHWLVFUDVKLQJRUPHOWLQJXS«

«WKHVHSURYHQVWUDWHJLHVZRUNXQGHUDOOPDUNHWFRQGLWLRQV

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                                                                       5DJLQJ%XOO//&
                                                   &DOHI+Z\/HH1HZ+DPSVKLUH8QLWHG6WDWHV
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1HLWKHU-HII%LVKRSQRU5DJLQJ%XOOFRP//& SXEOLVKHURI:HHNO\0RQH\0XOWLSOLHU LVUHJLVWHUHGDVDQLQYHVWPHQWDGYLVHUQRUDEURNHUGHDOHUZLWKHLWKHUWKH86
6HFXULWLHV ([FKDQJH&RPPLVVLRQRUDQ\VWDWHVHFXULWLHVUHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLV
VROHO\IRULQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLVQRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU V
SDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUVHPSOR\HHVDQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHGRQWKLV
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EX\LQJDQGVHOOLQJRIVHFXULWLHVE\WKHVHLQGLYLGXDOVLVQRWSDUWRIDUHJXODUEXVLQHVVRIEX\LQJDQGVHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127LQGLFDWLYHRIIXWXUH
UHVXOWV)XUWKHUPRUHVXFKLQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKHVROLFLWDWLRQRIDQRIIHUWREX\QRULVLWWREHFRQVWUXHGDVDUHFRPPHQGDWLRQWR
EX\KROGRUVHOO VKRUWRURWKHUZLVH DQ\VHFXULW\$OOXVHUVRIWKLVZHEVLWHPXVWGHWHUPLQHIRUWKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWRPDNHRUQRWPDNHDQGDUH
XUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUVUHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQW
UHVHDUFKDQGGHFLVLRQVVKRXOGVHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\XQGHUVWDQGDQ\DQGDOO
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ORQJRUVKRUWSRVLWLRQVLQVHFXULWLHVWKDWPD\EHGLVFXVVHGRQWKLVZHEVLWHRUQHZVOHWWHUEXWDOOVXFKSRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWLYH¶VRZQDFFRXQW3DVW
UHVXOWVDUHQRWLQGLFDWLYHRIIXWXUHSURILWV7KLVWDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHVUHSRUWHGDUHDFWXDOILJXUHVIURPWKHSRUWIROLRV
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,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK:HHNO\0RQH\0XOWLSOLHU\RXZLOOQHHGWRFRQWDFWXVKHUHLI\RXZDQWWRFDQFHO\RXUVXEVFULSWLRQ2SWLQJRXWRIHPDLOV
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EHFDXVHRIIROORZLQJ\RXUIDNHDGYLVH%URWKHULKDYHRWKHUFKDQQHOV
RIPDNLQJPRQH\OLNHWUHDVXU\ELOOVDFDGHPLFZULWLQJFRS\ZULWLQJ
WUDQVSRUWDQGUHWDLOEXVLQHVVDPRQJRWKHUV,MXVWZDQWHGWRXVHIRUH[
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                    $WWKLVSRLQW,ZDQWZLQQHUV,ZDQWSHRSOHWKDWDOORZWKHPVHOYHVWRPDNH
                    PRQH\DQGDUHVHULRXVDERXWLW
                    ,ZDQWWKLVWREHWKH EHVWILQDQFLDOGHFLVLRQ\RX¶YHHYHUPDGH
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  WKDWRFFXUDWWKHSUHFLVHPRPHQWWKHFKDUWLVJRLQJWRFKDQJH
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                        Based on techniques I have learned from you, I purchased 8/31 ABBV 94
                       Calls a few days ago based on SMA200 hourly support. My stop loss was
                       obvious (break below SMA200). I am currently at +75% gains. - Peter D.N
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-XVWZDQWHGWR'URS\RXD/LQHWR7HOO<RXZKDWD*RRG-RERI'HOLYHULQJWKH:HHNO\0RQH\0XOWLSOLHU:HEFDVWWKLV
:HHN,WZDV([SODLQHGYHU\&OHDUO\ZLWK*UHDW7HQDFLW\

,$JUHHZLWK<RXWKDW\RXU6HUYLFHLV:RUWK#/HDVW
<RXU6HUYLFHZDV:HOO:RUWKWKH2IIHULQJ"

,KDYHEHHQ7UDGLQJ6WRFNVIRUPDQ\<HDUV7UDGLQJ&XUUHQFLHV7UDGLQJ6WRFNV)ROORZLQJ-DVRQ%RQGIRUD)HZ<HDUV
DQGWRRND7ULDORI+LV6HUYLFH'XULQJWKRVH\HDUV,%OHZXSP\7UDGLQJ$FFRXQW1RW2QFH%XW7ZLFHIROORZLQJ7UDGHV
WKDWZHUHRQWKH'DLO\:DWFK/LVW7KH7KLUGDQG/DVW7LPHZDV7KH0RVW'HYDVWDWLQJDQG3DUDO\]LQJ,5HDOO\)HOW
6FDPPHGQRW2QO\E\WKH6WRFNWKDW,ZDV6ZLQJ7UDGLQJEXWE\7'$PHULWUDGH72366WRFNKDGMXVWKDGD5HYHUVH6SOLW
DERXW:HHNSULRUWRP\(QWHULQJWKH7UDGH$IWHU(QWHULQJWKH7UDGHZLWKRYHU.LQYHVWHG7KH\$QQRXQFHGDQRWKHU
5HYHUVH6SOLWWR7DNH(IIHFWZLWKLQD)HZ'D\V2YHUWKH:HHNHQG1R0DWWHU+RZ+DUG,7ULHGRU+RZ0DQ\2UGHUV,3XW
LQWR6HOO0\2UGHU,W.HSW%HLQJ&DQFHOHGE\7'$PHULWUDGH,W V%HHQ2YHU$<HDU1RZDQG, YH0DLQO\%HHQ
&RQVLGHULQJ2WKHU0HQWRUDQG2WKHU2SWLRQV

0\:LIH%HOLHYHVWKDW7UDGLQJLVD%LJ6FDP0DLQO\%HFDXVHRI0\/DFNRI6XFFHVVLQWKH6WRFN0DUNHWLQWKH3DVW
/DWHO\:H'R1RW6HH(\HWR(\HRQ0RVW,VVXHV

5HFHQWO\,6WURQJO\&RQVLGHUHGWKH6WRFNWREHU7ULDOWKDWZDVEHLQJRIIHUHGDQGSURPRWHGE\-DVRQ%RQGDQG<RXUVHOI
ZKLFKWRRNPHWRWKH:HEVLWHWRSLFNRQHRI)RXU7UDGHUV$IWHU/RRNLQJRYHU\RXUSURPRDQG-DVRQ%RQG V,GHFLGHGWR
7DNH-DVRQ%RQGVEHFDXVH,ZDVXQGHUWKHLPSUHVVLRQWKDWERWK0LOOLRQDLUH5RDG0DSDQG7KH:HHNO\0RQH\0XOWLSOLHU
:HUH2IIHUHGLQWKH7UDLO3HULRG,ZDV/HDGWR%HOLHYHWKDW%HFDXVHRQP\3UHYLRXV7UDLO3HULRG,ZDV*LYHQ)XOO$FFHVV
WRWKH&KDW5RRPDQG'DLO\:DWFK/LVWDVZHOODV$OOWKH7UDLQLQJ9LGHRV$IWHUPXFKFRQVLGHUDWLRQ,GHFLGHGWRWDNHWKH
6WRFNWREHU7UDLO6KRUWO\$IWHU6LJQLQJXSIRU-DVRQ%RQG V6WRFNWREHU7UDLO,ZDV7ROG$FFHVVWRERWK7KH0LOOLRQDLUH
5RDG0DSDQG7KH:HHNO\0RQH\0XOWLSOLHUZRXOGEH$GGLWLRQDO0DQ,ZDV&UXVKHG.LQGD6WXQQHGRQ:KDWWR
'R1H[W

6R, YH+DGWR6WHS%DFN7DNLQJ6WRFNRI0\6LWXDWLRQ7REH+RQHVWZLWK<RX,DP<HDUV<RXQJ%HHQRQ'LVDELOLW\
6RPH<HDUVZLWKD%DFN,VVXHDQG$OWKRXJK2XU1HHGVDUH0HW0RQWKO\:H1HHG6RPH([WUDWR+HOSLQ2UGHUWR-XVW
3LFNXSWKH/RRVH(QGV,KDYHUHFHQWO\7ULHGWR5HWXUQWR:RUN+RZHYHU(YHQWKRXJK+LJKO\4XDOLILHG$WP\$JH,W V
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1HHGD0HQWRU,.QRZ,&DQ'R7KLVZLWK6RPH0HQWRUVKLS

3UREOHP,V7KDW:H'R1RW+DYHD&UHGLW&DUG$FFRXQW&XUUHQWO\'R1RW+DYHWKH&DVKLQ+DQG6LQFH,DP:DLWLQJRQ
0\0RQWKO\&KHFN1RWWR0HQWLRQWKDW, P:RUNLQJZLWKD5HDOO\6PDOO$FFRXQWDQGWRKDGWR*HWWKH
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,+DYH6RPH0XVLFDO,QVWUXPHQWVZKLFK,DPLQWKH3URFHVVRI/LTXLGDWLQJRQ&UDLJVOLVWDQGDV0\:LIH.QRZV&DQ%ULQJ
&DVK0RQH\7KDWZLOO5DLVH6RPH)XQGVIRUWKH0HQWRUVKLS3URJUDPDQG:RUNLQJ&DSLWDOIRU7UDGLQJ

0\&DUGVRQRQWKH7DEOHDQG,DP$OO,QDQG1HHG6RPH+HOSZLWK$Q\WKLQJ\RX&RXOG'R

$Q\ZD\,&RXOG*HW6RPH$FFHVV7KURXJK0\-DVRQ%RQG6WRFNWREHU7ULDOLQRUGHUWR*URZ0\$FFRXQWRU6RPH7LPH
WR&RPH8SZLWKWKH$QQXDORU4XDUWHUO\

,I7KLQJV'R1RW:RUN2XWIRU1RZ,&DQ:DLWDQG-XVW6WD\7XQHG

*UHDWO\$SSUHFLDWH$Q\ZD\<RX&RXOG:RUN:LWK0HDQG*UHDWO\$SSUHFLDWH<RXU7LPHDQG&RQVLGHUDWLRQRI7KLV
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                ,I\RXPLVVHGP\ODVWHPDLORUKDYHQ¶WVLJQHGXS\HW,DPKRVWLQJDIUHHZHELQDURQP\
                QHZHVW2SWLRQV7UDGLQJ6WUDWHJ\

                ,¶PFDOOLQJLW 7KH2SWLRQ3URILW1H[XV

                ,¶YHVDLGLWEHIRUHDQG,¶OOVD\LWDJDLQ When these 3 Green Lights Illuminate, unlimited profit
                potential is triggered.




                               *UHHQ/LJKW,V63<DERYHWKHKRXUO\0$"




                               *UHHQ/LJKW:KDWLVWKHVWDWXVRI9,;"



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               *UHHQ/LJKW"

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/LJKWV ,XVHLQWKH2SWLRQ3URILW1H[XV JLYHPHDVLPSOHXQHPRWLRQDOFKHFNOLVWWRIXOILOO
EHIRUH,WUDGH

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           8QVXEVFULEH$OOZLOOEORFNRXUSUHPLXPDOHUWVHUYLFHIURPVHQGLQJ\RXDQ\HPDLOVLQWKHIXWXUH\RXZLOO
                                   QHHGWRFRQWDFWVXSSRUWWRJLYHXVSHUPLVVLRQWRHPDLO\RXDJDLQ

                                  7KLVHPDLOZDVVHQWWRWKHIROORZLQJOLVWV:HHNO\0RQH\0XOWLSOLHU




         1HLWKHU-HII%LVKRSQRU5DJLQJ%XOOFRP//& SXEOLVKHURI:HHNO\0RQH\0XOWLSOLHU LVUHJLVWHUHGDVDQLQYHVWPHQWDGYLVHUQRU

         DEURNHUGHDOHUZLWKHLWKHUWKH866HFXULWLHV ([FKDQJH&RPPLVVLRQRUDQ\VWDWHVHFXULWLHVUHJXODWRU\DXWKRULW\8VHUVRI

         WKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLVVROHO\IRULQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREH

         XVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLVQRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODU

         LQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUVHPSOR\HHVDQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLV

         GLVFXVVHGRUYLHZHGRQWKLVZHEVLWHEXWDOOVXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRUWKHLURZQDFFRXQW7KHVH

         LQGLYLGXDOVGRQRWHQJDJHLQDQ\WUDGHVZLWKFXVWRPHUV7KHEX\LQJDQGVHOOLQJRIVHFXULWLHVE\WKHVHLQGLYLGXDOVLVQRWSDUWRID

         UHJXODUEXVLQHVVRIEX\LQJDQGVHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127LQGLFDWLYHRIIXWXUHUHVXOWV)XUWKHUPRUHVXFK

         LQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKHVROLFLWDWLRQRIDQRIIHUWREX\QRULVLWWREHFRQVWUXHGDVD

         UHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRURWKHUZLVH DQ\VHFXULW\$OOXVHUVRIWKLVZHEVLWHPXVWGHWHUPLQHIRUWKHPVHOYHV

         ZKDWVSHFLILFLQYHVWPHQWVWRPDNHRUQRWPDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWK

         UHVSHFWWRDQ\LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUVUHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQWUHVHDUFKDQGGHFLVLRQVVKRXOG

         VHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\XQGHUVWDQGDQ\

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         EHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOGEHLQGHSHQGHQWO\YHULILHGDQGQRUHSUHVHQWDWLRQRUZDUUDQW\RIDQ\NLQG

         H[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLPLWHGWRDQ\UHSUHVHQWDWLRQRUZDUUDQW\FRQFHUQLQJDFFXUDF\FRPSOHWHQHVV

         FRUUHFWQHVVWLPHOLQHVVRUDSSURSULDWHQHVV,QDGGLWLRQZHXQGHUWDNHQRUHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRU

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         DFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHVUHSRUWHGDUHDFWXDOILJXUHVIURPWKHSRUWIROLRV-HII%LVKRS

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      LPPHGLDWHO\DQGEHFDXVHRIWKHOLYHVWUHDPHGWUDGHZLQGRZ


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              Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 344 of 441
   :HHNO\0RQH\0XOWLSOLHULV-HII·VSUHPLXPVHUYLFHLWLQFOXGHVDFFHVVWR-HII·VH[FOXVLYHRSWLRQVFRXUVHDOLYH
   VWUHDPRIKLPWUDGLQJ(7)VDQG2SWLRQVDVZHOODV¬DOHUWVZKHQHYHU-HIIPDNHVDVZLQJWUDGH


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,·YHWDNHQ\RXDORQJWKLVMRXUQH\ZLWKPHIURPWKHEHJLQQLQJVRLW·VRQO\IDLUIRUPHWRKROG\RXUKDQGWLOWKHHQG

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FG@KWWSVHXUVDIHOLQNVSURWHFWLRQRXWORRNFRP"XUO KWWSV$))PULQIXVLRQVRIWDSS)DSS)RUGHU
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ZLQQHU"KWWSVHXUVDIHOLQNVSURWHFWLRQRXWORRNFRP"XUO KWWSV$))PULQIXVLRQVRIWDSS)DSS)R
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UHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWHLVVROHO\IRU
LQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQDQGLVQRW
DWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUVHPSOR\HHV
DQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHGRQWKLVZHEVLWHEXWDOO
VXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRUWKHLURZQDFFRXQW7KHVHLQGLYLGXDOVGRQRWHQJDJHLQ
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UHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRURWKHUZLVH DQ\VHFXULW\$OOXVHUVRIWKLVZHEVLWHPXVWGHWHUPLQHIRU
WKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWRPDNHRUQRWPDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQW
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LQYHVWPHQWUHVHDUFKDQGGHFLVLRQVVKRXOGVHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\
LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\XQGHUVWDQGDQ\DQGDOOULVNVEHIRUHLQYHVWLQJ$OORSLQLRQVDQDO\VHVDQG
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WLPHOLQHVVRUDSSURSULDWHQHVV,QDGGLWLRQZHXQGHUWDNHQRUHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRU
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               Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 347 of 441
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                        I am up $8,000 since joining your service a little over a week ago! Just
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                                                   Aug 21, 2:59 PM
                       ali kha: THANKS. Jeff for AAPL puts . +1600 in the last 2 hours . out of it

                                                     Aug 21, 3:03 PM
                                    izzy bla: ok, Now over 10K for the day. I'm done.

                                                    Aug 21, 3:04 PM
                     ali kha: THANK YOU Jeff . very pleased. wasnt expecting it . just piggy backed
                      on you since was off today with family and played the AAPL puts while at a
                                                       luncheon :)

                                                   Aug 21, 3:18 PM
                       rod but: Nice call on AAPL puts Jeff made a quick $500 in 40 min,Thanks


                     $QGWKHQP\PDQ5LFN7KLVLVDZHVRPH

                     rick hub: Jeff, thanks for all the teaching I've gotten from you. I've learned to
                     day trade, to the point that I'm average $1,000 a day. Not the big bucks yet,
                     but enough to make a difference in my life. Thanks.

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,QDOORIP\WUDGHV,KDYHDFOHDUVWRSORVVZKLFKLVZULWWHQGRZQLQP\WUDGLQJSODQ:KHQ,HQWHUDWUDGH,
ZLOOZULWHGRZQZKHUH,ZLOOVWRSRXW,GRQ·WWUDGHZLWKRXWDVWRSORVVLQPLQGZKLFKVWRSVPHIURPEORZLQJ
SDVWP\VWRSORVVHVDQGKROGLQJRQWRWRWKHEDJ

6WLFNLQJWRP\VWUDWHJ\,KDWHWREHDWDGHDGKRUVHEXW,ZULWHRXWP\WUDGLQJSODQDQGWUDGHP\SODQ
:KHQ,WUDGH,RQO\WUDGH´$µTXDOLW\VHWXSV

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)ROORZWKHVHILYHUXOHVDQGUHPDLQGLVFLSOLQHGLQWKHPDUNHWVDQGLWVKRXOGKHOS\RXEHFRPHVXFFHVVIXODW
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VHFXULWLHVUHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWH
LVVROHO\IRULQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQ
DQGLVQRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KH
RZQHUVHPSOR\HHVDQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHG
RQWKLVZHEVLWHEXWDOOVXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRUWKHLURZQDFFRXQW7KHVH
LQGLYLGXDOVGRQRWHQJDJHLQDQ\WUDGHVZLWKFXVWRPHUV7KHEX\LQJDQGVHOOLQJRIVHFXULWLHVE\WKHVH
LQGLYLGXDOVLVQRWSDUWRIDUHJXODUEXVLQHVVRIEX\LQJDQGVHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127
LQGLFDWLYHRIIXWXUHUHVXOWV)XUWKHUPRUHVXFKLQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKH
                                            $WWDFKPHQW3                               3;
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     VROLFLWDWLRQRIDQRIIHUWREX\QRULVLWWREHFRQVWUXHGDVDUHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRU
     RWKHUZLVH DQ\VHFXULW\$OOXVHUVRIWKLVZHEVLWHPXVWGHWHUPLQHIRUWKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWR
     PDNHRUQRWPDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\
     LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUVUHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQWUHVHDUFKDQGGHFLVLRQV
     VKRXOGVHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWH
     DQGIXOO\XQGHUVWDQGDQ\DQGDOOULVNVEHIRUHLQYHVWLQJ$OORSLQLRQVDQDO\VHVDQGLQIRUPDWLRQLQFOXGHGRQWKLV
     ZHEVLWHDUHEDVHGRQVRXUFHVEHOLHYHGWREHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOGEHLQGHSHQGHQWO\
     YHULILHGDQGQRUHSUHVHQWDWLRQRUZDUUDQW\RIDQ\NLQGH[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLPLWHG
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     DSSURSULDWHQHVV,QDGGLWLRQZHXQGHUWDNHQRUHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQ
     RUWRNHHSVXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQFXUUHQW$OVREHDZDUHWKDWRZQHUVHPSOR\HHVDQGZULWHUV
     RIDQGIRU5DJLQJ%XOOFRP//&PD\KDYHORQJRUVKRUWSRVLWLRQVLQVHFXULWLHVWKDWPD\EHGLVFXVVHGRQWKLV
     ZHEVLWHRUQHZVOHWWHUEXWDOOVXFKSRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWLYH·VRZQDFFRXQW3DVWUHVXOWVDUH
     QRWLQGLFDWLYHRIIXWXUHSURILWV7KLVWDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHV
     UHSRUWHGDUHDFWXDOILJXUHVIURPWKHSRUWIROLRV-HII%LVKRSPDQDJHVRQEHKDOIRI5DJLQJ%XOOFRP//&

     ,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK:HHNO\0RQH\0XOWLSOLHU\RXZLOOQHHGWRJRWR\RXU
     VXEVFULSWLRQVOLVWLQVLGHWKH5DJLQJ%XOO'DVKERDUGLI\RXZDQWWRFDQFHO\RXUVXEVFULSWLRQ2SWLQJRXWRI
     HPDLOVGRHVQRWUHPRYH\RXIURP\RXUVHUYLFHDW:HHNO\0RQH\0XOWLSOHUFRP8QVXEVFULEHIURPDOO5DJLQ%XOO
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, PVLJQHGXS0RQH\LVWLJKW,QHHGWRPDNHVRPHPRQH\WROLYHEHWWHU2SWLRQWUDGLQJVRXQGVOLNHDSODQ0\SUREOHPLV
, PSRRU/RZLQFRPH,MXVWJRWULSSHGRIIE\DVFDPPHU+HZDVJRLQJOHWPHFRS\KLVWUDGHVEXWLWZDVDIUDXGVFDP%XW
,QHHGWRPDNHPRQH\WROLYHEHWWHU, PPDUULHGEEXWP\LQFRPHLVWRORZWRPHHWWKHSRYHUW\JXLGHOLQHVIRU86
,PPLJUDWLRQUXOHV0\ZLIHOLYHVLQ.DWKPDQGXDQG,QHHGWRHDUQDERXWWHQWKRXVDQGGROODUVWRPDNHRXUGUHDPVKDSSHQ
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                           $9050 Realized Gains from a $1000 account...legendary!
                     ,¶PDOZD\VJRLQJWRJLYHFUHGLWZKHUHFUHGLWLVGXH
                     6RPHWKLQJDERXWWKHV\VWHP'DYLV0DUWLQKDVFUHDWHGIRUPHPEHUVLV\LHOGLQJ
                     XQIDWKRPDEOHUHVXOWVHVSHFLDOO\IRUWKRVHZLWKVPDOODFFRXQWV
                     0RVWVWUXJJOHZLWKWKH3DWWHUQ'D\7UDGH5XOHEHFDXVHWKH\GRQ¶WKDYH
                     LQWKHLUDFFRXQW
                     +H¶VFDUYHGRXWDZD\IRU\RXWRDYRLGWKDWDQGH[SHULHQFHUHWXUQVOLNH\RX
                     QHYHUWKRXJKWZHUHSRVVLEOH
                     %HOLHYH1DWKDQKLVUHVXOWVDUHEHORZ
                     :LWKOLPLWHGFDSLWDO2SWLRQVDUHWKHSHUIHFWVROXWLRQ
                     (DFKGD\'DYLVLVVKRZLQJRWKHUVKRZWRPDVWHUWKHPDUNHW
                     7KXUVGD\KH¶VWHDPLQJXSZLWK-HII:LOOLDPVLQD /,9(SUHVHQWDWLRQRQKRZKH
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)URP                   
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                                                        $9k in extra income ...
                        'HDUUHDGHU

                        I work full time and do ALL my trading on my phone.

                        ,PDJLQHWKDW«

                        <RX¶UHVLWWLQJDW\RXUGHVNDWZRUNDQGDQDOHUWKLWV\RXUSKRQH

                        7H[WPHVVDJHDQGHPDLO

                        ,GHWDLOWKHWUDGHWHOO\RXZKDW,¶PEX\LQJDQGZK\,¶PEX\LQJLW

                        6DPHKDSSHQVIRUZKHQ,VHOO

                        $OOWKDW¶VUHTXLUHGIURP\RXLVDOLWWOHOLJKWUHDGLQJDQGWKHSUHVVLQJRIDIHZ
                        EXWWRQV

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                        0\JRDOLVWRKHOS\RXILQGH[WUDLQFRPHIURPWUDGLQJRSWLRQV

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                        %XWEHIRUH,JHWDKHDGRIP\VHOI,ZDQWWRZHOFRPH\RXWR:HHNO\0RQH\
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     $QGLQFDVH\RXGRQ¶WNQRZPH,¶PPXOWLPLOOLRQDLUHWUDGHUZLWKQHDUO\
     \HDUVRIH[SHULHQFHXQGHUP\EHOW

     ,ORYHDOOWUDGLQJEXWP\SDVVLRQLVIRUWUDGLQJRSWLRQVDQG(7)V

     $QG,¶PQRWDIUDLGWRPDNHWKHELJEHWVDQGVZLQJIRUWKHIHQFHVZKHQ,WKLQNV
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     I also love training people like you.

     :KLFKLVZK\²DVSURPLVHG²,DPJLYLQJ\RXP\ )5((³2SWLRQ3URILW
     $FFHOHUDWRU´ JXLGH

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     %XW,¶PQRWVWRSSLQJWKHUH«

     ,VHHDORWRIRSSRUWXQLWLHVIURPRWKHUWUDGLQJH[SHUWVFRPHDFURVVP\GHVN«

     $QGDIHZGD\VDJR,JRWDPHVVDJHWKDWUHDG $4,238 richer in under
     one minute ...

     ,RSHQHGLW

     5HDGLW«

     $QGNQHZ,LPPHGLDWHO\KDGWRVKDUHWKLVZLWKP\UHDGHUV

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     WUDGHUV KDVUHSHDWHGO\EHHQDEOHWRPDNHWKRXVDQGVRIGROODUV«

     LQOHVVWLPHWKDQ\RX¶OOVSHQGUHDGLQJWKLVVKRUWHPDLO

     &OLFNKHUHDQGZDWFKDVP\IULHQG

     /RJVLQWRKLVEURNHUDJHDFFRXQW

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     $QGRIILFLDOO\EHFRPHV5,&+(5

     ,WZLOOWDNHKLPDSSUR[LPDWHO\VHFRQGV

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     $QGWKHQDJDLQ«

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     With a combined total of $4,238

     5HDOFDVKUHDOPRQH\

     $OOGHSRVLWHGLQKLVDFFRXQW

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     %XWILUVW\RXUHDOO\QHHGWRFKHFNRXWWKLVTXLFNFDVKJHQHUDWLQJVWUDWHJ\
     WRGD\«

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     6R,XUJH\RXWRVHHLILW¶VULJKWIRU\RX«

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LQYHVWPHQWVWRPDNHRUQRWPDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWK
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LQFOXGHGRQWKLVZHEVLWHDUHEDVHGRQVRXUFHVEHOLHYHGWREHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOGEH
LQGHSHQGHQWO\YHULILHGDQGQRUHSUHVHQWDWLRQRUZDUUDQW\RIDQ\NLQGH[SUHVVRULPSOLHGLVPDGHLQFOXGLQJ
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ZHEVLWHRUQHZVOHWWHU3DVWUHVXOWVDUHQRWLQGLFDWLYHRIIXWXUHSURILWV7KLVWDEOHLVDFFXUDWHWKRXJKQRWHYHU\
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 :HGRDQGZHZLOODOZD\RSHUDWHZLWKDKLJKOHYHORIPRUDODQGHWKLFDOVWDQGDUGV,I\RXKDYHVRPHWKLQJ
 FRQVWUXFWLYH\RX GOLNHWRGLVFXVVZH GEHPRUHWKDQKDSS\WREXWWKHFODLPV\RXDUHPDNLQJDUHVLPSO\QRWWUXH
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 PLOOLRQDLUH\RXFDQDIIRUGDQ\DWWRUQH\WRMXVWLI\WKRVHILQHSULQWVQRSUREOHP
 ,VLJQXSWRIROORZKLVWUDGHWRGRXEOHRUHYHQWULSOHP\PRQH\ QRWDFFRXQW HYHU\ZHHNDV-HIIVDLGRYHUDQGRYHU
 DJDLQYHU\DWWUDFWLYH\RXQHHGWRZDWFKWKDWUHFRUGLQJDV,GLGZDQWHGWRVHHSHUIRUPDQFHSHUKDSV,ZLOONQRZLI,
 VLJQXSGLGQ·WNQRZWKHQQRUHIXQGLQILQHSULQWVQRZDUQLQJIRULQQRFHQWEX\HUVDQGWKHQILQGRXWWKHUHLVQR
 WUDFNUHFRUGVHLWKHUWRVHHGRXEOLQJPRQH\HYHU\ZHHNMXVWORRNLQJKLVSRVLWLRQVWKDW·VLW2WKHUPDWHULDOWRVWXG\
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)LUVWLWLVFRPSOHWHO\GLVKRQHVWIRU\RXWRVWDWHDERYHWKDWWKLVUHTXHVWKDVEHHQVROYHG3OHDVHUHDGP\HPDLOVLQGHWDLODQG
KDYH-HIIUHSO\

6HFRQGDJDLQDV,UHSHDWHGLQP\SUHYLRXVHPDLOVZKLFKDSSDUHQWO\\RXDUHLJQRULQJ\RXPDNHDVWDWHPHQWZHGRQRW
RIIHUDIUHHWULDODWWKLVWLPHVKRZPHLQP\HPDLOZKHUH,ZDQWHGDQ\WKLQJ)UHH"""
,UHSHDWHGO\VDLG,ZLOOSD\XSIURQWWKHDQQXDOIHHDQGWKHQTXRWHG-HIIVJXDUDQWHH
/HW-HIIUHVSRQGWRP\HPDLOVDQGVXJJHVWLRQV5LJKWQRZ,DPZRQGHULQJLIWKLVLVDVFDPDQG,VKRXOGZDUQSHRSOHRIWKLV
RUJDQL]DWLRQWKUX6RFLDOPHGLD

WKLVLVUHDOO\SRRUFXVWRPHUVHUYLFHWKHZD\\RXDUHUHVSRQGLQJWRP\HPDLOV

+DYH-HIIUHSO\DQG,ZLOOVLJQXSDV,KDYHVWLSXODWHGLQP\HDUOLHUHPDLOV

7KDQN\RXIRU\RXUDWWHQWLRQWRWKLVPDWWHU



2Q7XH0DUDW30&U\VWDO :HHNO\0RQH\0XOWLSOLHU MHII#ZHHNO\PRQH\PXOWLSOLHUFRP!ZURWH

  3OHDVHW\SH\RXUUHSO\DERYHWKLVOLQH

  <RXUUHTXHVW  KDVEHHQVROYHG7RUHRSHQWKLVUHTXHVWUHSO\WRWKLVHPDLO6HHWKHODWHVWFRPPHQWVEHORZ




       &U\VWDO :HHNO\0RQH\0XOWLSOLHU

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       7KDQNVIRUUHDFKLQJRXW8QIRUWXQDWHO\ZHGRQRWRIIHUDIUHHWULDODWWKLVWLPH+RZHYHUZHGRRXUEHVWWR
       FRPSHWLWLYHO\SULFHRXUVHUYLFHVLQRUGHUWRDWWUDFWFOLHQWVZKLOHDOVRDIIRUGLQJXVHQRXJKIXQGVWRHQVXUHWKH
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5HTXHVW5H:DUQLQJ6KRWZDVFORVHGDQGPHUJHGLQWRWKLVUHTXHVW/DVWFRPPHQWLQUHTXHVW
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,ZLOOVLJQXSDQGSD\WKHXSIURQWIRUWKH:HHNO\0RQH\0XOWLSOLHULI\RXEDFNXSWKHZRUGVDQG
VWDWHPHQWVLQWKHSURPRWLRQHPDLODERYH

,WLVDPRUHWKDQIDLUDQGHDV\WRPHHWJXDUDQWHHEDVHGRQ\RXUVWDWHPHQWVDERYH:KLFK,TXRWHDVIROORZV

7KH0HQVDWUDGHULVJXDUDQWHHLQJRIWKHVHZLQVLQ

$QGKHKDVDOUHDG\KLWRUDQDYHUDJHRIDERXWDZHHN

7KDWPHDQVLI\RXVLJQXSULJKWQRZRGGVDUH\RX OOVHHDZLQWKLVZHHN7KDW VKRZ\RXGRXEOH\RXU
PRQH\

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7KHVWDWHPHQWDERYHIURPZKDW,NQRZRI2SWLRQVWUDGLQJSUREDELOLWLHVLV1RWUHDVRQDEOHVRWREHIDLUDQG
WRVKRZLQWHJULW\EHIRUH,LQYHVWLQ\RXUVHUYLFH
,ZLOOSD\WKHXSIURQW0RQH\,)\RXPDNHDFRPPLWPHQWEDFNWKDWLILQWKHILUVWZHHNVRUPRQWKVWKH
0HQVD7UDGHUJXDUDQWHHGRHV127SURGXFHDVXFFHVVUDWH:+,&+LVEHORZKLVVWDWHPHQWDERYH7KDW,FDQ
2EWDLQDUHIXQGRIWKHUHPDLQLQJEDODQFHRIP\VXEVFULSWLRQ$FFRUGLQJWRWKHVWDWHPHQWVDERYHWKDWVKRXOG
EHHDVLO\PHWE\WKH0HQVD7UDGHUDQGLWZLOOSURYLGHPHSHDFHRIPLQGDQGFUHGLELOLW\WKDW,DPQRWJRLQJWR
WKURZP\KDUGHDUQHGPRQH\DZD\IRUDVHUYLFHWKDWGRHV127PHHWLWVH[SHFWHGSURPLVHV
9HU\IDLU

,ZRXOGOLNHWRMRLQWKLVVHUYLFHDQGLILWLVDOOWKDWLVSURPLVHGDERYH,SURPLVH6RFLDO0HGLDZLOOKHDUDERXWLW
DQGLWZLOOEHD:LQ:LQ

3OHDVHUHVSRQGDQG,ZLOOVLJQXSDVVRRQDV\RXPDNHWKHFRPPLWWPHQWDERYHWRPH

7KDQNV



2Q7XH0DUDW30-HII%LVKRS-HII#ZHHNO\PRQH\PXOWLSOLHUFRPZURWH

KRXUVOHIW:K\\RXQHHGWRDFWQRZ«

:HOODWPLGQLJKW:HHNO\0RQH\0XOWLSOLHULVQ·WJRLQJWREHDQ\PRUH
KWWSVPULQIXVLRQVRIWFRPDSSRUGHU)RUPVZ7,,]WPTF8:NJZ;EK"XWPBVRXUFH :00 XWPBPHGLXP
 HPDLO XWPBFDPSDLJQ ZPPHPDLOVDOHZDUQLQJVKRW XWPBFRQWHQW ZDUQLQJVKRW

0HPEHUVKLSVDWWKLVEORZRXWSULFHMXVWFDQ·WEHRIIHUHGDQ\PRUH

7KHUHLVMXVWWRRPXFKYDOXH
KWWSVPULQIXVLRQVRIWFRPDSSRUGHU)RUPVZ7,,]WPTF8:NJZ;EK"XWPBVRXUFH :00 XWPBPHGLXP
 HPDLO XWPBFDPSDLJQ ZPPHPDLOVDOHZDUQLQJVKRW XWPBFRQWHQW ZDUQLQJVKRW WREHRIIHUHGDQG,KDYH
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0HPEHUVOLNH'RURWK\WDNLQJDDFFRXQWWRLQZHHNV
                                             $WWDFKPHQW3                              3;
       Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 394 of 441
-RVHWXUQLQJDDFFRXQWLQWRLQ-DQXDU\DORQH

%UHQWSODFLQJKLVILUVWWUDGHDQGPDNLQJ

<RXWKLQNLVDORWWRWKHPQRZ"

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,W·VDOODERXWKRZ\RXORRNDWWKLQJV

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7RJHWKHUZHFDQORFNLQPDVVLYHSURILWV
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7KHFKRLFHLV\RXUV
KWWSVPULQIXVLRQVRIWFRPDSSRUGHU)RUPVZ7,,]WPTF8:NJZ;EK"XWPBVRXUFH :00 XWPBPHGLXP
 HPDLO XWPBFDPSDLJQ ZPPHPDLOVDOHZDUQLQJVKRW XWPBFRQWHQW ZDUQLQJVKRW

-HII%LVKRS
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1HLWKHU-HII%LVKRSQRU5DJLQJ%XOOFRP//& SXEOLVKHURI:HHNO\0RQH\0XOWLSOLHU LVUHJLVWHUHGDVDQ
LQYHVWPHQWDGYLVHUQRUDEURNHUGHDOHUZLWKHLWKHUWKH866HFXULWLHV ([FKDQJH&RPPLVVLRQRUDQ\VWDWH
VHFXULWLHVUHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWH
LVVROHO\IRULQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQ
DQGLVQRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KH
RZQHUVHPSOR\HHVDQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHG
RQWKLVZHEVLWHEXWDOOVXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRUWKHLURZQDFFRXQW7KHVH
LQGLYLGXDOVGRQRWHQJDJHLQDQ\WUDGHVZLWKFXVWRPHUV7KHEX\LQJDQGVHOOLQJRIVHFXULWLHVE\WKHVH
LQGLYLGXDOVLVQRWSDUWRIDUHJXODUEXVLQHVVRIEX\LQJDQGVHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127
LQGLFDWLYHRIIXWXUHUHVXOWV)XUWKHUPRUHVXFKLQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKH
VROLFLWDWLRQRIDQRIIHUWREX\QRULVLWWREHFRQVWUXHGDVDUHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRU
RWKHUZLVH DQ\VHFXULW\$OOXVHUVRIWKLVZHEVLWHPXVWGHWHUPLQHIRUWKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWR
PDNHRUQRWPDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\
LQYHVWPHQWGHFLVLRQ7KHUHDGHUEHDUVUHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQWUHVHDUFKDQGGHFLVLRQV
VKRXOGVHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWH
DQGIXOO\XQGHUVWDQGDQ\DQGDOOULVNVEHIRUHLQYHVWLQJ$OORSLQLRQVDQDO\VHVDQGLQIRUPDWLRQLQFOXGHGRQWKLV
ZHEVLWHDUHEDVHGRQVRXUFHVEHOLHYHGWREHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOGEHLQGHSHQGHQWO\
YHULILHGDQGQRUHSUHVHQWDWLRQRUZDUUDQW\RIDQ\NLQGH[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLPLWHG
WRDQ\UHSUHVHQWDWLRQRUZDUUDQW\FRQFHUQLQJDFFXUDF\FRPSOHWHQHVVFRUUHFWQHVVWLPHOLQHVVRU
DSSURSULDWHQHVV,QDGGLWLRQZHXQGHUWDNHQRUHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQ
RUWRNHHSVXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQFXUUHQW$OVREHDZDUHWKDWRZQHUVHPSOR\HHVDQGZULWHUV
RIDQGIRU5DJLQJ%XOOFRP//&PD\KDYHORQJRUVKRUWSRVLWLRQVLQVHFXULWLHVWKDWPD\EHGLVFXVVHGRQWKLV
ZHEVLWHRUQHZVOHWWHUEXWDOOVXFKSRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWLYH·VRZQDFFRXQW3DVWUHVXOWVDUH
QRWLQGLFDWLYHRIIXWXUHSURILWV7KLVWDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHV
UHSRUWHGDUHDFWXDOILJXUHVIURPWKHSRUWIROLRV-HII%LVKRSPDQDJHVRQEHKDOIRI5DJLQJ%XOOFRP//&
                                          $WWDFKPHQW3                               3;
         Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 395 of 441
,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK:HHNO\0RQH\0XOWLSOLHU\RXZLOOQHHGWRFRQWDFWXVKHUH
KWWSVPULQIXVLRQVRIWFRPDSSOLQN&OLFNIFHHIEDFFIFEF 
LI\RXZDQWWRFDQFHO\RXUVXEVFULSWLRQ2SWLQJRXWRIHPDLOVGRHVQRWUHPRYH\RXIURP\RXUVHUYLFHDW
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7KDWPHDQVLI\RXVLJQXSULJKWQRZRGGVDUH\RX OOVHHDZLQWKLVZHHN7KDW VKRZ\RXGRXEOH\RXU
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7KHVWDWHPHQWDERYHIURPZKDW,NQRZRI2SWLRQVWUDGLQJSUREDELOLWLHVLV1RWUHDVRQDEOHVRWREHIDLUDQG
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0HQVD7UDGHUJXDUDQWHHGRHV127SURGXFHDVXFFHVVUDWH:+,&+LVEHORZKLVVWDWHPHQWDERYH7KDW,FDQ
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,ZRXOGOLNHWRMRLQWKLVVHUYLFHDQGLILWLVDOOWKDWLVSURPLVHGDERYH,SURPLVH6RFLDO0HGLDZLOOKHDUDERXWLW
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3OHDVHUHVSRQGDQG,ZLOOVLJQXSDVVRRQDV\RXPDNHWKHFRPPLWWPHQWDERYHWRPH

7KDQNV
                                           $WWDFKPHQW3                                3;
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KWWSVPULQIXVLRQVRIWFRPDSSOLQN&OLFNHDEDIFHIEIGDEEHHEI 
MXPSV

:KHQ\RXMRLQIRUMXVW\RX OOVWDUWJHWWLQJ-HII VWUDGHDOHUWVGHVLJQHGWRJRXSLQDZHHN

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7KDWPHDQVLI\RXVLJQXSULJKWQRZRGGVDUH\RX OOVHHDZLQWKLVZHHN7KDW VKRZ\RXGRXEOH\RXU
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,I\RXRQO\LQYHVWRQRQHRIWKHVHZLQQHUVLW OOSD\IRU\RXUVXEVFULSWLRQ

,I\RXSODFHRQWKDWWUDGHQRWRQO\ZLOO\RXUHFRXS\RXULQVWDQWO\EXWDOVRKHDGLQWRKDSS\KRXU
)ULGD\ZLWKDQH[WUDLQ\RXUSRFNHW6RXQGVOLNHWKHILUVWURXQGZLOOEHRQ\RXP\IULHQG

7KDWGRHVQ WHYHQIDFWRULQKH VOLNHO\WRKLWWKLVZHHN

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KWWSVPULQIXVLRQVRIWFRPDSSOLQN&OLFNEHDDGEFHDIGDEEHHEI 
DQG6$9(,W VWLPHWRVWDUWKLWWLQJGRXEOHVRYHUDQGRYHU

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,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK-DVRQ%RQG3LFNV\RXZLOOQHHGWRFRQWDFWXVKHUH
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,DPORRNLQJIRUZDUGWR\RXUUHVSRQVHDQGKRSHIXOO\,FDQEHFRPHDVXEVFULEHUDQGEHVXFHVVIXOODV\RX
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VHFXULWLHVUHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWH
LVVROHO\IRULQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQ
DQGLVQRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KH
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RQWKLVZHEVLWHEXWDOOVXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRUWKHLURZQDFFRXQW7KHVH
LQGLYLGXDOVGRQRWHQJDJHLQDQ\WUDGHVZLWKFXVWRPHUV7KHEX\LQJDQGVHOOLQJRIVHFXULWLHVE\WKHVH
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PDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\LQYHVWPHQW
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DGGLWLRQZHXQGHUWDNHQRUHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQRUWRNHHSVXFK
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,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK:HHNO\0RQH\0XOWLSOLHU\RXZLOOQHHGWRFRQWDFWXVKHUH
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7KLVLVYHU\IDLUDQGZLOOGHPRQVWUDWHWRPHWKHKRQHVW\DQGLQWHJULW\RI\RXUVHUYLFHDQGDOVRPRVWRIDOOWKH
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WKHQ\RXZLOOGHPRQVWUDWH\RXDUHDQRWKHURQHRIWKHVHPRQH\VFDPPHUVWKDWGHOLYHUXQIXOOLOOHGSURPLVHVDQG
MXVWWDNHRXU+DUG(DUQHGPRQH\

3OHDVHUHVSRQGDQGDFNQRZOHGJHWKLVHPDLO,UHDOO\ZDQWWRMRLQ\RXUVHUYLFHDQGOHDUQ\RXUVWUDWHJ\WR
EHFRPHDVXFFHVVIXOWUDGHUKRSLQJ,UHFHLFHDUHSO\IURP
\RX-HII7KLVZLOOUHDOO\GHPRQVWUDWHWKHSHUVRQ\RXDUHDQGWUXO\ZDQWWRKHOSSHRSOHSURVSHUDQGEH
VXFHVVIXOO

-HIIWKDQN\RXIRUWDNLQJWKHWLPHWRUHDGWKLV

5HJDUGV




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3OHDVHUHUHDGP\HPDLODQG,ZRXOGOLNH-HIIWRUHVSRQGVLQFH+HLVVLJQLQJDQGVHQGLQJDOOKLVSURPRWLRQVWR
PH

,','127VD\,ZDQWLWIRU)UHH+DYH-HIIUHDGP\SURSRVDOVLQFH+(LVPDNLQJVWDWHPHQWVRIWKH*DLQVWKDW
FDQEHH[SHFWHGE\KLVVHUYLFH7KLVZLOOVKRZPHWKHLQWHJULW\DQGKRQHVW\RIWKLVVHUYLFH

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3OHDVHKDYH-HIIUHDGP\HPDLO7KDQNV




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           Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 401 of 441

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7KDQNVIRUUHDFKLQJRXW8QIRUWXQDWHO\ZHGRQRWRIIHUDIUHHWULDODWWKLVWLPH+RZHYHUZHGRRXUEHVWWR
FRPSHWLWLYHO\SULFHRXUVHUYLFHVLQRUGHUWRDWWUDFWFOLHQWVZKLOHDOVRDIIRUGLQJXVHQRXJKIXQGVWRHQVXUHWKH
TXDOLW\RIVHUYLFH&XUUHQWO\RXUVDOHSULFHLVIRUDQDQQXDOVXEVFULSWLRQWR:HHNO\0RQH\0XOWLSOLHU
<RXZRQ WILQGWKDWUDWHIRUWKLVVHUYLFHDQ\ZKHUHHOVH


/HWPHNQRZLIWKDWLQWHUHVWV\RXDV,FDQRQO\RIIHUWKDWSULFHIRUDOLPLWHGWLPH


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RQWKHLUSURPLVHV<RXURIIHUWRGHOLYHUXSWRDZHHNO\GRXEOHRQD2SWLRQWUDGHHDFKZHHNVRXQGVWRRJRRGWR
EHWUXHHVSHFLDOO\LQWKHKLJKHUULVNRSWLRQVPDUNHW,EHOLHYH\RXTXRWHG\RXKDYHRQO\ORVWLQDWUDGHRQO\LQ
WLPHV
LZDQWWRWU\\RXUVHUYLFH%XW,NQRZLWVQRWPXFKIRU\RXEXWSD\LQJ8S)URQWIRUD6HUYLFHIRUD\HDUDQGWKHQ
ULVNLQJ&DSLWDOUHTXLUHVDORWRIWUXVWDQGIDLWK\RXU$OHUWVZLOOEHVXFFHVVIXO
&DQ,WU\WKLVVHUYLFHIRUPRQWKVRUFDQ\RXEDFNXS\RXUZHHNO\DOHUWVE\JXDUDQWHHLQJPHRUPDNLQJPHD
RIIHUWKDWLILJHWLQWR\RXUQH[WZHHNO\WUDGHVWKDWLI,\RXUDOHUWVGRQWPDNHPHPRQH\EDVHGRQ\RXUHQWU\
DQGH[LWRQWKRVHWUDGHV\RXZLOOUHIXQGWKHUHPDLQLQJEDODQFHRIP\VXEVFULSWLRQ

/RRNLQJIRUZDUGWRKHDULQJIURP\RX+RSH\RXPDNHWKLVSRVVLEOHIRUPHZRXOGUHDOO\DSSUHFLDWHWKLVRIIHU
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,I\RXKDYHDVPDOODFFRXQW\RXFDQJURZLWH[SRQHQWLDOO\
    KWWSVPULQIXVLRQVRIWFRPDSSRUGHU)RUPVZ7,,]WPTF8:NJZ;EK"XWPBVRXUFH :00 XWPBPHGLXP
    HPDLO XWPBFDPSDLJQ ZPPHPDLOVDOHMRVH XWPBFRQWHQW MRVH

<RXFDQGRLWZLWKOLWWOHHIIRUWDQG\RXFDQGRLWIURPDQ\SODFHLQWKHZRUOGZLWKMXVWWKHGHYLFHLQ\RXUKDQG

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          Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 402 of 441
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1HLWKHU-HII%LVKRSQRU5DJLQJ%XOOFRP//& SXEOLVKHURI:HHNO\0RQH\0XOWLSOLHU LVUHJLVWHUHGDVDQ
LQYHVWPHQWDGYLVHUQRUDEURNHUGHDOHUZLWKHLWKHUWKH866HFXULWLHV ([FKDQJH&RPPLVVLRQRUDQ\VWDWH
VHFXULWLHVUHJXODWRU\DXWKRULW\8VHUVRIWKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUHVHQWHGRQWKLVZHEVLWH
LVVROHO\IRULQIRUPDWLRQDOSXUSRVHVLVQRWLQWHQGHGWREHXVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQGDWLRQ
DQGLVQRWDWWXQHGWRDQ\VSHFLILFSRUWIROLRRUWRDQ\XVHU VSDUWLFXODULQYHVWPHQWQHHGVRUREMHFWLYHV7KH
RZQHUVHPSOR\HHVDQGZULWHUVRI5DJLQJ%XOOFRPPD\HQJDJHLQVHFXULWLHVWUDGLQJWKDWLVGLVFXVVHGRUYLHZHG
RQWKLVZHEVLWHEXWDOOVXFKLQGLYLGXDOVDUHEX\LQJDQGVHOOLQJVXFKVHFXULWLHVIRUWKHLURZQDFFRXQW7KHVH
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LQGLYLGXDOVLVQRWSDUWRIDUHJXODUEXVLQHVVRIEX\LQJDQGVHOOLQJVHFXULWLHV3DVWSHUIRUPDQFHLV127LQGLFDWLYH
RIIXWXUHUHVXOWV)XUWKHUPRUHVXFKLQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWRVHOORUWKHVROLFLWDWLRQRI
DQRIIHUWREX\QRULVLWWREHFRQVWUXHGDVDUHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRURWKHUZLVH DQ\
VHFXULW\$OOXVHUVRIWKLVZHEVLWHPXVWGHWHUPLQHIRUWKHPVHOYHVZKDWVSHFLILFLQYHVWPHQWVWRPDNHRUQRW
PDNHDQGDUHXUJHGWRFRQVXOWZLWKWKHLURZQLQGHSHQGHQWILQDQFLDODGYLVRUVZLWKUHVSHFWWRDQ\LQYHVWPHQW
GHFLVLRQ7KHUHDGHUEHDUVUHVSRQVLELOLW\IRUKLVKHURZQLQYHVWPHQWUHVHDUFKDQGGHFLVLRQVVKRXOGVHHNWKH
DGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVVLRQDOEHIRUHPDNLQJDQ\LQYHVWPHQWDQGLQYHVWLJDWHDQGIXOO\XQGHUVWDQG
DQ\DQGDOOULVNVEHIRUHLQYHVWLQJ$OORSLQLRQVDQDO\VHVDQGLQIRUPDWLRQLQFOXGHGRQWKLVZHEVLWHDUHEDVHGRQ
VRXUFHVEHOLHYHGWREHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOGEHLQGHSHQGHQWO\YHULILHGDQGQR
UHSUHVHQWDWLRQRUZDUUDQW\RIDQ\NLQGH[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLPLWHGWRDQ\
UHSUHVHQWDWLRQRUZDUUDQW\FRQFHUQLQJDFFXUDF\FRPSOHWHQHVVFRUUHFWQHVVWLPHOLQHVVRUDSSURSULDWHQHVV,Q
DGGLWLRQZHXQGHUWDNHQRUHVSRQVLELOLW\WRQRWLI\VXFKRSLQLRQVDQDO\VHVRULQIRUPDWLRQRUWRNHHSVXFK
RSLQLRQVDQDO\VHVRULQIRUPDWLRQFXUUHQW$OVREHDZDUHWKDWRZQHUVHPSOR\HHVDQGZULWHUVRIDQGIRU
5DJLQJ%XOOFRP//&PD\KDYHORQJRUVKRUWSRVLWLRQVLQVHFXULWLHVWKDWPD\EHGLVFXVVHGRQWKLVZHEVLWHRU
QHZVOHWWHUEXWDOOVXFKSRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWLYH·VRZQDFFRXQW3DVWUHVXOWVDUHQRWLQGLFDWLYH
RIIXWXUHSURILWV7KLVWDEOHLVDFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG3URILWVDQGORVVHVUHSRUWHGDUH
DFWXDOILJXUHVIURPWKHSRUWIROLRV-HII%LVKRSPDQDJHVRQEHKDOIRI5DJLQJ%XOOFRP//&


,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK:HHNO\0RQH\0XOWLSOLHU\RXZLOOQHHGWRFRQWDFWXVKHUH
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                      Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 403 of 441




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         LI\RXZDQWWRFDQFHO\RXUVXEVFULSWLRQ2SWLQJRXWRIHPDLOVGRHVQRWUHPRYH\RXIURP\RXUVHUYLFHDW
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         JPDLO VRXUFH J


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ŝƚƐĞǀĞƌĂůĚĂǇƐĂŐŽ͘͘͘͘͘ĂŶĚƚŚŝƐŝƐǁŚĂƚ/ĂŵƐĂǇŝŶŐ͘͘͘͘ŚĞďƌĂŐƐĂďŽƵƚŚŽǁǁĞůůůŚĞŝƐĚŽŝŶŐŝŶƚŚĞƐƚŽĐŬƐƚŚĂƚŚĞĚŽĞƐŶŽƚ
ĂůĞƌƚŽŶ͘͘͘͘͘͘ůĞĂǀŝŶŐƵƐŝŶƚŚĞĚĂƌŬ͘͘͘ ŚĞŝƐŶŽƚŵĞĞƚŝŶŐƚŚĞŽďůŝŐĂƚŝŽŶƐĂŶĚĐƌŝƚĞƌŝĂŚĞŽƵƚůŝŶĞĚŝŶŚŝƐƐĂůĞƐƉƌĞƐĞŶƚĂƚŝŽŶ͘͘͘͘



From: Crystal (WeeklyMoneyMultiplier)
Sent: Friday, April 6, 2018 10:52 AM
To:
Subject: [WeeklyMoneyMultiplier] Re: Re: All it takes is one

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<RXUUHTXHVW  KDVEHHQVROYHG7RUHRSHQWKLVUHTXHVWUHSO\WRWKLVHPDLO6HHWKHODWHVWFRPPHQWVEHORZ




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       -HIIPHQWLRQHG267.WRGD\LQKLVDOHUW%RXJKW7/73XWV¬3OHDVHUHYLHZWKHHPDLOIRUPRUHLQIRUPDWLRQ-HII
       %LVKRSSURYLGHVDOHUWVRQDVPDOOJURXSRIFDUHIXOO\VHOHFWHGWUDGHVWKDWKHEHOLHYHVPD\KLWLQDZHHN
       :HHNO\0RQH\0XOWLSOLHULQFOXGHVDFFHVVWR-HII·VOLYHVWUHDPHGRSWLRQVWUDGHVFUHHQDVZHOODVDOHUWVZKHQ-HII
       EX\VRUVHOOVRSWLRQV


       6LQFH\RXDUHQHZWR:HHNO\0RQH\0XOWLSOLHU&OLFNKHUHWRJHWVWDUWHGZLWK-HII·VRSWLRQVFRXUVH
       :KHQ\RXDUHGRQHWKHUHEHVXUHWRJRWKURXJK-HII·V0DVWHUPLQGVHULHVWRKHOS\RXJHWXSWRVSHHGZLWK
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       5HTXHVW)Z$OOLWWDNHVLVRQHZDVFORVHGDQGPHUJHGLQWRWKLVUHTXHVW/DVWFRPPHQWLQUHTXHVW
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       )ROORZLQJLVDFRS\RIWKHHPDLO,KDYHVHQWWR0U-HII%LVKRSUHTDUGLQJKLVIDLOXUHWRSURYLGHWKHVHUYLFHWKDW,
       WKRXJKW,ZDVSXUFKDVLQJIURPKLP

       ,DPYHU\XQKDSS\ZLWK-HIIELVKRS·V:00VHUYLFHDQGDPVWDUWLQJWRZRQGHULILWLVQRWDFRPSOHWHVFDPDQG
       DVKHLVDVVRFLDWHGZLWK\RXLWZLOOEHUHIOHFWLQJEDGO\RQ\RXUVHUYLFHDOVRZKLFKDVSUHVHQWDSSHDUVWREHD
       PXFKEHWWHUVHUYLFHWKDQZKDW0U%LVKRSLVSURYLGLQJ,VXJJHVW\RXSXWVRPHSUHVVXUHRQKLPWRWUDQVIHU
       P\SD\PHQWWR\RXUVHUYLFHRUUHIXQGP\SD\PHQWRUSURYLGHWKHVHUYLFHVKHLPSOLHGLQKLVZHELQDUZKLFK
                                                            $WWDFKPHQW3                                        3;
          Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 405 of 441
LQFOXGHVDOOKLVWUDGHVYLVDOHUWVDQGSURYLGHWKHFKDWURRPLPSXWKHLPSOLHGZRXOGEHLQFOXGHG




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267.DQRWKHURQHWKDW,UHFHLYHGQRHPDLORUWH[WRQLWZDVLWVXSSRVHGWREHDQ:00WUDGHRUQRWDQGLI
QRWZK\GR\RXEUDJRQLWWRWKH:00SHRSOHMXVWSURYHVWKDW\RXDUHQRWJLYLQJWKHPZKDWWKHSDLGIRUIURP
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ZDVDOUHDG\XS,KDYHEHHQEXUQHGEHIRUHZKHQ,EX\DWDKLJKHUSULFHDQGWKHQ\RXVHOODQG,ORVH

,DOVRORVWRQ',6ZKHQ,WRRNWKHWUDGHDQGWKHQLWZHQWGRZQDQGKLWDORVVDQG,VWRSSHGRXWEXW\RX
GLGQRWVR\RXDUHQRWHYHQIROORZLQJ\RXURZQUXOHVDQGUHFRPPHQGDWLRQV,DOVRH[LWHG3DIWHU\RXUHPDLO
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    ΀yϴ>Y<ͲyϳZY΁




                                                    $WWDFKPHQW3                            3;
                      Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 410 of 441
       
0HPEHUVKLS$QQRXQFHPHQW@&DOO)RU<RXU$FFRXQW4XRWH
0DU
ZHHNO\PRQH\PXOWLSOLHUFRP

    


S

XURIIHU
XWRI\RXURIIHUWRXSJUDGHP\PHPEHUVKLS
 RQVLV*UHHNDQG/DWLQWRPH
HILWWHGPXFKIURPLWEHFDXVH,DP1(:DQGLWLVOLNH*UHHNDQG/$WLQ
 RXWDQG127UHQHZP\PHPEHUVKLS
XUXQGHUVWDQGLQJ





UDW$0-HII%LVKRS-HII#:HHNO\0RQH\0XOWLSOLHUFRP!ZURWH




                                                                         *RRG0RUQLQJ


                                                                          I am emailing you today


                                                                         $V\RXPD\KDYHVHHQRQ7XHVG
                                                                         GLVFRQWLQXLQJWKH0LOOLRQDLUH5


                                                                         7KHODVWFKDQFHWRJUDEWKLVRI


                                                                         $VYDOXHGPHPEHUVRIP\:HHN
                                                                         H[WHQGHGWKHRSSRUWXQLW\WRJUDE


                                                                         ,QIDFW\RXFDQJHWDSHUVRQDOS
                                                                         FDOOLQJ  WRVSHDN
                                                                         RSSRUWXQLW\


                                                                         ,I\RX¶UHUHDG\nowWRVWDUW\RXU


                                                                         %XWEHIRUH,OHW\RXJR,ZDQWWR


                                                                         $FWXDOO\WKLQJV
                                                        $WWDFKPHQW3                             3;
Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 411 of 441



                                                     7KH0LOOLRQDLUH5RDGPD
                                                     GRXEWDERXWLW-DVRQLVDJ
                                                     *5($7WHDFKHU+H¶VFRD
                                                     DFFRXQWVDIWHULQLWLDOORVVHV
                                                     ZD\



                                                     7KH0LOOLRQDLUH5RDGPD
                                                     FKDWURRP7KLVLVDmentor
                                                     GLUHFWO\WRyouDQGyour spe



                                             This is the last time the Million
                                             FRPLQJVRRQ


                                             &DOO  QRZIRUGH



                                             7R<RXU6XFFHVV



                                             -HII%LVKRS




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                                                                                   0DQDJH(

                                               8QVXEVFULEH$OOZLOOEORFNRXUSUHPLX
                                                                      QHHGWRFRQWDFWVXS

                                                                     7KLVHPDLOZDVVHQ




                                             1HLWKHU-HII%LVKRSQRU 5DJLQJ%XOOFRP//& S
                                             DEURNHUGHDOHUZLWKHLWKHUWKH866HFXULWLHV
                                             WKLVZHEVLWHDUHDGYLVHGWKDWDOOLQIRUPDWLRQSUH
                                             XVHGDVDSHUVRQDOL]HGLQYHVWPHQWUHFRPPHQG
                                             LQYHVWPHQWQHHGVRUREMHFWLYHV7KHRZQHUVHP
                                             GLVFXVVHGRUYLHZHGRQWKLVZHEVLWHEXWDOOVXF
                                             LQGLYLGXDOVGRQRWHQJDJHLQDQ\WUDGHVZLWKFXV
                                             UHJXODUEXVLQHVVRIEX\LQJDQGVHOOLQJVHFXULWLHV
                                             LQIRUPDWLRQLVQRWWREHFRQVWUXHGDVDQRIIHUWR
                                             UHFRPPHQGDWLRQWREX\KROGRUVHOO VKRUWRURW


                         $WWDFKPHQW3                                 3;
Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 412 of 441




                                                      ZKDWVSHFLILFLQYHVWPHQWVWRPDNHRUQRWPDNH
                                                      UHVSHFWWRDQ\LQYHVWPHQWGHFLVLRQ7KHUHDGHU
                                                      VHHNWKHDGYLFHRIDTXDOLILHGVHFXULWLHVSURIHVV
                                                      DQGDOOULVNVEHIRUHLQYHVWLQJ$OORSLQLRQVDQDO\
                                                      EHUHOLDEOHDQGZULWWHQLQJRRGIDLWKEXWVKRXOG
                                                      H[SUHVVRULPSOLHGLVPDGHLQFOXGLQJEXWQRWOLP
                                                      FRUUHFWQHVVWLPHOLQHVVRUDSSURSULDWHQHVV,QD
                                                      LQIRUPDWLRQRUWRNHHSVXFKRSLQLRQVDQDO\VHV
                                                      IRU 5DJLQJ%XOOFRP//&PD\KDYHORQJRUVKRU
                                                      DOOVXFKSRVLWLRQVDUHKHOGIRUVXFKUHSUHVHQWDWL
                                                      DFFXUDWHWKRXJKQRWHYHU\WUDGHLVUHSUHVHQWHG
                                                      PDQDJHVRQEHKDOIRI 5DJLQJ%XOOFRP//&


                                                      ,I\RXKDYHDFXUUHQWDFWLYHVXEVFULSWLRQZLWK:
                                                      5DJLQJ%XOO'DVKERDUGLI\RXZDQWWRFDQFHO\RX
                                                      DW :HHNO\0RQH\0XOWLSOHUFRP




                         $WWDFKPHQW3                     3;
     Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 413 of 441


From:           Jeff Bishop
To:             support@ragingbull.com; support@ eeklymoneymultiplier.com
Subject:        F d: F : Attention of Jeff and yle mportant and needs yourpersonalconsideration
Date:            hursday, July 2 , 201 7:21: 1 PM
 ttac me t :    raging bull.pdf


&DQ\RXOHWPHNQRZZKHQWKLVLVKDQGOHG"

)RUZDUGHGPHVVDJH
)URP            
'DWH7KX-XODW30
6XEMHFW):$WWHQWLRQRI-HIIDQG.\OH,PSRUWDQWDQGQHHGV\RXUSHUVRQDOFRQVLGHUDWLRQ
7RTXHVWLRQV#ZHHNO\PRQH\PXOWLSOLHUFRPTXHVWLRQV#ZHHNO\PRQH\PXOWLSOLHUFRP!



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+L-HII

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*RRG(YHQLQJ

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+RSH\RXDUHZHOO,VLQFHUHO\KRSH\RXKDYHVHHQP\HPDLODQGQRWHGWKHFRQWHQWV



,IQRWUHFHLYHGLWRUUHYLHZHGLWKHUHLWLV,DPIRUZDUGLQJWRWKLVHPDLO+RSH,DPVHQGLQJWR
FRUUHFWGLUHFWHPDLORI\RXUV

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/RRNIRUZDUGWRKHDULQJIURP\RX

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,VLQFHUHO\KRSH\RXFDQKHOSPHRXWKHUH3OHDVHVHHWKHFRQWHQWEHORZDQGWKHDWWDFKPHQWIRU
PRUHGHWDLOV

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/RRNIRUZDUGWRKHDULQJIURP\RXDQGWKHVROXWLRQGHFLVLRQ

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.LQG5HJDUGV



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                                             $WWDFKPHQW3                                         3;
      Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 414 of 441


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)URP
6HQW7XHVGD\-XO\30
7R-HII#UDJLQJEXOOFRP.\OH#UDJLQJEXOOFRP'DYLV#UDJLQJEXOOFRP
6XEMHFW$WWHQWLRQRI-HIIDQG.\OH,PSRUWDQWDQGQHHGV\RXUSHUVRQDOFRQVLGHUDWLRQ



,I\RXDUHQRW-HIIRU.\OHNLQGO\SDVVWKLVRQWR-HIIDQG.\OHIRUWKHLUSHUVRQDOFRQVLGHUDWLRQ
SOHDVH,DPQRWVHQGLQJWKLVWRFXVWRPHUVHUYLFHEHFDXVHLWQHHGVGHFLVLRQDWDEXVLQHVVRZQHU
OHYHOLH\RXUOHYHODQGWKH\ZLOOQRWEHDEOHWRSURYLGHDVROXWLRQ

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'HDU-HII.\OH

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,DPDQH[LVWLQJPHPEHURI5DJLQJ%XOOVHULHVRIRIIHULQJV,DPDSDLGPHPEHULQWKH
IROORZLQJSURJUDPV

     :HHNO\0RQH\0XOWLSOLHU
     2SWLRQ5RFNHW
     'DLO\3URILW0DFKLQH *RLQJWKUXWUDLQLQJ\HWWRJHWLQYROYHGODFNRIFDSLWDOVWRSSLQJLW
        PRUHRILWEHORZ



,SXWLQDOOP\WUXVWLQERWKRI\RX\RXUSURJUDPDQGWUDGHV,VLQFHUHO\FRPSOHWHGWKH
WUDLQLQJVDQGWRRNWKHWUDGHV8QIRUWXQDWHO\WKHUHZHUHRQO\ZLQQHUVDQG/RVHUV


$WWDFKLQJ5HVXOWVRIHDFKRIWKHWUDGHWDNHQ
ZKHQDQGEDVHGRQZKDW
,have lost USD 15,472.00 ofP\KDUGHDUQHG
PRQH\XVLQJ:HHNO\0RQH\0XOWLSOLHUDQG
2SWLRQ5RFNHU WRRN\HDUVWRUDLVHWKLV

                                       $WWDFKPHQW3                              3;
    Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 415 of 441


VLQFHWKHSURJUDPVIDLOHGWRHYHQPDNHWKH
PRQH\SDLGIRUWKHFRXUVHQRZWKHFRXUVH
KDVEHFRPHDQH[SHQVHWRRFRVWLQJ86'
LQWRWDOORVVLQP\DFFRXQW
%LJJHVW/RVVZDVLQµ7KH0RUWDO/RFN
7UDGH¶LQ1,286' DWWDFKHGUHVWRI
WKHWUDGHVDQGORVVVXPPDU\


,DPQRWKHUHWRSRVWWKHVHRQWKHWUXVWSLORWRURQWKHLQWHUQHWWREULQJLQGLVUHSXWHRUDIIHFW
\RXUEXVLQHVV,DPVLQFHUHO\KHUHWROHDUQDQGLPSURYHP\UHWXUQV6DGO\LWKDVQRWKDSSHQHG



,WGRHVQ¶WWDNHDURFNHWVFLHQWLVWWRXQGHUVWDQGKRZ,IHHO,DPUHJUHWWLQJMRLQLQJWKLV
SURJUDP,I,KDGSXWWKLVPRQH\LQDQ,QGH[IXQGRU$PD]RQRU5RNXVWLOOZRXOGKDYH
VRPHWKLQJWRVKRZ



,NQRZ\RXDUHDOOEXV\SHRSOHVROHWPHFRPHWRWKHSRLQWVWUDLJKW,ZDQWWRNQRZZKDW\RX
FDQGRWRKHOSPHRXWKHUH

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3OHDVHOHWPHNQRZZKDW\RXDUHSUHSDUHGWRGRWRKHOSPHUHFRYHUKHUH

&RPPRQVHQVH,PSOLHV,I\RXGRWKHVDPHWKLQJ\RXJHWVDPHUHVXOW6R,DPQRWWRRNHHQRQ
JHWWLQJRQH\HDURIIUHHDFFHVVWR2SWLRQ5RFNHWRU:HHNO\0RQH\0XOWLSOLHU&RXOG\RX
SOHDVHJLYHPHDFFHVVWR2SWLRQV:DUURRP"$WOHDVWLWZLOOJLYHPHDFKDQFHDVVXPLQJ,UDLVH
VRPHFDSLWDO

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3OHDVHOHWPHNQRZLQWKHQH[WKRXUV

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                                     $WWDFKPHQW3                               3;
        Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 416 of 441




             ZKDW\RXDUHSUHSDUHGWRGR

             $UH\RXDEOHWRJLYH\HDUIUHHDFFHVVWR\RXU2SWLRQV
               ZDUURRPDWOHDVWWKDWPLJKWJLYHDILJKWLQJFKDQFHWR
               UHFRYHUSURYLGHG,FDQILQGDGGLWLRQDOIXQGVRIFRXUVH
             $UH\RXJRLQJWRFRDFKPHSULYDWHO\"2U
                LI\RXKDYHDQ\EHWWHUSODQ
        

        0XFKDSSUHFLDWH\RXUKHOSDQGORRNIRUZDUGWR\RXUKHOS
        GHFLVLRQDQGDGYLVH
        

        .LQG5HJDUGV


        

        361HHGOHVVWRVD\DWP\DJH,DPUHJUHWWLQJMRLQLQJWKH
        SURJUDPEXW\RXKDYHWKHSRZHUWRFKDQJHLWOHWPHNQRZ
        ZKDWDQGKRZ\RXDUHLQWHQGLQJWRKHOSPH
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                                    $WWDFKPHQW3                 3;
ϯWƌŽŐƌĂŵƐ/Ăŵ
   ŶƌŽůůĞĚŝŶ


ϭ͘ tĞĞŬůǇDŽŶĞǇDƵůƚŝƉůŝĞƌ
Ϯ͘ KƉƚŝŽŶZŽĐŬĞƚ
ϯ͘ ĂŝůǇWƌŽĨŝƚDĂĐŚŝŶĞ
                                  Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 417 of 441




            $WWDFKPHQW3     3;
   dŽ^ƚĂƌƚǁŝƚŚ/ƉƵƚŵŽƐƚŽĨŵŽŶĞǇ;ƚŚĂƚ/ƐĂǀĞĚůĂƐƚϱǇĞĂƌƐͿŝŶ
            tĞĞŬůǇDŽŶĞǇDƵůƚŝƉůŝĞƌĂŶĚKƉƚŝŽŶZŽĐŬĞƚ
^ŽĨŽƌŝŶtĞĞŬůǇDŽŶĞǇDƵůƚŝƉůŝĞƌĂŶĚKƉƚŝŽŶZŽĐŬĞƚ/ůŽƐƚΨϭϱ͕ϰϲϴ͘ϱϬǆĐůƵĚŝŶŐĐŽƵƌƐĞĨĞĞĂŶĚďĞĐĂƵƐĞƚŚĞĐŽƵƌƐĞ
ŝĚŶŽƚƌĞĐŽǀĞƌŝƚƐǀĂůƵĞŝĨ/ŝŶĐůƵĚĞƚŚĂƚƚŽĐŽƐƚƐŵǇƚŽƚĂů>ŽƐƐƐƚĂŶĚƐĂƚͲ Ψϭϳ͕ϵϲϴ͘ϱϬ

/ũƵƐƚǁĂŶƚƚŽŬŶŽǁĨƌŽŵǇŽƵǁŚĂƚǇŽƵĂƌĞƉƌĞƉĂƌĞĚƚŽĚŽƚŽŚĞůƉŵĞŽƵƚŚĞƌĞ͘ƌĞǇŽƵĂďůĞƚŽŐŝǀĞŵĞ&ZĂĐĐĞƐƐƚŽ
zŽƵƌtĂƌƌŽŽŵƐŽƚŚĂƚĂƚůĞĂƐƚ/ĐĂŶƚƌǇƚŽƌĞĐŽǀĞƌĨƌŽŵƚŚŝƐůŽƐƐ͘/ƚŝƐŵǇϱǇĞĂƌƐŽĨŚĂƌĚͲĞĂƌŶĞĚŵŽŶĞǇ͘/ƉƵƚŵǇƚƌƵƐƚ
/ŶǇŽƵƌƉƌŽŐƌĂŵĂŶĚƚƌĂĚĞƐƐŽǇŽƵŐŽƚƚŽŚĞůƉŵĞŽƵƚƚŽƌĞĐŽǀĞƌŚĞƌĞ͘/ĂŵŶŽƚŚĞƌĞƚŽĚŽŶĞŐĂƚŝǀĞƉƵďůŝĐŝƚǇĂŶĚďƌŝŶŐ
ĚŽǁŶ
zŽƵƌďƵƐŝŶĞƐƐďƵƚĂͿƚŽƌĞĐŽǀĞƌĨƌŽŵƚŚĞůŽƐƐĞƐďͿƚŽůĞĂƌŶƚŚĞƌŝŐŚƚƚŚŝŶŐƐ

WůĞĂƐĞĚŽŶ͛ƚŐŝǀĞŵĞŽŶĞͲǇĞĂƌĞǆƚĞŶƐŝŽŶŽĨƐĂŵĞƉƌŽŐƌĂŵ͘ŽŶ͛ƚǁĂŶƚƚŽƌĞƉĞĂƚƚŚĞƐĂŵĞƚŚŝŶŐĂŶĚŐĞƚƐĂŵĞƌĞƐƵůƚ
ĂŐĂŝŶ͘

tŚĂƚ/ǁĂŶƚĨƌŽŵǇŽƵͲ >ĞƚŵĞŬŶŽǁƉůĞĂƐĞ
ĂͿ ǁŚĂƚǇŽƵĂƌĞƉƌĞƉĂƌĞĚƚŽĚŽ
ďͿ ƌĞǇŽƵĂďůĞƚŽŐŝǀĞϭǇĞĂƌĨƌĞĞĂĐĐĞƐƐƚŽǇŽƵƌKƉƚŝŽŶƐǁĂƌƌŽŽŵĂƚůĞĂƐƚƚŚĂƚŵŝŐŚƚŐŝǀĞĂĨŝŐŚƚŝŶŐĐŚĂŶĐĞƚŽƌĞĐŽǀĞƌ
   ƉƌŽǀŝĚĞĚ/ĐĂŶĨŝŶĚĂĚĚŝƚŝŽŶĂůĨƵŶĚƐŽĨĐŽƵƌƐĞ͘
ĐͿ ƌĞǇŽƵŐŽŝŶŐƚŽĐŽĂĐŚŵĞƉƌŝǀĂƚĞůǇ͍KƌĚͿŝĨǇŽƵŚĂǀĞĂŶǇďĞƚƚĞƌƉůĂŶ
                                                                                                                       Case 1:20-cv-03538-GLR Document 150-4 Filed 01/27/21 Page 418 of 441




                                                    $WWDFKPHQW3                                                3;
Summary of the Trades
                                              :ĂƐŽŶ
                                              ŽŶĚ
                                              tĞďŝŶĂƌ
                 :ĞĨĨ      EĂƚŚĂŶ <ǇůĞ     ZĞĐŽŵŵĞ 'ƌĂŶĚ
    KƉƚŝŽŶWŝĐŬ ŝƐŚŽƉ ĞĂƌ         ĞŶŶŝƐ ŶĚĂƚŝŽŶ dŽƚĂů          ŽŵŵĞŶƚƐ
    h>d                      ͲΨϰϰϲ                     >ŽƐƐ
    /Zd                      ͲΨϭϱϭ                    >ŽƐƐ
    K                     ͲΨϭ͕ϮϴϬ                    >ŽƐƐ
    E<               ͲΨϳϮϬ                            >ŽƐƐ
    &K>                                ͲΨϲϱϰ           >ŽƐƐ
    K^d<              ͲΨϰϭϬ                             >ŽƐƐ                              ϮǁŝŶŶĞƌƐ
    E/K                               ͲΨϰ͕ϭϭϴ           >ŽƐƐ      DŽƌƚĂů>ŽĐŬdƌĂĚĞ
    E<               ͲΨϳϮϬ                             >ŽƐƐ
    :E:               ͲΨϱϱϴ                             >ŽƐƐ      ĂǇdƌĂĚĞZĞĐŽŵŵĞŶĚ
                                                                                          ϮϬ>ŽƐĞƌƐ
    K^d<                                ͲΨϯϯϴ           >ŽƐƐ
    W/E^           ͲΨϭ͕ϭϴϬ                              >ŽƐƐ      dƌĂĚĞďĞĨŽƌĞĞĂƌŶŝŶŐƐ   >ŽƐƚΨϭϱ͕ϰϳϮ͘ϬϬ
    hEd                      ͲΨϵϮϲ                     >ŽƐƐ
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